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                           EXHIBIT D
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION


     BENAHDAM HURT,                     )
                    Plaintiff,          )
                                        )
               -vs-                     ) No. 17-CV-7909
                                        )
     HASINA JAVED, FAIZA KAREEMI,       )
     COLLEEN DELANEY, DIANA HOGAN &     )
     DREW BECK                          )
                    Defendants.         )
     ___________________________________)
                                        )
     MARK OWENS,                        )
                   Plaintiff,           )
             -vs-                       ) No. 18-CV-0334
                                        )
     HASINA JAVED                       )
                   Defendant.           )




                   The deposition of DAMONE ANDREW BECK,

     taken pursuant to the Federal Rules of Civil

     Procedure of the United States District Courts

     pertaining to the taking of depositions, taken

     before LYN DOERING, Certified Shorthand Reporter

     of the State of Illinois, taken remotely via Zoom

     in Illinois, on Tuesday, June 14, 2022, at the

     approximate hour of 11:08 o'clock a.m.




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                                                                            Page 2
1     APPEARANCES:

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5                   Park Ridge, Illinois 60068
                    (312) 235-6752
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7                          on behalf of the Plaintiffs;

8

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13

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18
                           on behalf of the Defendants Hasina Javed,
19                         Faiza Kareemi, Colleen Delaney and Diana
                           Hogan in Case No. 17-cv-7909, and
20                         Defendant Dr. Hasina Javed in Case No.
                           18-cv-0334;
21

22

23

24


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                                                                            Page 3
1     APPEARANCES CONTINUED:

2
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                    (312) 814-6534
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7                          on behalf of Defendant Drew Beck in
                           Case No. 17-cv-7909;
8

9

10    ALSO PRESENT:

11
                    MR. RORY CANNON, Illinois Department of
12                  Human Services

13                  MR. SEAN GUNDERSON, Kretchmar & Cecala

14

15

16

17    REPORTED BY LYN DOERING, CSR.

18

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                                                                            Page 4
1                                I N D E X

2     WITNESS                                                           PAGE

3     DAMONE ANDREW BECK

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5            Examination By Mr. Cecala ...................53

6            Examination By Mr. Kretchmar ................59

7            Examination By Mr. Cecala ...................62

8            Examination By Mr. Kretchmar ................66

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12           Examination By Mr. Kretchmar ...............231

13           Examination By Mr. Cecala ..................233

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16           Examination By Mr. Kretchmar ...............269

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                                                                            Page 5
1                            E X H I B I T S

2     NUMBER                                                            PAGE

3     Deposition Exhibit                                   IDENTIFIED

4            No. 1    ......................................24

5            No. 2    ......................................26

6            No. 4    .....................................186

7            No. 5    .....................................223

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                                                                            Page 6
1                       (Whereupon said witness

2                            was duly sworn).

3                          COURT REPORTER:        Will the attorneys

4     please identify yourselves for the record and

5     state your agreement to the taking of this

6     deposition and the swearing in of the witness via

7     Zoom?

8                          MR. KRETCHMAR:       Yes, Randolph

9     Kretchmar, for the Plaintiffs, I agree.

10                         MR. CECALA:      Joseph Cecala, also

11    for the Plaintiffs, I agree as well.

12                         MS. KOZAR:      Amanda Kozar, on behalf

13    of Drew Beck, I agree.

14                         MS. JOHNSTON:       Mary Johnston, on

15    behalf of Defendants Kareemi, Javed, Delaney and

16    Hogan in the Hurt case, and Defendant Javed and

17    Owens, I agree.

18                  I don't think you need the agreements of

19    the other two.        They are not representing anybody,

20    Rory Cannon and Sean Gunderson.

21                  Mr. Gunderson is our Paralegal.

22                  And Rory Cannon is Counsel for the

23    Department.

24                  Are we ready, set?


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                                                                            Page 7
1                          MS. KOZAR:      Yes.

2                          MR. KRETCHMAR:         Okay.   I will start

3     then.

4                   Mr. Beck, I don't know if you have ever

5     been in a deposition before, yes or no?

6                          THE WITNESS:       I was part of

7     something at the Department of Corrections a long

8     time ago but it was more just for information.

9                          MR. KRETCHMAR:         Fair enough.      Some

10    simple rules, just housekeeping really.

11                  Don't talk over anybody.           If a question

12    isn't fully voiced, wait until it is.                If somebody

13    objects, wait until that's out of the way.

14                  The reason is that the court reporter

15    can't necessarily write down everything that

16    everybody says when they are talking at the same

17    time, so we want to have a good record.

18                  And if anybody asks a question, either

19    Joe or I, and you don't understand the question,

20    ask for clarification.           We will be happy to do

21    that.

22                  If you want to break say so.             You know,

23    probably finish getting an answer to a question,

24    if one is in process.          That's the only -- If you


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                                                                            Page 8
1     need a break, ask for a break.

2                   Please state and spell your name for the

3     record.

4                          THE WITNESS:       My full name is

5     Damone, D-A-M-O-N-E, middle name is Andrew,

6     A-N-D-R-E-W, last name is Beck, B-E-C-K, but I go

7     with my middle name, Andrew.

8                          MR. KRETCHMAR:       Thank you.

9                          DAMONE ANDREW BECK,

10    called as a witness herein, having been first duly

11    sworn, was examined and testified as follows:

12                                EXAMINATION

13    BY MR. KRETCHMAR:

14                  Q      Again, essentially a housekeeping

15    question here:

16                  Are you taking any medications that

17    would make it difficult for you to remember

18    answers or answer questions honestly?

19                  A      No, not that I am aware.

20                  Q      Fair enough.

21                  Are you aware of and at least initially

22    somewhat familiar with this lawsuit in which you

23    are a defendant?

24                  A      Yes.


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                                                                           Page 9
1                  Q      Good.

2                  Do you understand the allegations

3     against you and against the other defendants?

4                  A      Yes, I believe so.

5                  Q      Thank you.

6                  Would you please summarize your

7     education and your professional qualifications as

8     a social worker and in a state forensic

9     psychiatric hospital?

10                 A      Yes.

11                 I earned my Master's Degree in Social

12    Work in Aurora University, and that was in 1991, I

13    believe.

14                 Became a Licensed Clinical Social Worker

15    in 1993 -- Pardon me, I am not sure of those

16    dates.

17                 Can I look at something really quick

18    just for those dates?

19                 Q      Okay.     Sure.    As long as we know

20    what it is.

21                        MR. CECALA:       Yeah, that's another

22    housekeeping, if you are referring to a document

23    or something, if you wouldn't mind just letting us

24    know what the document is.


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                                                                          Page 10
1                         THE WITNESS:       Just my resume.

2                  I graduated with a Master's Degree in

3     1993.

4                  Got my license in 1996 as a social

5     worker, licensed clinical social worker.

6                  I am also a Certified Drug and Alcohol

7     Counselor since 2002.

8                  Human Services Board Certified

9     Practitioner since 2010.

10                 Also QUID, Qualified Intellectual

11    Disabilities Professional, for the last three

12    years.

13                        MR. CECALA:       One other thing,

14    Amanda, if he is referring to documents I don't

15    recall seeing a resume.           Could we just make sure

16    that when the deposition is completed if there is

17    something that didn't get delivered in discovery

18    that you can send those documents to us?

19                        MS. KOZAR:      Yeah, I will send it to

20    you afterward.

21                        MR. CECALA:       Awesome, thank you.

22                        MS. KOZAR:      Uh huh.

23    BY MR. KRETCHMAR:

24                 Q      Mr. Beck, can you tell us when you


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                                                                          Page 11
1     started as an employee at Elgin Mental Health

2     Center and essentially the sequence of jobs or

3     positions that you held until today, best as you

4     can recall, best -- the dates?

5                  A      I started in 1994 at Elgin Mental

6     Health Center as a Social Worker 1 and I worked

7     four years in court service in the forensic

8     department.

9                  After that I transferred to the

10    Department of Corrections Juvenile Division,

11    Valley View, which is in St. Charles, and I was a

12    case work supervisor there.            I supervised the

13    substance abuse program for the sex offender

14    programs there.

15                 During the time I was initially at the

16    Elgin I was also doing sex offender treatment

17    part-time at DOC.

18                 After four years at DOC the prison was

19    closed.     That was in 2002, if I remember

20    correctly.

21                 I worked for McHenry County Family

22    Services as a substance abuse counselor for about

23    a year and a half.

24                 In 2004 I returned back to Elgin and


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                                                                          Page 12
1     worked in the civil hospital, CPS.               I believe I

2     was there for about three years.

3                  I transferred in then to the forensic

4     building as a Social Worker 2.             I covered cases on

5     Hartman Unit and H unit, two units.

6                  Then I think in 2008 I transferred to

7     the K Unit for the MISA program and I have been

8     here as a Social Worker 2 on the MISA program

9     since 2008.      MISA is mental illness substance

10    abuse.

11                 Q      Your time on Hartman and H Unit was

12    that, you said, between 2004 and 2008?

13                 A      I believe so, yes.

14                 Q      Okay.     What were or what are your

15    responsibilities as a social worker?

16                 A      Primary responsibilities, I have a

17    caseload that I am directly responsible for.                  It's

18    anywhere between 8 to 12 patients on a unit.

19                 That responsibility primarily is for me

20    to provide continuing care planning and that

21    involves doing social assessments, doing intake

22    assessments, coordinating information as well as

23    discharge planning with families, with the

24    patients, completing court reports, completing


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                                                                          Page 13
1     treatment plans, providing individual group

2     counseling to patients on the unit.

3                  Q       Now, who do you report to?

4                  A       I report directly to the Social

5     Worker 3.        Currently that is Rachel Nelson.

6                  Q       And who reports to you?

7                  A       Nobody.

8                  Q       Are you effectively -- In the

9     context of the clinical unit, are you also an

10    administrator or do you have some responsibilities

11    that are administrative on the unit?

12                 A       No, I do not.

13                 Q       Okay.    So your only

14    responsibilities really are as a social worker, as

15    a clinician?

16                 A       That's correct.

17                 I do provide some trainings for the

18    facility but that's not as administrator.                 That's

19    just helping them out with trainings, mostly

20    social work trainings.

21                 Q       Okay.    Were you asked at one time

22    to be or were you considered for the position of

23    forensic program director at Elgin when Jeff

24    Harris retired?


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                                                                          Page 14
1                  A      There were some inquiries to it,

2     but no, I did not take that position.

3                  Q      That was around 2016, end of 2016;

4     right?

5                  A      I think Jeff asked if I wanted it,

6     and I said I was not interested.

7                  Not that he could make it for me but he

8     would want me to apply.

9                  Q      Why were you not interested in a

10    higher position?

11                 A      I really like working the therapy

12    aspect and I would rather work with patients than

13    staff sometimes.        I enjoy the connection, the

14    therapy process of helping people move from a very

15    dysfunctional situation to return back in the

16    community.

17                 Q      In a particular case of any

18    particular patient are you ultimately in charge of

19    organizing the treatment plan?

20                 A      Treatment plan is a combination

21    of -- The doctor is in charge of the treatment

22    plan.

23                 I am in charge of typing it up, so I am

24    more of a clerical.         I have to make sure that the


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                                                                          Page 15
1     medications are on there, the diagnosis is

2     correct, the nursing problems that are being

3     covered are taking place, are correct.

4                  So I am responsible for getting it

5     complete and maintaining it and putting it in the

6     chart.

7                  Q      Yeah, what you describe as clerical

8     responsibilities I was kind of thinking of as

9     coming under administrative responsibilities on

10    the unit but maybe I didn't think of that.                  Let me

11    just ask.

12                 Are these clerical responsibilities

13    limited to individual patient records?

14                 A      I believe so, yes.

15                 I have some patients that are not on my

16    caseload that I do group therapy with and I

17    document for that as well and I provide that for

18    the chart.

19                 Q      Okay.     So there is a lot of writing

20    but --

21                 A      Right.

22                 Q      -- it's always in relation to a

23    particular case?

24                 A      That's correct.


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                                                                          Page 16
1                  Q      Okay.     Now, being that you are the

2     one that types everything, the clerical person,

3     does that make your opinion about the treatment

4     plan or your input more significant or does it at

5     least give you some special access that would make

6     your opinion about a patient and the treatment

7     plan important?

8                  A      No, no special.

9                  The doctor is the primary leader and

10    half of the documents in the treatment plan are

11    produced by other clinicians or other staff.

12                 Like the nurses produce a section of it

13    that covers their medical.            The doctor produces

14    sections for their mental health issues, mood

15    problems, medication issues.

16                 I produce a section that is regarding

17    continued care planning.           I also, because I am on

18    the substance abuse unit, I also produce a

19    document about their progress in substance abuse

20    treatment.

21                 Q      On occasion part of your work in an

22    individual patient case might entail explaining

23    the patient's progress or lack of progress in

24    treatment to a court or even a prosecutor; right?


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                                                                           Page 17
1                  A      Correct.

2                  Q      How often do you end up testifying

3     or conferring with a prosecutor, either one?

4                  A      Over the last twenty years maybe, I

5     don't know, five to ten times.

6                  Q      Okay.     Is that always in relation

7     to a request in court for passes or a conditional

8     release?

9                  A      Most of them are for privilege.              I

10    have had a couple mental health courts that I have

11    had to go to but most are for conditional release;

12    correct.

13                 Q      When you say mental health, would

14    that be like for an involuntary treatment petition

15    perhaps?

16                 A      Yes, involuntary treatment;

17    correct.

18                 Q      What about for a civil commitment

19    petition?

20                 A      Well, when you said involuntary

21    treatment that's kind of what I was talking about,

22    civil commitment proceeding.

23                 The social workers have to write up that

24    they verified, they contacted to see if there was


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                                                                          Page 18
1     a guardian and also whether least restrictive

2     alternatives are there.

3                  So that is part of our role when it

4     comes to the civil commitment process.

5                  Q      Okay.     But the civil commitment

6     process and a petition for an order for

7     involuntary medication --

8                  A      Correct.

9                  Q      -- might be different; right?

10                 A      Correct.

11                 Rarely would a social worker be involved

12    in that.     That's usually the doctor.             I am sure it

13    may have happened.         It's never happened with me.

14                 Q      Fair enough.

15                 How do you know, as a social worker --

16    or maybe you are not called upon to wonder -- but

17    if so, how do you know when a patient is no longer

18    mentally ill?

19                 A      Well, the doctor is the primary.

20    She runs -- It's a she for our case of course.

21                 She is in charge of the treatment

22    progress of the patient.           She will identify the

23    symptoms, she will identify the diagnosis and will

24    manage and follow the remission of symptoms to the


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                                                                          Page 19
1     point that they are eligible for the next step of

2     privileges.

3                  Q      So is there any difference between

4     no longer "mentally ill" quote unquote and not

5     currently symptomatic?

6                  A      You kind of went out on that one.

7     Would you repeat that please?

8                  Q      Yes.

9                  Is there any difference between a status

10    of no longer mentally ill or on the other hand a

11    status of not currently symptomatic?

12                 A      I am not quite sure what you are

13    asking.

14                 But I do have patients where they are

15    asymptomatic, where they are not showing any

16    symptoms, versus the symptoms they showed for the

17    court when they were committed to the facility.

18    So that would be usually be gauged by the doctor.

19                 They tend to be serious symptoms of

20    hallucinations, delusions, depression, mood

21    instability, those type of issues.

22                 Q      Okay.     But suppose a patient does

23    not have any of those symptoms any more; is that

24    patient no longer mentally ill?


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                                                                          Page 20
1                  A      Mental illness -- again this is a

2     little bit of a perspective of mine -- is on a

3     continuum.

4                  So I see mental illness as just an

5     extreme coping, where we all day dream, but when

6     we get really stressed we might become -- we might

7     be psychotic.

8                  So I don't think it's an either/or.                I

9     think it's just a spectrum of coping.

10                 Q      Good answer.       Thank you.

11                 How much time do you spend with any

12    particular patient in a given month?

13                 A      I try to have at least two

14    individual sessions with them.             I have a schedule

15    for each of my patients.

16                 I also have them in my groups, so I meet

17    them in groups, and plus, I meet them throughout

18    the week on the unit, whether it be in activities

19    where they have something that comes up, whether

20    they need help with visitation.              So a lot of case

21    management.

22                 Q      How much time do the other members

23    of the treatment team spend with a particular

24    patient?


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                                                                           Page 21
1                  A      They are supposed to spend with the

2     time that they need for it.

3                  I am probably am a little bit more

4     structured because I give them a specific time.

5                  Other social workers will just kind of

6     meet them when they want to meet with them.

7                  I tend to be a little more structured

8     with that because I need to get my patients

9     through the substance abuse program which is

10    approximately six months and they have to complete

11    certain steps to get through the program.

12                 Q      Yeah.

13                 My question was about the other members

14    of the treatment team and the comparison of the

15    time spent, for example, psychiatrists,

16    psychologists, activity therapists, nurse.

17                 A      Okay.     The psychologist I believe

18    has to meet with them minimally once a month.                   If

19    there's other issues that come up our psychiatrist

20    will also meet with them usually with the team.

21                 The activity therapist meets with them

22    multiple times a day, multiple times a week.                  They

23    are in charge of keeping the unit activities

24    going.


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1                  Psychologists, which we haven't had for

2     a while -- we do have one now -- she runs a couple

3     groups with patients.

4                  Nurses of course on a daily basis

5     because they are the ones in charge of running the

6     MILU.

7                  As well as the security therapy aides or

8     mental health technicians.            We call them security

9     therapy aides here in forensics.

10                 Q      So correct me if I am wrong but my

11    interpretation of your answer is, on an amount of

12    time spent with a patient, the social worker is

13    somewhere in the middle between a psychiatrist

14    maybe on one end and the activity therapist on the

15    other, who sees the patient multiple times a day?

16                 A      Correct, correct.

17                 Q      When a patient goes to court for

18    passes or for a conditional release, do different

19    members of the treatment team ever have different

20    opinions about whether the court should grant the

21    request?

22                 A      Yes.

23                 Q      Do they ever testify differently?

24                 A      Not that I am aware of.


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1                  A lot of times, if we have differences,

2     we want to figure out what the differences are,

3     and sometimes we will have what is called a second

4     opinion within the hospital, where a psychologist

5     from another unit will come and evaluate the

6     patient and give us a second opinion.

7                  Q      So if different members of the team

8     actually have different opinions, for example, on

9     whether a court should grant an unsupervised on

10    grounds pass, for example?

11                 A      Uh huh.

12                 Q      You are saying they -- nevertheless

13    they never testify differently; right?

14                 A      You know, I have not seen that.

15                 I was involved in a case in Cook County

16    where the previous psychiatrist testified against

17    the current psychiatrist regarding discharge.

18    That's a rarity but it can happen.

19                 Q      Does it cause problems?

20                 A      Well, I am sure it can, if someone

21    disagrees.

22                 The doctor is the ultimate decision

23    maker when it comes to the direction for the

24    treatment of the individual patient, but for the


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                                                                          Page 24
1     most part, at least on our unit, we are -- we work

2     pretty well together.

3                  Q      Fair enough.

4                  I want to go to a couple of exhibits.

5     Hang on just one second.

6                  You recall being interviewed by the

7     Illinois State Police on September 28, 2017?

8                  A      Yes, I do.

9                  Q      At that time you told the police

10    interviewers -- During your interview you said or

11    you told the police interviewers that what Christy

12    Lenhardt did, if the allegations you have heard

13    prove true, was against every moral and value of

14    the Social Worker Creed and the ethical standards

15    of the profession.

16                 Do you recall saying that?

17                 A      Not directly but that sounds like

18    what I would say, yes.          I am sure, if they wrote

19    it down, I did say that.

20                        MR. KRETCHMAR:        Yeah, I can show

21    you the interview transcript that we have that is

22    Exhibit No. 1, Page 29.

23                               ( Exhibit 1 marked.)

24                        MR. KRETCHMAR:        Joe is going to


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                                                                          Page 25
1     pull it up, I think.

2     BY MR. KRETCHMAR:

3                  Q      Okay.     Between Lines 8 and 11 is

4     the portion including his question that I am

5     thinking of.

6                  Let us know when we should go down the

7     page.

8                  A      Okay.     Go ahead and move down.

9                  Q      Okay.     Through Line 21, if you had

10    a chance to review, that let me know.

11                 A      Okay.     I have read it.

12                 Q      So that seems accurate to the best

13    of your recollection?

14                 You recall saying that?

15                 A      Yes.

16                 Q      Good.

17                 Now, are you or have you previously been

18    a member of the National Association of Social

19    Workers, the NASW?

20                 A      Yes, I am a member.          I have been a

21    member for a long time.

22                 Q      Okay.     Are you therefore familiar

23    with the NASW Code of Ethics?

24                 A      Correct.


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                                                                          Page 26
1                         MR. KRETCHMAR:        Now, we have that

2     whole code as Exhibit No. 2, I believe.

3                                ( Exhibit 2 marked.)

4     BY MR. KRETCHMAR:

5                  Q      Does this code suggest those morals

6     and values and ethical standards to which you

7     referred in your interview with the Illinois State

8     Police?

9                  A      The ethical standards, yes.

10                 Q      Okay.     Can you please read aloud

11    the first sentence in the preamble to the code?

12                 A      Yes.

13                     The primary mission of the social worker

14                     profession is to enhance human

15                     well-being and help to meet the basic

16                     human needs of all people, with

17                     particular attention to the needs and

18                     empowerment of people who are

19                     vulnerable, oppressed or living in

20                     poverty.

21                 Q      Thank you.

22                 Now, Ben Hurt is included among all

23    people; isn't he?

24                 A      That's correct.


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                                                                          Page 27
1                  Q      And he is also vulnerable, part of

2     an oppressed minority, perhaps as an

3     African-American man, and from an impoverished

4     community; isn't he?

5                  A      I don't know much about his

6     community but he is a patient of ours.                So yes, he

7     is someone who deserves all the rights and

8     privileges of being taken care of and us being

9     responsible for.

10                 Q      And vulnerable; right?

11                 A      Correct.

12                 If he is in our facility it means he is

13    vulnerable because he lacks the ability to be in a

14    less-restrictive environment.

15                 Q      Therefore, would you agree that

16    meeting Ben Hurt's basic needs while he was your

17    patient was part of your primary mission as a

18    social worker?

19                 A      Yes --

20                 Q      And under this --

21                 A      Let me finish.

22                 -- to a level that I have the ability to

23    do.

24                 I can't meet housing needs.             I can't


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                                                                          Page 28
1     meet food needs.        I can only meet the social work

2     spectrum of needs.

3                  Q      Fair enough.

4                  I want to go to the section of the code

5     that is subtitled Purpose, which begins on this

6     first page.

7                  But I want to go to the second page, as

8     we have it here, and I would like you to read

9     Purpose No. 3?

10                 A      No. 3:

11                     The code is designed to help social

12                     workers identify relevant considerations

13                     when professional obligations conflict

14                     or ethical uncertainties arise.

15                 Q      Also, could you read Purpose No. 6?

16                 A      No. 6:

17                     The code articulates standards that the

18                     social work profession itself can use to

19                     assess whether social workers have

20                     engaged in unethical conduct.

21                     NASW has formal procedures to adjudicate

22                     ethical complaints filed against its

23                     members.

24                     In subscribing to this code social


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                                                                          Page 29
1                      workers are required to cooperate with

2                      its implementation, participate in NASW

3                      adjudication proceedings and abide by

4                      any NASW disciplinary rulings or

5                      sanctions based on it.

6                  Q      Thank you.

7                  Now, those are two out of the six

8     purposes they list in this section.

9                  Would you agree that those two purposes

10    at least are relevant to the circumstances in

11    which you have practiced your profession since

12    2004, in other words, as a state employed social

13    worker in Elgin Mental Health Center?

14                 A      Yes.

15                 Q      Let's go to the section of this

16    code subtitled Ethical Principles and this is

17    beginning on Page 4 and there are various

18    paragraphs which have boldface value and ethical

19    principle named or described.

20                 Do you see that?

21                 A      I see Page 4; correct.

22                 Q      On the next page, Page 5, there is

23    a paragraph entitled Value Integrity.

24                 Do you see that?


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                                                                          Page 30
1                  Pardon me, Joe says it's Page 6.

2                  A      I don't see it on Page 5.

3                  Q      It's the --

4                  A      There it is.

5                  Q      It's the second to the last

6     paragraph.       Yeah, there we go; okay.

7                  Can you please read the final sentence

8     in that paragraph beginning with Social workers

9     act?

10                 A      Yes.

11                     Social workers act honestly and

12                     responsibly and promote ethical

13                     practices on part of the organization

14                     with which they are affiliated.

15                 Q      Do you agree that this is relevant

16    to IDHS and Elgin Mental Health Center, as the

17    organization which you are affiliated with?

18                 A      Yes.

19                 Q      So you should be promoting ethical

20    practices there; right?

21                 A      Correct.

22                 Q      You don't lower your ethical

23    standards just because you work in a State

24    facility; do you?


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                                                                          Page 31
1                  A      No, the ethical standards are often

2     above the regular standards.

3                  Q      Yeah, so these are minimum

4     standards; right?

5                  A      Yes.

6                  Q      Okay.     Now, I want to go into the

7     later section that contains specific ethical

8     standards.

9                  There is Part 1 entitled Social Workers'

10    Ethical Responsibilities to clients and I would

11    like you to read Paragraph 1.03, Informed Consent,

12    Subparagraph D, beginning, In instances.

13                 A      Could you make it a little bigger?

14                     In instances when clients are receiving

15                     services involuntarily social workers

16                     should provide information about the

17                     nature and extent of services and about

18                     the extent of the client's right to

19                     refuse service.

20                 Q      So you tell your patients or

21    clients at Elgin Mental Health Center about their

22    right to refuse services; right?

23                 A      Yes, I do.

24                 Q      Did you ever tell Ben Hurt that if


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                                                                          Page 32
1     he didn't take psychotropic medication he won't

2     get out or it would take him longer to get

3     released?

4                  A      Never had that conversation with

5     him.    I was only his social worker for less than a

6     month.

7                  Q      Did you presume that somebody --

8     that nobody else told him that, nobody told him,

9     Hey, you better take meds or you are not going to

10    get out?

11                        MS. KOZAR:      Object to form.

12                 You can answer.

13                        THE WITNESS:       Okay.     Sorry.

14                 No, I wouldn't assume that.             Again, that

15    would be his -- His treatment team would have to

16    manage those issues with him.

17    BY MR. KRETCHMAR:

18                 Q      So let me make sure I understand

19    your answer.

20                 You are saying that perhaps somebody

21    else on the treatment team or on the unit may have

22    told Ben, Hey, you better take meds or else you

23    won't get out?

24                 A      No, I am not aware of that.


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                                                                          Page 33
1                  I have had a lot of patients be

2     discharged without meds, you know, so I am not

3     aware of that.

4                  Q      Okay.     Great.

5                  Now, what about moral recognition

6     therapy or MRT?

7                  Did you ever tell Ben Hurt that if MRT

8     did not make sense to him he could refuse that

9     service?

10                 A      I don't recall.

11                 But he can refuse any of the services.

12    He would be able to at that time.

13                 But I don't think I referred him to MRT,

14    if he was in it, but again, he was Bob Hamlin's

15    patient for most of the time and I was just

16    covering for Bob for one month.

17                 Q      Let's go to Paragraph 1.05.             I have

18    this on Page 7 -- on Page 9, I guess.

19                 I don't know why I have different page

20    numbers but I will go with this.

21                 1.05 Cultural Competence, Subparagraph

22    C, could you please read that?

23                 A      Yes.

24                     Social workers should demonstrate


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                                                                          Page 34
1                      awareness and cultural humility by

2                      engaging in critical self-reflexion

3                      (understanding their own bias and

4                      engaging in self-correction),

5                      recognizing clients as experts of their

6                      own culture, committing to lifelong

7                      learning and holding institutions

8                      accountable for advancing cultural

9                      humility.

10                 Q      Thank you.

11                 Can you offer any example of how you

12    applied that particular ethical standard in Ben

13    Hurt's case?

14                 A      Again, my time with him was so

15    limited, I don't recall having those discussions

16    with him.

17                 Most of the work that I had with him was

18    educating about -- psychodynamic education about

19    and alcohol and the impact they have on the brain

20    and potentially on his mental illness.

21                 I don't remember engaging in anything

22    regarding cultural issues with him.

23                 Q      Fair enough.

24                 I would like you to read the title and


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                                                                          Page 35
1     the first Subparagraph A of Ethical Standard

2     No. 1.09.        That is Page -- So this is Page 14.

3                  A        Yes.   You said A?

4                  Q        Yeah, read the title and the first

5     Subparagraph A.

6                  A        1.09 Sexual Relationships:

7                      A:   Social workers should under no

8                      circumstances engage in sexual

9                      activities, inappropriate sexual

10                     communications through the use of

11                     technology or in person or sexual

12                     contact with current clients, whether

13                     such contact is consensual or forced.

14                 Q        Now, this is what the present case

15    is all about; right?

16                 A        That's my understanding, yes.

17                 Q        Christy Lenhardt engaged in sexual

18    activities with Ben Hurt while he was her client

19    and your client on L&K Units; right?

20                 A        I don't know if they engaged in any

21    type of sexual activity while he was under my

22    watch for that month.          I have no idea.

23                 Q        Fair enough.

24                 Under this ethical standard 1.09, can


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                                                                          Page 36
1     you tell me what the final word is in Subparagraph

2     B?

3                  A      Boundaries.

4                  Q      Good.

5                  And what's the final word in the second

6     to last sentence in that same subparagraph?

7                  A      It looks like it's Boundaries.

8                  Q      What about the final word in

9     Subparagraph D?

10                 A      Boundaries.

11                 Q      Okay.     Do you think that the use of

12    this term boundaries three times in the four short

13    paragraphs pertaining to Ethical Standard 1.09

14    regarding sexual relationships implies any

15    particular meaning to that term boundaries?

16                        MS. KOZAR:      Objection, form.

17                        MR. KRETCHMAR:        I am just asking

18    what he thinks.

19                        THE WITNESS:       I am not quite sure

20    what you are asking.

21                 Boundaries in this situation I think

22    applies to a person's personal boundaries between

23    a social worker and a client, as in what the

24    ethics will talk about.


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                                                                          Page 37
1                  Dual relationship is a boundary

2     violation, where if -- you can't have a second

3     relationship.       So your primary relationship with a

4     client is one as a social worker.

5                  You cannot have a secondary or dual

6     relationship, such as buying a car from them,

7     having a sexual relationship with them.                 Those

8     things are unethical.

9     BY MR. KRETCHMAR:

10                 Q      All right.      Let me simplify the

11    question.

12                 From the way the word is used in this

13    section of these ethical standards, boundaries is

14    related to sex; isn't it?

15                 A      For this one, yes, this is

16    regarding sexual relationships, so yes, in this

17    section, yes.

18                 Q      Now, Christy Lenhardt was widely

19    rumored or well-known actually to have had issues

20    with boundaries over many years while she worked

21    at Elgin; wasn't she?

22                 A      Such as what?        I am not aware of

23    that.

24                 The one thing that I know is sometimes


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                                                                          Page 38
1     she stayed late, you know, but that was for her

2     and her supervisor to deal with.

3                  So other than that I am not aware of any

4     other boundary problems.

5                  Q      Now, how is staying late a boundary

6     problem?

7                  A      Because we are held accountable for

8     the time that we are here and the administration

9     and the supervisors should know if someone is here

10    past that time.        There may be liability issues if

11    you are, what they say, off the clock and

12    something happens.

13                 But it's part of your professional

14    responsibility to notify your supervisor if you

15    are outside your work window.

16                 Q      Why do they need to know if you are

17    there, say, an hour late?

18                 A      It's everything from, if there is

19    an evacuation, if there is a fire, what the

20    purpose of it is, and do they have to pay them

21    overtime.

22                 Q      And does being there for a fire or

23    being paid overtime -- does that implicate

24    boundary issues?


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                                                                          Page 39
1                  A      Not necessarily.

2                  Q      Well, then in what circumstance

3     would it actually?

4                  A      If you are staying late to spend

5     time talking with clients or hanging out with

6     other staff talking about things that would not be

7     the role that you are being paid for.

8                  Your role is to provide counseling to

9     your patients on the unit but that's within a time

10    period.     So any time outside of that you should

11    have permission or some level of expectation what

12    you are doing.

13                 During my dyads, I have groups that I

14    have to run during certain times and that's where

15    I am expected to be.

16                 I have counseling sessions at certain

17    times so I am expected to be in the office with my

18    clients at that time.

19                 Staffing times I am supposed to be.

20                 So it's an expectation of where we

21    should be doing our job.

22                 Q      Did you ever hear or for that

23    matter did you ever tell anyone that Christy

24    Lenhardt had boundary issues?


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                                                                          Page 40
1                  A      There was an event in 2014 where

2     she showed up in my office very upset and crying

3     with a new intern.         I immediately said that she

4     should have her intern leave because this is not

5     her intern's issues.          And she said her intern

6     already knew about it.

7                  Ms. Lenhardt was having significant

8     problems at home with her son and at that point

9     she was very overwhelmed.           So I encouraged her to

10    contact law enforcement.           Said, Call the police if

11    your son is doing these type of behaviors where he

12    is destroying your property.

13                 And I contacted her supervisors, Robert

14    Hamlin and Peg Gimbel, and said, This is not a

15    good time for her to have an intern because it

16    sounds like her boundary issues -- again bringing

17    her intern into that situation with her -- where

18    it was professional and now it's a personal

19    relationship, so that's a dual relationship.

20    That's not appropriate for the intern and it's not

21    appropriate for the intern to experience here.

22                 So I requested they change her

23    internship.      And to my knowledge they reassigned

24    the intern after that.


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                                                                          Page 41
1                  So, yeah, that was a boundary issue

2     there.

3                  Q      So the example you gave was an

4     issue of boundaries with coworkers; right?

5                  A      Correct -- Or an intern.            Not with

6     a coworker but an intern; correct.

7                  Q      Somebody else who was a clinical

8     staff of whatever status, yeah; okay?

9                  A      Fair.

10                 Q      Now, correct me if I am wrong, but

11    boundaries certainly apply to patients as well;

12    right?

13                 A      Correct, yes.

14                 Q      Did you ever hear that Christy

15    Lenhardt had boundary issues with patients?

16                 A      No.

17                 Q      Did you ever tell anyone that there

18    were rumors perhaps or that other people said she

19    had boundary issues with patients?

20                 A      No.

21                 Q      No such clue; right?

22                 A      Not that I was aware of.

23                 Q      Could you please read aloud Ethical

24    Standard No. 1.14, Clients who lack


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                                                                          Page 42
1     decision-making capacity, Page 15?

2                  A      Okay.

3                      When social workers act on behalf of a

4                      client who lacks the capacity to make

5                      informed decisions social workers should

6                      take reasonable steps to safeguard

7                      interests and rights of those clients.

8                  Q      Thank you.

9                  Now, all involuntarily committed

10    patients at Elgin Mental Health Center lack

11    capacity to consent to sexual contact; isn't that

12    correct?

13                 A      That's my understanding.

14                 Q      That's your understanding but you

15    have no direct knowledge of that?

16                 A      Well, yeah.       It's unethical to have

17    a sexual relationship with a client from a staff

18    perspective, yes, as a staff member, yes, and --

19    Go ahead.

20                 Q      And patients lack legal capacity to

21    consent; isn't that right?

22                 A      I don't know if that's right but

23    that's how I treat patients.             I believe since they

24    were sent here by the court they lack the capacity


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                                                                          Page 43
1     to make the right decisions, so that's how I see

2     the patients; correct.

3                  Q      Well, in particular, they lack the

4     capacity to make the right decisions or to consent

5     to sexual contact; isn't that correct?

6                  A      Yes, that's correct.

7                  Q      Okay.     So you needed to take

8     reasonable steps to prevent a patient like Ben

9     Hurt, for example, from being seduced into a

10    years' long sexual affair with his social worker;

11    didn't you?

12                        MS. KOZAR:      Object to form.

13                        THE WITNESS:       I was not aware that

14    there was a relationship or there was sexual

15    contact.

16    BY MR. KRETCHMAR:

17                 Q      Well, I am asking about an ethical

18    duty to protect him, while he was your patient at

19    least, under this -- under this Ethical Standard

20    1.14, Clients who lack decision-making capacity,

21    that makes it incumbent upon you to take

22    reasonable steps to safeguard Ben Hurt from sexual

23    contact; right?

24                 A      Correct.


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                                                                          Page 44
1                  Q      Okay.     Just to clarify 100 percent,

2     you do know that it's illegal to have sexual

3     contact with a patient, if you are staff at Elgin;

4     right?

5                  A      Yes.

6                  Q      Okay.     I want to go to Part 2 of

7     this section containing specific ethical

8     standards.       It's entitled Social Workers Ethical

9     Responsibilities to Colleagues.              This will be

10    Paragraph 2.01 entitled Respect.

11                 Could you read subparagraph B beginning

12    with, Social workers should avoid?

13                 A      Yes.

14                     Social workers should avoid unwarranted

15                     negative criticism of colleagues in

16                     verbal, written and electronic

17                     communications with clients or with

18                     other professionals.

19                     Unwarranted, negative criticism may

20                     include demeaning comments that refer to

21                     colleague's level of competence or to an

22                     individual's attributes, such as race,

23                     ethnicity, national origin, color, sex,

24                     sexual orientation, gender identity or


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                                                                          Page 45
1                      expression, age, marital status,

2                      political belief, religion, immigration

3                      status and mental or physical ability.

4                  Q      Okay.     So you are not supposed to

5     criticize other social workers unnecessarily,

6     Christy Lenhardt being one example; is that right?

7                  A      Should not, unless its constructive

8     criticism on a clinical level or if it's something

9     that's inappropriate, then I think it's important

10    that you bring that to the attention of somebody,

11    yes.

12                 Q      The language in this is, Social

13    workers should avoid unwarranted negative

14    criticism; correct?

15                 A      Correct.

16                 Q      That would apply to Christy

17    Lenhardt; right?

18                 A      Correct.

19                 Q      Would you say that another side of

20    this perhaps is shown later in this Part 2,

21    Paragraphs 2.08 -- I don't need you to read all of

22    this -- 2.08 entitled Impairment of Colleagues,

23    2.09, Incompetence of Colleagues, and 2.10,

24    Unethical Conduct of Colleagues.


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                                                                          Page 46
1                  Are those the things that you were

2     referring to when you said, if it is warranted or

3     if it's something that -- you know, criticism that

4     you need to make; is that correct?

5                  A      Well, yes.      This is where you would

6     give observations and advise their supervisor of

7     any concerns that might be happening.

8                  Now, different people have professional

9     backgrounds that have different skills and

10    qualities.       So part of the process with social

11    workers or any other clinicians is learning how to

12    become a better social worker as you continue to

13    develop and grow in the profession.

14                 So sometimes that involves, you know,

15    criticism along the lines of, you know, you don't

16    talk anything about your personal life because

17    that would be a boundary violation.               You are

18    trying to develop rapport but those are the kind

19    of things that you have to learn as you go along.

20                 Q      So if you had ever been concerned

21    that perhaps Christy Lenhardt was impaired or

22    incompetent or conducting herself unethically you

23    would have had an ethical responsibility to take

24    some remedial action; right?


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                                                                          Page 47
1                  A      Right, correct.

2                  Q      Can you please read Subparagraph E

3     under Paragraph 2.10, Unethical Conduct of

4     Colleagues, that's the last subparagraph in this

5     section?

6                  A      2.10:

7                      Social workers should defend and assist

8                      colleagues who are unjustly charged with

9                      unethical conduct.

10                 Q      Did you ever defend or assist

11    Christy Lenhardt against unjust charges of

12    unethical conduct?

13                 A      Not that I am aware of.

14                 Q      Well, if you had done that, you

15    would be aware of it; right?

16                 A      I would think so, yeah.

17                 Q      So do you recall ever having

18    defended or assisted her against unjust charges?

19                 A      No, I do not.

20                 Q      Let's go to Section 3, Ethical

21    Responsibilities and Practice Settings,

22    Subparagraph 3.04, Client Records, under Part 3.

23                 Could you please read Subparagraphs A

24    and B?


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                                                                          Page 48
1                  A      Yes.

2                      Social workers should take reasonable

3                      steps to ensure that documentation in

4                      electronic and paper records is accurate

5                      and reflects the services provided.

6                      Social workers should include sufficient

7                      and timely documentation in records to

8                      facilitate the delivery of services and

9                      to ensure continuity of services

10                     provided to clients in the future.

11                 Q      Thank you.

12                 This issue of continuity of services

13    could apply in the practice setting of Elgin

14    Mental Health Center; couldn't it?

15                 A      Such as how?

16                 Q      I mean --

17                 A      Generally?

18                 Q      Okay.     Generally, first of all.

19                 A      Continuity of services is, as we

20    work towards somebody's progression towards being

21    discharged into a least restorative environment,

22    you continue to work on progression and

23    communicate that through your staff and through

24    your records.


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                                                                          Page 49
1                  Q      Okay.     How about if your patient

2     got a new treatment team or just a new social

3     worker, would you have some responsibility to

4     facilitate continuity of service?

5                  A      Well, there is usually a transfer

6     staffing that would go on, that goes from one unit

7     to another, but yes, you should continue with the

8     continuity of the services being provided.

9                  Q      And that's an ethical

10    responsibility of yours under this code; right?

11                 A      Correct.

12                 Q      So would you be likely, just for

13    example, to review chart records, like annual

14    evaluations of Ben Hurt by a psychiatrist and

15    psychologist and other clinical professionals,

16    when he became your client?

17                 A      When he became my client -- I

18    usually review those things during annual social

19    assessment.

20                 When he became my client it was just

21    temporary because I knew I was leaving.                 So my

22    goal was to help keep him moving forward in the

23    MISA program, as he was transitioned to Robert

24    Lee, the discharging social worker.


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                                                                          Page 50
1                  Q      Yeah.     He became your client in,

2     what, maybe March or April of 2017; is that

3     correct?

4                  A      Correct, from April to May of 2017;

5     correct.

6                  Q      Did you review his chart records at

7     that time?

8                  A      I would have reviewed basically

9     where he was at and where he was progressing to.

10    Had I had the opportunity to do all his past chart

11    records, I am sure I hadn't at that time.

12                 Q      So your answer is, no?

13                 A      Was I able to do it at that time,

14    no, I wouldn't have been able to do everything at

15    that time, but hopefully I would have reviewed it

16    by the time he was discharged, if I remained his

17    social worker.

18                 Q      So what part of his chart records

19    were you able to review?

20                 A      It would have been his last

21    treatment plan, hopefully I would have reviewed

22    his psychiatric assessment, as well as a social

23    assessment.

24                 Q      And you say hopefully, do you


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                                                                          Page 51
1     remember whether or not you did review those

2     records?

3                  A      I do not remember if I did or

4     didn't.

5                  Q      As part of this whole continuity of

6     services would you also weigh in on decisions

7     about whether to transfer someone to another

8     clinical unit?

9                  A      We often -- Because of the

10    substance abuse program we have roughly a

11    six-month program, so we get patients coming in

12    from other units that work our program and then go

13    back.

14                 So yes, we would be involved in

15    recommending are they ready to go, is it a good

16    fit for them, have they reached their goals in the

17    treatment program to go back to their home unit.

18                 Some of our patients are honoring it, we

19    are their home unit, so they would have stayed

20    with us.

21                 Q      Would you also weigh in on

22    decisions about whether to seek civil commitment

23    of a patient whose Thiem date was approaching?

24                 A      We could have an opinion on that.


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                                                                          Page 52
1                  Again, that's primarily the doctor's

2     opinion.     But yes, we could have an opinion on

3     that, especially when we look at least restrictive

4     alternatives.

5                  If the patient is refusing to go to a

6     group home or go to maybe a nursing home, and

7     that's where their needs are met best, we would be

8     the ones exploring those alternatives for them.

9                  Q      Would you read over a discharge

10    summary to make sure important issues were

11    documented?

12                 A      Well, we would usually write the

13    discharge summary.

14                 Q      Yes.

15                 Nevertheless, you have some concern for

16    continuity of treatment, according to this ethical

17    standard.

18                 If someone were leaving and they were

19    about to be discharged, would you pay attending to

20    the discharge summary to make sure important

21    issues were documented?

22                 A      He wouldn't have had a discharge

23    summary when I was working with him.

24                 Q      By he, you are talking about Ben


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                                                                          Page 53
1     Hurt?

2                  A      Ben Hurt; correct.

3                  That discharge summary was created by

4     Robert Lee when he was discharged.

5                         MR. KRETCHMAR:        Hang on one second.

6                               EXAMINATION

7     BY MR. CECALA:

8                  Q      I want to make sure I am clear

9     about your earlier question about civil

10    commitment.

11                 So when a patient is approaching their

12    Thiem date, does the social worker weigh in on

13    whether -- you know, as part of the treatment

14    team -- whether the facility should pursue civil

15    commitment in anticipation of the Thiem date?

16                 Does the social worker weigh in on that

17    or not?

18                 A      We would have an opinion on that

19    with the treatment team, yes.

20                 Q      So what does that mean, you would

21    have an opinion on that?

22                 A      Whether there were any ulterior

23    placements which would provide for the

24    individual's needs because involuntary commitment


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                                                                          Page 54
1     is kind of the most restrictive form of the

2     commitment.

3                  So it would be part of the process of,

4     say, I have somebody who can't cook, they would

5     need to have some type of facility that provides

6     their basic needs for them.

7                  So we would have to look at what are

8     their basic needs and what are the minimum

9     requirements for them to be able to not meet the

10    requirements for subject to involuntary admission.

11                 Q      Right.     I think that's a different

12    answer to a different question.              Maybe I will ask

13    this.    Maybe it isn't.

14                 If someone can't cook, do you ever weigh

15    in and say, Well, they can't cook.               We should

16    create a civil commitment process for this person?

17                 A      No, only if their cooking causes

18    them to be a threat to self or others.                I mean, if

19    they set the house on fire from cooking then that

20    can be a problem.

21                 What I would want to do is make sure

22    they had appropriate services so they would be

23    able to get food and housing as part of their

24    ability to being in the community.


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                                                                          Page 55
1                  Q      Right.

2                  So my point is, a civil commitment

3     evaluation has more to do with whether the patient

4     is a danger to his or her self or the community;

5     right?

6                  A      Or an ability to care for self, if

7     I remember correctly, yes.

8                  Q      Well, can you civilly commit

9     someone for simply being unable to care for

10    themselves?

11                 A      Yes.     It's one of the prongs of the

12    civil commitment, is my understanding.

13                 Q      Okay.     So when you say they can't

14    care for themselves, we are going to weigh in for

15    civil commitment, this is -- I mean, I got it --

16    being unable to care for one self so much so that

17    they are a danger to themselves though; right?

18                 A      Right.

19                 Q      So it's not primarily that they

20    don't have a place to live or they don't know how

21    to make an omelet, does -- are those things under

22    the subcategory of, if we release this person it's

23    too dangerous; right?

24                 A      Correct.


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                                                                          Page 56
1                  Q      Okay.     I just wanted to make sure I

2     clarified that.

3                  So his question was -- His question was

4     actually, how do you weigh in when considering --

5                  How does the social worker weigh in when

6     considering whether civil commitment is

7     appropriate as a patient approaches his Thiem

8     date?

9                  A      I guess I weighed in on the

10    progress on any type of opinion they had regarding

11    a threat to self or others.

12                 If they observe behaviors that were

13    concerning or inappropriate or symptoms that were

14    concerning or inappropriate, like someone with a

15    delusional belief that they have to kill somebody,

16    you know, if the social worker read that or

17    observed that, that would be part of the

18    commitment process.

19                 So that would be the actual -- The

20    commitment process, my understanding, is about

21    their active mental status at that time, not what

22    can happen in the future, even though there is a

23    weird prong about most likely to be compensated or

24    something, if they become a threat, but I have


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                                                                          Page 57
1     never seen that prong used on the civil commitment

2     aspect of it.

3                  Q      Right.

4                  So the primary focus about how you weigh

5     in is evaluating significance of danger to self or

6     others; correct?

7                  A      To some extent.

8                  That's more the doctors, because they

9     are doing the certificates on that.

10                 But yes, we would weigh in on that if we

11    observed things or were aware of things.

12                 Q      Just one final thing and I will

13    send it back to Randy.

14                 The information you gather, as the

15    patient might be approaching -- not necessarily

16    Ben Hurt but any patient -- as a patient is

17    approaching their Thiem date, isn't it important

18    to gather all of the relevant information about

19    whether that patient is a danger to self or

20    others?

21                 You gave a significant one which is

22    homicidal thoughts or expressing that they want to

23    kill someone.       Obviously that is fairly obvious

24    and significant, but there are others you just


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                                                                          Page 58
1     mentioned, which is, you know, he can't cook for

2     himself, which might entail needing to place him

3     at a facility rather than civilly commitment him;

4     right?

5                  A      Right.     Or a group home or just an

6     agency that provides those type of services, yes.

7                  Q      Right.

8                  So gathering the patient information

9     about every aspect of releasing that patient on

10    his Thiem date, related to danger to self and

11    others, as well as being able to go back and

12    function, my question is:

13                 What's the importance of gathering every

14    piece of information to make that decision, to

15    weigh in on whether he should be civilly committed

16    or released on his Thiem date?

17                 Is that important?

18                 A      Well, the history is not as

19    important because it's really a decision about how

20    they are functioning now.           So you have to assess

21    the ability to function now with what the current

22    problems are.       So the history is not as relevant.

23                 Q      Right.

24                 So the present information, what's


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                                                                          Page 59
1     actually occurring right at the moment that they

2     are about to be released, would in fact, as you

3     are stating -- I don't want to put words in your

4     mouth -- that would be far more significant than

5     perhaps something that happened two years ago;

6     right?

7                  A      Right, correct.

8                  Q      So you would want to have the

9     entire body of information about what's occurring

10    with that patient right at the moment that you are

11    about to let them go into the public and know

12    whether you are responsibly releasing someone who

13    is a danger to self or others or not; right?

14                 A      Yes.

15                        MR. CECALA:       Okay.

16                               EXAMINATION

17    BY MR. KRETCHMAR:

18                 Q      Yeah, I want to go to Paragraph

19    3.09, queue forward, which is on what page?                  We

20    are on Page 22.

21                 There we go.

22                 Could you please read aloud Sections B

23    and D, from 3.09 Commitments to Employers.

24                 A      Sure.


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                                                                          Page 60
1                      B:   Social workers should work to

2                      improve employing agencies' policies and

3                      procedures and the efficiency and

4                      effectiveness of their services.

5                      D:   Social workers should not allow an

6                      employing organization's policies,

7                      procedures, regulations or

8                      administrative orders to interfere with

9                      their ethical practice of social work.

10                     Social workers should take reasonable

11                     steps to ensure that their employing

12                     organization's practices are consistent

13                     with the NASW Code of Ethics.

14                 Q        Thank you.

15                 You have done some work to improve

16    policies and procedures in Elgin Mental Health

17    Center and in the Department of Human Services in

18    respect to prevention of sexual abuse of patients;

19    haven't you?

20                 A        I have done some work as in?

21                 I put some trainings together for social

22    workers and for staff, yes.

23                 Q        Good.   That's -- I was going to

24    ask, please describe that work or give us some


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                                                                          Page 61
1     details.

2                  A      I have done ethical training

3     because social workers are required to have

4     ethical training every two years as part of

5     maintaining their license.            So I have put together

6     ethical trainings.

7                  In this situation when this occurred I,

8     with a committee, a group of people, we put

9     together a training called Safe Interactions which

10    talks about -- specifically about what's

11    appropriate, what's not appropriate, reinforcing

12    both the ethics, the criminal code, as well as the

13    agency policies on everything from inappropriate

14    sexual contact to being manipulated to bringing

15    contraband, those type of things.

16                 Q      So when you said in this situation,

17    when this occurred, you were talking about the

18    incident or the discovery of the sexual

19    relationship between Ben Hurt and Christy

20    Lenhardt; right?

21                 A      Correct.

22                 Q      Would you read -- I am going quite

23    a few pages forward now.

24                        MR. CECALA:       Sorry.     I want to ask


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                                                                          Page 62
1     this.

2                               EXAMINATION

3     BY MR. CECALA:

4                  Q      You said there was a committee

5     formed to come up with the safe interactions

6     training.

7                  Who was on that committee?

8                  A      Ann Boisclair was part of it, I

9     think Chief Epperson was part of it, and I really

10    can't remember who else was on the team.

11                 Q      Was Colleen Delaney a part of that

12    team?

13                 A      No, she was not.

14                 Q      What about Diana Hogan?

15                 A      No, she was not.

16                 Q      Do you remember if Linda Nidelkoff

17    was part of that team?

18                 A      She was in charge of training.              She

19    may have been part of it.           She was coordinating

20    the use of it, so she may have been, but I don't

21    recall specifically.

22                 Q      So more as a coordinator, not

23    looking at the substance of it?

24                 A      That would most likely be the case.


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                                                                          Page 63
1                  Q      Was Ann part of -- Did you create

2     the entire substance?

3                  A      No, no.

4                  It was actually created with a group of

5     us and Ann Boisclair was the one who kind of went

6     through and identified what we wanted in there and

7     didn't want in there, those type of things.

8                  So yes, I put together a template of

9     ideas to go with.

10                 Q      Do you recall if you emailed that

11    around to anyone or do you recall -- do you have

12    that training somewhere?

13                 A      I videotaped to be doing the

14    training for staff.         There is a new one coming up

15    which we are modifying right now.

16                 So I do believe that training is

17    available in the facility because they have shown

18    it to new employees.

19                 Q      Is there a slide presentation that

20    you give?

21                 A      It's a Powerpoint.

22                 They did record it once but I don't know

23    if they know where the recording is to the whole

24    presentation.


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                                                                          Page 64
1                  Q      Do you have the slides?

2                  A      The slides are with -- on the N

3     drive in our facility, which is the neutral drive,

4     so people can bring them up.

5                         MR. CECALA:       Amanda, if it's

6     possibly, I know we are approaching the discovery

7     close window, I would ask if you could turn over

8     slide presentation that Drew created.

9                         MS. KOZAR:      Yeah, I will request

10    that.

11    BY MR. CECALA:

12                 Q      I am sorry, I called you Drew.

13                 Is it okay if I call you Drew?

14                 A      That's fine.       That's what everybody

15    calls me.

16                 Q      You said Chief Epperson was

17    involved as well?

18                 A      I believe so.        Yeah, I believe he

19    was.

20                 Q      Do you recall any conversations

21    that you were a part of to select the team of

22    people that may have been on this committee to

23    train?

24                 A      I was not part of selecting people,


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                                                                          Page 65
1     no.

2                  Q      Do you recall ever having any

3     conversations with Diana Hogan about whether she

4     should or should not be on the team?

5                  A      No.

6                  Q      What about having conversations

7     with Linda Nidelkoff about whether Diana Hogan

8     would be part of the team?

9                  A      No, I have no recollection of that.

10                 Q      Just one last thing.

11                 When exactly did you begin the process

12    of creating the safe interactions training?

13                 About how far after the Christy Lenhardt

14    incident was that being done?

15                 A      I would guess probably six months

16    to eight months out, but that's purely a guess,

17    because I was on a medical leave until I think

18    October, so I wasn't even back until then because

19    of my knee surgery.

20                 Q      So late 2017, early 2018?

21                 A      Probably.      I am not certain, but

22    probably.

23                        MR. CECALA:       Okay.

24    ///


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                                                                          Page 66
1                                EXAMINATION

2     BY MR. KRETCHMAR:

3                  Q      One more subsection from this

4     Ethical Code I would like you to read.                We are

5     going to go forward to Paragraph 6.04 entitled

6     Social and Political Action.

7                  And I would like you to read Subsection

8     D under 6.04.

9                  A      6.04:

10                     Social workers should act to prevent and

11                     eliminate domination of or exploitation

12                     of and discrimination against any

13                     person, group or class on the basis of

14                     race, ethnicity, national origin, color,

15                     sex, sexual orientation, gender identity

16                     or expression, age, marital status,

17                     political beliefs, religion, immigration

18                     status or mental or physical ability.

19                 Q      Exploitation of any person on the

20    basis of race, you would have an ethical duty --

21    if you suspected that somebody was acting against

22    patients of a particular race -- you would have to

23    look at that; right?

24                 A      Yes.


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                                                                           Page 67
1                  Q      Under this Ethical Code; right?

2                  A      Yes.

3                         MR. KRETCHMAR:        Okay.     I am going

4     to turn it back to Joe.

5                         MR. CECALA:       I am going to try -- I

6     am going to move this a little closer to me.

7                  And I am going to try to get the other

8     exhibit, Exhibit No. 1.

9                  Sorry, I can't reach the exhibit.               Let

10    me just find the right one.

11                 Here it is.       Sorry, I had it the first

12    time.

13                               EXAMINATION

14    BY MR. CECALA:

15                 Q      Can you see the screen, Drew?

16                 A      Yes, I can.

17                 Q      Okay.     Just for the record -- Well,

18    you can't actually see the Bates stamp so well.

19                 The Bates stamp is a little number at

20    the bottom of the page.

21                 A      Okay.

22                 Q      It looks like it says Hurt Subpoena

23    and it's a little blocked out right down here.                   I

24    think it says 2218.


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                                                                          Page 68
1                  A      I can't read that.

2                  Q      Sorry, on the hard copy it says

3     Hurt Subpoena 002216.          It's right down here.

4                  Can you see that?

5                  A      I can barely make it out but it

6     looks like that's what it is.

7                  Q      I think that's what it is.

8                  Yeah, can you see it now?

9                  A      Yes.

10                 Q      So this document is the IDHS

11    Personnel Action Form from your personnel file?

12                 A      Okay.

13                 Q      And then in Box 7, do you see where

14    that right there?

15                 A      Yes.

16                 Q      In this transaction, Line 1, it

17    says, Return from leave of absence.

18                 And then there is a code.            It looks like

19    the code was incorrect and it was manually put in.

20                 Do you see that?

21                 A      Yes.

22                 Q      Next to it, it says Effective Date

23    9-5-17.

24                 Do you see that date?


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                                                                          Page 69
1                  A      Yes.

2                  Q      In the employee signature area, is

3     that your signature?

4                  A      It looks like it, yes.

5                  Q      On September 5, 2017?

6                  A      Uh huh.

7                  Q      Do you recall that this was the

8     date you returned from your medical leave of

9     absence?

10                 A      This is the date I returned to

11    light-duty.

12                 Q      Okay.

13                 A      Yes.

14                 Q      When you say light-duty, was it a

15    full-time day on light-duty or were you part-time?

16                 A      Full time on light duty.

17                 Q      Box 8 it says:

18                     Employee is returning from an 87-day

19                     service connect absence.           This absence

20                     counted towards employee's annual FMLA

21                     entitlement and he has exhausted his

22                     2017 FMLA entitlement.          Creditable

23                     service date not adjusted.

24                 So was it correct, it was an 87-day


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                                                                          Page 70
1     service connect absence that you were on LOA for?

2                  A      That sounds about right.

3                  Q      You know, if you don't want to

4     disclose any personal medical information that's

5     fine, but I am going to ask you, what does the

6     service connect absence --

7                  There is a medical issue.            How is it

8     service connected?

9                  A      I was responding to a code from K

10    Unit to the Pinel.         It was a Code White called

11    where all staff immediately respond to.

12                 And as I was running to that code my

13    meniscus in my left knee detached, it popped, and

14    so I ended up needing to get my meniscus actually

15    reattached.

16                 Q      Okay.     It doesn't sound like fun.

17                 A Code Red, was that --

18                 A      Code White.

19                 Q      Sorry.

20                 Code White, was that some type of

21    perhaps security emergency?

22                 What does Code White mean?

23                 A      Code White is all staff are to

24    respond.     It usually means there is a security


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                                                                          Page 71
1     problem.     Could be a fight, could be someone in

2     danger.     That's a security response, yes.

3                  Q      So you had to have a meniscus

4     surgery, injuring your meniscus at work.

5                  This is just the next page.             It looks

6     like 2217 at the bottom.

7                  It looks like it's an email from

8     Kathleen Massat?

9                  A      Correct.

10                 Q      Do you know who Kathleen is?

11                 A      I believe she works in human

12    services -- pardon me -- in the HR department,

13    human resources.

14                 Q      So it looks like this is just a

15    transmittal.       I think it's of the page prior to

16    this.

17                 It says, September 5, 8:50 a.m. scanned

18    xerox multifunction printer PDF.

19                 I think it's just the attachment showing

20    that you came back to work on September 5?

21                 A      Yes.

22                 Q      So it would be appropriate, she is

23    the human resources person; right?

24                 A      Yes.


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                                                                          Page 72
1                  Q      Okay.     Great.

2                  The next page, Document No. 2218, next

3     in the sequence.        It's a similar page to the first

4     one.

5                  Do you see that?

6                  A      Yes.

7                  Q      And then again in Box 7, Line

8     No. 1, LOA, that means leave of absence; right?

9                  A      I believe so.

10                 Q      Service Disability.

11                 And then there is another transaction

12    code next to that.

13                 It says Effective Date 6-10-17; right?

14                 A      Right.

15                 Q      In Box 8 it says:

16                     Employee is beginning a service connect

17                     TTD -- probably a code for temporary

18                     disability.

19                        I don't know what that means.             I

20           don't think it's important.            But leave of

21           absence.

22                     Employee will be entitled to five

23                     service connect days and then leave will

24                     begin on 6-10.       This absence will count


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                                                                          Page 73
1                      towards employee's annual FMLA

2                      entitlement.

3                  Do you see where that's written?

4                  A      Yes.

5                  Q      So the leave of absence, per your

6     payroll, according to this and according to these

7     two spots, says it would have been commenced on

8     June 10; right?

9                  A      Well, leave of absence was on

10    June 10 but I was out before then because of the

11    five days of service connect.

12                 Q      Right.     Exactly.

13                 So there is another document -- There is

14    another document similar to the earlier one,

15    probably more payroll oriented leave of absence

16    without pay effective date 6-10.              It talks about

17    what your pay was.

18                 And then this is the similar one.               It

19    looks like this is a document, Page 2220, there is

20    just missing some initialing of this, but it looks

21    like it's the same document three pages earlier.

22                 Would you agree, it looks about the

23    same?

24                 A      Okay.     Yeah.


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                                                                          Page 74
1                  Q      Okay.     And then here is another

2     email from Kathleen which looks like there is a

3     scan -- she is getting this into your personnel

4     file; right?

5                  So the subject is Drew Beck and it's the

6     reference to the 6-10 situation; right?

7                  A      I guess so.       I mean, I don't know

8     their process.

9                  Q      Right.

10                 But it looks like she is transmitting

11    these payroll records around; right?

12                 A      Makes sense.

13                        MR. CECALA:       Okay.     Then there is a

14    document that didn't get scanned in.                If it's

15    okay, I'm missing a document, can we take a five

16    minute break so I can find why the document didn't

17    scan?

18                        MS. KOZAR:      Yeah, that's fine.

19                        MR. CECALA:       A five-minute break.

20    We have been at it -- It's 12:30.               We have been at

21    it for an hour and a half.            I am going to go off

22    the record and find my document.

23                        MS. KOZAR:      Okay.     Sounds good.

24                        MR. CECALA:       Thanks.


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                                                                          Page 75
1                  (Whereupon a recess was had).

2     BY MR. CECALA:

3                  Q      I am not sure why this page didn't

4     get scanned with the others but it's Bates stamped

5     2223.

6                  This was part of your personnel file,

7     Drew --

8                  A      Okay.

9                  Q      -- that was provided.

10                 Do you see that page?

11                 A      Yes.

12                 Q      So just another email from Kathleen

13    to -- it will looks like -- William Epperson, Wade

14    Larson, Melissa Downey, Bounthavy Xaypharath.

15                 Then it says Jenks Wroten, Patrick Uy,

16    Linda Nidelkoff, Agnes Krakowski, Salvatore

17    Verdone and Keith McTyer.

18                 So it's an email from Kathleen to all

19    those people; correct?

20                 A      Looks like it, yes.

21                 Q      The subject is:

22                     Social Worker Drew Beck will be out for

23                     several weeks to several months and we

24                     have his keys and alarm here in HR for


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                                                                          Page 76
1                      pickup.

2                         Right?

3                  A      Yes.

4                  Q      So the email is sent on Friday,

5     June 2, 2017, at 12:48 p.m.

6                  Do you see that?

7                  A      Yes.

8                  Q      So does that seem like the date

9     that would have been the five workdays earlier

10    than June 10 where you would have started your

11    leave of absence?

12                 A      Yes.

13                 Q      Then it indicates here that we have

14    his keys and alarm here.

15                 What is an alarm?

16                 A      It's a spider alarm, where if you

17    push it, it will send security.

18                 So we have alarm systems that it will

19    show where you are at.          So say if I was getting

20    attacked, I would push the button and it would say

21    -- it would call a Code White and would come to my

22    area.

23                 Q      Okay.     Understood.

24                 So you had to turn those in; right?


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                                                                          Page 77
1                  A      Right.

2                  Q      Now, once those were turned in were

3     you able to go back into the facility for any

4     reason?

5                  A      No.

6                  Q      Did you go back into the facility

7     between June 2 and September 5?

8                  A      I don't believe so, unless I went

9     to HR for something, but no.

10                 The forensics facility is separate from

11    HR.

12                 Q      Okay.     So you would never -- Even

13    if you had gone back, it would have been to some

14    type of administrative building, not to your unit?

15                 A      Right, correct.

16                 Q      That would have been K Unit; right?

17                 A      Right.     I wouldn't be allowed back

18    in the unit because of my medical issues.

19                 Q      So your unit or any unit for that

20    matter; right?

21                 A      Right.

22                 Q      Because it would have been a danger

23    for you to be around patients with the medical

24    issue; right?


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                                                                          Page 78
1                  A      That's correct.

2                  Q      Okay.     So I am going to go now --

3     You have seen this before, it's Exhibit No. 1, but

4     I am going to go to the top.

5                  This is a transcript of your interview

6     with the Illinois State Police dated 28 September,

7     2017, it looks like around 3:00 p.m.

8                  Do you see that?

9                  A      Yes.

10                 Q      You remember talking to the State

11    Police; right?

12                 A      Yes, I do.

13                 Q      You know, just for my information,

14    when you were talking to the State Police you were

15    telling them the truth to the best of your

16    knowledge?

17                 A      Yes.

18                 Q      I am going to skip down and then we

19    will blow it up.

20                 So this is on Page 4 of the transcript,

21    where the officer is -- I'll go up to the top so

22    you can see the whole page.

23                 It looks like on Page 3, right around

24    Line 17, he is asking you what have you heard so


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                                                                          Page 79
1     far there is some pages of -- This is about Ben

2     and Christy.

3                  And your answer from Line 18 to Line 21

4     says, your answer is:

5                      Well, see, I was out.         I don't know what

6                      you want me to get into.           I was -- I

7                      have been out on medical leave because

8                      in December of last year I ran into a

9                      code and my meniscus uprooted and

10                     actually turned.

11                 A      It should be torn, but okay.

12                 Q      Fine.

13                 And that's one of the reasons we are

14    going to do this because I want to make sure that

15    certain of these words.

16                 But you remember giving that answer;

17    right?

18                 A      Yes.

19                 Q      Then you go on to say:

20                     The surgery was authorized in June so I

21                     got back to light-duty aspect as of the

22                     beginning of this month.

23                 So that's on Page 4, Line 1.

24                 That would have been in September;


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                                                                          Page 80
1     right?    So September 5 is when you came back?

2                  A      Yes.

3                  Q      Then you say:

4                      But the rumors have been that there was

5                      some type of inappropriate relationship

6                      possibly and that Ms. Lenhardt was

7                      escorted out of the facility.

8                  Right?

9                  A      Yes.

10                 Q      So what were the rumors that you

11    heard or were aware of at that time?

12                 A      I heard that there was an OIG

13    investigation going on with her, which again, we

14    have had OIG investigations on us for things

15    before, so that's not particularly concerning.

16                 But then I heard it was about an

17    inappropriate relationship which of course is very

18    concerning.

19                 Again, my assumption was -- initially

20    was that it was false.

21                 Q      Sure.

22                 A      Because I had no idea that

23    something like that would be going on, especially

24    with her.


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                                                                          Page 81
1                  Q      Right.

2                  A      So that was my assumption at that

3     time.

4                  Q      Right.

5                  So you heard a lot of rumors though;

6     right?

7                  A      Some, yeah.

8                  Q      Okay.     Who did you hear the rumors

9     from?

10                 A      Mostly probably from my wife, who

11    worked here.

12                 Q      Okay.     I don't want to delve into

13    the potential to have spousal privilege issues but

14    you did say you heard about the rumors from your

15    wife, who is also an employee at Elgin; right?

16                 A      She was.      She is retired now.

17                 Q      Do you remember the first time you

18    heard the rumor from anyone?

19                 A      I do not.      It would have been while

20    I was off, so I do not.

21                 Q      But it was while you were off;

22    right?

23                 A      I believe so, yes.

24                 Q      So you weren't completely


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                                                                          Page 82
1     sequestered from all the information at the

2     facility from June 2 to September 5 because your

3     wife works there; right?

4                  A      Correct.

5                  Q      Who else did you hear the rumors

6     from?

7                  A      The newspaper story came out.             It

8     was on Channel 7, on CBS, on the news.                I heard it

9     from there.      And that was primarily where I got my

10    information from.

11                 Still was kind of at the point where,

12    can this actually be real.

13                 Q      So the newspaper stories and the

14    CBS stories were released on November 4, 2017 and

15    you were testifying here on September 28.

16                 So what I am wondering is who else you

17    may have heard the rumors from when you were

18    answering the State Police on September 28?

19                 A      At that time I was back on the unit

20    so people were talking, STAs, about what was going

21    on because she was no longer here and we had to

22    cover the cases over there and so that was the

23    discussion going on.

24                 Q      Covered what cases?


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                                                                          Page 83
1                  A      Her cases.

2                  It would have been because we were down

3     a social worker on L Unit so part of the treatment

4     team meeting would be who is covering those cases

5     and that.

6                  Q      So from when you came back on

7     September 5 until September 28 the treatment team,

8     like the morning meetings, is that what you are

9     referring to is where you would have heard rumors?

10                 A      Usually the rumors come from, like,

11    the nurses' station.          They talk about that in the

12    morning meeting about what was going on.

13                 A lot of us still were like, Is this

14    actually true what we are hearing?

15                 Q      So what are the names of the STAs

16    that you recall spreading that rumor with you?

17                 A      I have no idea.        To be honest with

18    you, I have no idea.

19                 Q      So how do you know it was an STA?

20                 A      They are the ones who usually sit

21    in the nurses' station talking.              I guess it could

22    have been a nurse too then but those are the

23    people usually sitting there talking.

24                 Q      Do you recall any of the nurses


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                                                                          Page 84
1     telling you these rumors?

2                  A      I do not.      I am sorry.

3                  Q      So you said rumors that there was

4     some type of inappropriate relationship possibly

5     and Ms. Lenhardt was escorted out of the facility.

6                  Did anyone elaborate on what the

7     inappropriate relationship was or actually what

8     happened?

9                  A      No, it was all -- Everyone was

10    trying to figure out what it was.              Nobody knew.

11                 Q      So what did inappropriate

12    relationship mean to you?

13                 A      Some type of physical relationship

14    possibly or some type of friendship or it could

15    have been a money transfer or it could have been

16    sexual.     It could have been anything.

17                 I had a hard time thinking it was sexual

18    because Ms. Lenhardt is in her 50's and she has

19    kids Mr. Hurt's age so that didn't make sense to

20    me.

21                 Q      Right.

22                 So this is on September 28; right?

23                 A      Yes.

24                 Q      So then the police ask you on


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                                                                          Page 85
1     Line 8 and 9:

2                      Have you ever -- What kind of

3                      interaction have you had with

4                      Ms. Lenhardt?

5                  And your answer is on Lines 10 and 11:

6                      Let's see, I came to K & L Unit, I am

7                      guessing, six to eight years ago.

8                  A      Uh huh.

9                  Q      So do you recall whether your first

10    interaction was -- Because we are now looking at,

11    you know, between six and eight years.                So this

12    was in September of 2017.           Six years would have

13    been 2011.       Eight years would have been 2009.

14                 Do you remember, was it close to six

15    years or was it closer to eight years that you

16    interacted with Christy?

17                 A      It was probably closer to eight

18    because I think I came over to K Unit in 2008 so

19    it would be closer to eight years.

20                 Q      And you say that -- I think, well,

21    closer to eight.        I think later on you discuss it.

22    We will get to that.

23                 And then the police officer says, Okay.

24                 You volunteer:


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                                                                          Page 86
1                      And she is on L Unit but we have our

2                      team meetings together.

3                  What does that mean?

4                  A      Every morning we go through a

5     24-hour review of what's happened in the last 24

6     hours and Unit K and Unit L share a nurse

7     administrator and so we meet as a group and review

8     what has happened over that period of time.

9                  Now, if it's on Monday we are reviewing

10    what happened over the weekend as well.

11                 Q      Okay.     So it's a morning meeting,

12    suffice it to say, with the whole team on K & L

13    Units; correct?

14                 A      Right.

15                 Q      I am going to point this out for

16    later.

17                 So the police are asking you some more

18    precise information in these questions about

19    patients and you were concerned about giving out

20    confidential information; right?

21                 The top of Page 6 there is a lengthy

22    discussion about this but your answer is?

23                 A      Yeah.

24                 I wasn't sure if I could talk about


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                                                                          Page 87
1     patients in the facility at that point.                 With the

2     State employees I didn't know what level

3     confidentiality was there regarding Mr. Hurt.

4                  Q      Right.     You were even so concerned

5     giving out his name; right?

6                  A      Correct.

7                  Q      Okay.     Now on Page 8, is this a

8     sufficient size for you to see?

9                  A      It could be a little bigger but I

10    can make it work.

11                 Q      Okay.     So on Page 8 starting on

12    Line 16 the officer asks you:

13                     Do you know if Mr. Hurt had any

14                     interaction with Christy Lenhardt after

15                     he was assigned to you?

16                 Before I get to that, we have been

17    talking about when he was assigned to you.                  So you

18    said earlier kind of like April and May; right?

19                 A      Yeah, for a month from April to

20    May; correct.

21                 Q      So from April to May, so you only

22    had him for 30 days or did you have him until you

23    went on leave on June 2?

24                 A      I had him for 30 days because in


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                                                                          Page 88
1     May Robert Lee took over because I was

2     transferring my cases over because I was going on

3     leave.

4                  Q      So suffice it to say -- And we will

5     check.    I am looking for your recollection.

6     There's a lot of documentation in the records.

7                  But it seems to have been that Ben was

8     kind of a short stay patient for you; right?

9                  A      For me, yeah, because Bob Hamlin

10    had him from I believe December before and he was

11    assigned to doing some administrative duties and

12    so I covered him for that month until Robert Lee

13    took him over.

14                 Q      Do you remember, was it closer to

15    the end of your time in May, like closer to your

16    leave, or was it earlier in May, if you recall?

17                 A      If I remember, it was earlier in

18    May.    We do our staffings the first two weeks.                 So

19    it would have been the first or second week of

20    May.

21                 Q      Right.

22                 So really by mid May he was no longer

23    your patient; right?

24                 A      Right.     Correct.


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                                                                          Page 89
1                  Q      Now, again when they asked you, on

2     Page 8, Line 16, 17, about your interactions with

3     Christy Lenhardt and what you know of Hurt and

4     Christy's interaction, your answer starts on Line

5     19 and ends on Line 24.

6                  Could you read that just to make sure

7     the wording is correct?

8                  A      Yes.

9                      Well, we do have our morning meetings

10                     and each month we have -- each month we

11                     have meetings with the K or the -L Unit.

12                     So one month will be everyone on K & L

13                     go to L unit and the next month we will

14                     all to go K Unit.        So there is a

15                     potential for interactions because we

16                     are walking on the two units.

17                 Q      So you were describing when it

18    would have been appropriate -- Let me ask -- I

19    will back up -- a bit of foundation.

20                 So these morning meetings, they happen

21    everyday; right?

22                 A      Well, except for Saturday and

23    Sunday, but yeah, workdays.

24                 Q      Right, every workday.


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                                                                          Page 90
1                  So while the morning meetings are being

2     conducted the treatment teams from L and the

3     treatment teams from K are combined with nursing,

4     who has both units; right?

5                  A      Correct.

6                  Q      And this month leapfrogging between

7     the units, does that mean one month you will have

8     the morning meetings on K Unit and on a different

9     month you will have the morning meetings on L

10    Unit?

11                 A      Yes, correct.

12                 Q      So that's what you are referring to

13    here; right?

14                 A      Yes.

15                 Q      So the leapfrogging of the units

16    means that interaction between Ben Hurt and

17    Christy Lenhardt on K Unit was -- there was a

18    potential for that, because Christy, at the

19    morning meetings, would have to come from L Unit

20    to K Unit; correct?

21                 A      Correct.

22                 Q      So that was a potential for them to

23    interact?

24                 A      Yes.


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                                                                          Page 91
1                  Q      So did you ever see Christy and Ben

2     interacting at a morning meeting or immediately

3     before or after a morning meeting when the

4     meetings were on K Unit?

5                  A      Not that I recall.

6                  Q      And it would have been impossible

7     for them to interact at the morning meeting time

8     on L Unit because Ben had been transferred to K

9     Unit in December of 2016; right?

10                 A      Correct.

11                 Q      So the patients aren't allowed to

12    go through the stem between the units and freely

13    walk around both units; right?

14                 A      Sometimes we have groups that occur

15    on different units and patients from one unit will

16    come to another.

17                 Q      Right.     I am only talking about

18    morning meetings.

19                 A      Morning meetings, no.

20                 Q      Right.     Okay.

21                 On Page 9 -- This is kind of a

22    continuation of your answer about the morning

23    meetings.

24                 He just says, Okay.


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                                                                          Page 92
1                  And then it looks like starting at Line

2     2 until Line 10 -- could you read that to make

3     sure the wording is correct?

4                  A      Sure.

5                      Now, there was -- Again, I was not on

6                      duty when this happened.           There was a

7                      situation evidently, which I'm sure you

8                      guys are aware of, where Ben ended up

9                      locked in the office, in Bob Hamlin's

10                     office with Christy and the lock failed.

11                 Do you want me to keep going?

12                 Q      Yeah, to Line 10.

13                 A      Okay.     Sorry.

14                     Again, I wasn't on duty at that time so

15                     I don't know what the particulars were

16                     about that so that's the one time I know

17                     there was involvement there.

18                 Q      Right.

19                 It looks like Bob Hamlin, I think his

20    name is spelled Hamlin, H-A-M-L-I-N, not

21    H-A-M-L-O-N; right?

22                 A      Correct.

23                 Q      So we understand that the

24    misspelling is Bob Hamlin, the Social Worker on K


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                                                                          Page 93
1     Unit; right?

2                  A      That's correct.

3                  Q      And you say here that you didn't

4     know the particulars, That's the one time I know

5     there was involvement.

6                  And earlier you say, I wasn't on duty

7     when this happened.

8                  Did you mean you were on medical leave

9     at that time?

10                 A      No, I wasn't on the unit.

11                 Q      You weren't on the unit when that

12    happened.

13                 So can you explain how you would not

14    have been on the unit at that time?

15                 A      If I have a meeting at 2:00 or

16    3:00 o'clock I sometimes go to the meeting to go

17    home or if it was after 4:00 o'clock then she came

18    to the unit.

19                 Q      Right.

20                 So when the incident occurred, either

21    because you were working elsewhere or you had gone

22    home for the day, you weren't on the K Unit when

23    it actually took place; right?

24                 A      Right.


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                                                                          Page 94
1                  Q      So your answer goes on further,

2     helping them understand, from Line 11 to

3     Line 14 -- or actually it goes all the way down to

4     23.    Maybe you should just read that portion so we

5     make sure the wording is correct.

6                  A      Sure.

7                      She would come to the K Unit.            Bob may

8                      be able to explain this better than I

9                      can.

10                     The patient would transfer to L Unit.

11                     Had an incentive plan because he's got

12                     intellectual disabilities.           Incentive

13                     plans are behavior plans.           We get

14                     patients that have limitations, kind of

15                     like work plans.

16                     And so part of the reward is if he had a

17                     good day he would get a snack or a pop

18                     or something like that.          Bob kept the --

19                     that property basically, the snacks and

20                     the pop, in his office.          So Ms. Lenhardt

21                     would come over to get the incentive,

22                     incentive property from Bob Hamlin's

23                     office, and then take it back over to L

24                     Unit, so there would be interaction


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                                                                          Page 95
1                      there.

2                  Q      So who did you hear those details

3     from?

4                  A      The details about her coming over

5     to get the incentive?

6                  Q      Well, you weren't there; right?

7                  A      No.

8                  That happened frequently because Bob

9     Hamlin's patient was transferred to L Unit but he

10    had all the snacks for the incentive program, so

11    she would come over and get the snacks for the

12    incentive program.

13                 Q      So you say it happened frequently

14    that she would come over from L to K to get the

15    snacks; right?

16                 A      Correct.

17                 Q      Were you aware that that was the

18    reason she came on the night they were locked in

19    the office?

20                 A      I assume that would have been the

21    case for it.

22                 Again, her and Bob coordinated those

23    issues.     That would be my assumption she came for

24    that.


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                                                                          Page 96
1                  Q      So in your answer here you were

2     just assuming it?

3                  You hadn't heard a rumor of that from

4     anyone?

5                  A      No.    That would be the only reason

6     she would have been on the unit and in the office.

7                  Q      So that would have been your

8     assumption; right?

9                  A      Right.

10                 Q      But you never heard the details of

11    what you just identified as her coming over to get

12    snacks from any other person?

13                 A      Well, that's what she would do at

14    that time.

15                 I am not sure what you are asking.

16                 Q      Well, my question is -- You are

17    answering a different question.              Let me make it

18    clear.

19                 Did you ever hear any other person tell

20    you the information that you gave the police

21    between Lines 15 and 23?

22                 Who told you that?

23                 A      That she came up for behavior?

24                 Well, that was the plan between her and


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                                                                          Page 97
1     Bob Hamlin for that, for her to come over and do

2     that.

3                  Q      I know.     I have a different

4     question than that.

5                  A      Okay.

6                  Q      Did someone tell you that?

7                  A      Tell me that was why, no.

8                  Q      So no other person ever said that

9     to you.

10                 It was -- You were answering in your

11    assumption, I understand that, but I am interested

12    in knowing if there was a person who related those

13    details to you?

14                 A      That was part of the plan in the

15    morning meeting.        They talked about this when they

16    transferred the patient over and her.                And Bob had

17    an agreement she would come over and get the

18    snacks when he met the goal.

19                 Q      That's my point.

20                 A      I am sorry.

21                 Q      So this plan was discussed at the

22    morning meetings?

23                 A      Yeah.

24                 This is a written plan, when we transfer


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                                                                          Page 98
1     a patient, yes, that plan would continue, yes.

2                  Q      So this was a written plan that

3     Christy would go over the K Unit and pick up

4     the -- the --

5                  A      Yes.

6                  Q      You have to wait until I finish so

7     the reporter can take it down.

8                  A      Right.

9                  Q      So there is a written plan

10    somewhere that Christy would go over to K Unit and

11    pick up the rewards for a patient that was on L

12    that had been formerly on K?

13                 A      I don't know if that part was

14    written.

15                 The incentive plan was written by the

16    psychologist for him to get a reward and when that

17    patient was transferred to L her and Bob

18    negotiated whatever regarding getting the

19    incentive for the individual.

20                 Q      Right.     That's a different

21    question.

22                 The question I am asking is, for Christy

23    to go over to K Unit to pick up the incentives,

24    was that written down somewhere that Christy would


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                                                                          Page 99
 1    be the person who left L Unit to go to K Unit to

 2    pick up those incentives?

 3                  A       That would be a question for her

 4    and Bob.

 5                  Q       Okay.

 6                  A       I don't know because Bob was --

 7                  Q       Yeah, I don't know is a perfectly

 8    legitimate answer.         I am just asking.

 9                  A       Okay.

10                  Q       So you don't know if someone wrote

11    down, Christy will come from L Unit over to K Unit

12    to get the incentives for the patient on L Unit

13    and Bob will keep them in his office?

14                  A       I do not know, no.

15                  Q       Okay.   So do you know who the

16    patient was -- you don't have to give me their

17    name.

18                  I just want to know if you know who the

19    patient was that was transferred from K to L Unit

20    that needed these incentives?

21                  A       I can see him but I can't think of

22    his name.         I do remember him but I can't remember

23    his name off the top of my head.

24                  Q       Do you recall if that was a patient


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                                                                         Page 100
 1    who was swapped so Ben Hurt could stay on K Unit

 2    and this other patient can go to L Unit to balance

 3    out the patient load on the two units?

 4                  A      That's possible.        That's possible.

 5    I am not quite sure but that sounds right.

 6                  Q      Okay.    Now, you are answering here

 7    because they are asking you about the incident.                    I

 8    am only asking you about the incident as well.

 9                  On Line 24 you continue your answer.                If

10    you could read that down from Page 9, Line 24 to

11    Page 10, Line 6?

12                  A      Yes.

13                      There's one time I saw interaction

14                      between the two of them, where she was

15                      outside the door and Ben was in front of

16                      the door.     This time Ben's my case.

17                      So they were talking, and I just assumed

18                      Ben was kind of bothering her because he

19                      no longer was her responsibility.             And

20                      so I said, Ben, you need to leave her

21                      alone so she can continue doing what

22                      she's doing.

23                  Q      Great.

24                  So you actually witnessed a time when


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                                                                         Page 101
 1    Ben and Christy were interacting on K Unit; right?

 2                  A      I was leaving for the day at

 3    4:00 o'clock and she was coming on the unit, my

 4    understanding for the incentive, and Ben was kind

 5    of in her way, and I asked him to kind of step

 6    aside, just let her do what she needed to do.

 7                  Q      Right.     So thank you for

 8    volunteering that.

 9                  My question is, you witnessed it

10    personally?       No one else --

11                  A      Yes, I did.

12                  Q      -- other than you?

13                  A      Yes, I did.

14                  Q      We have to make sure we take turns.

15    I know it's hard.

16                  A      I am sorry.

17                  Q      That's okay.       We are working

18    together.

19                  So my point is, you didn't just hear

20    this from somebody?

21                  You actually observed it and made a

22    comment yourself; right?

23                  A      Yes.

24                  Q      Your comment was:


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                                                                         Page 102
 1                      You need to leave her alone so she can

 2                      continue doing what she is doing.

 3                  Why exactly did you make that comment?

 4                  A      The one thing I know, Ben did say

 5    he wanted to go back to L, did not want to stay on

 6    K.    So at that point I think he was trying to

 7    somehow get some support to go back to L Unit.                    I

 8    don't believe he wanted to work the MISA program,

 9    the substance abuse program.

10                  Q      Sure.

11                  And this incident we are talking about

12    would have been when Ben was your patient;

13    correct?

14                  A      Yes.

15                  Q      So sometime between April and as

16    far out as May 15, for our discussion; right?

17                  A      Let me take that back.

18                  I am not sure if he was my patient then

19    or not.     I didn't say he was there, so I am

20    assuming he probably was my patient.

21                  I do believe he was my patient during

22    that interaction; correct.

23                  Q      Right.

24                  So this particular interaction would


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                                                                         Page 103
 1    have been -- If he was your patient it would have

 2    had to take place between April and May when he

 3    was your patient; right?

 4                  A      That's correct.

 5                  Q      As we go down on Line 10, you

 6    continue your answer you just gave me from Line 7

 7    to Line 13.

 8                  Could you read that to make sure we are

 9    getting it right?

10                  A      Sure.

11                      Now, on Ben's situation -- that might be

12                      confusing as well -- when Ben came to

13                      the MISA program he found out that he

14                      didn't want to do the work.           We're kind

15                      of a substance abuse program.

16                      He wanted to go back to L.           So his

17                      motivation to talk to L staff was high

18                      because he didn't want to stay where he

19                      was at.    He wanted to go back to the L

20                      Unit.

21                  Q      So that was something you concluded

22    yourself; right?

23                  A      No.

24                  Ben told me he wanted to go back and


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                                                                         Page 104
 1    said he didn't want to do the substance abuse

 2    program.      Because we require you to go to so many

 3    groups.     You go to self help meeting.             You do a

 4    relapse prevention plan.            You do what is called

 5    The First Step.        We have very specific things to

 6    do to complete the MISA program.

 7                  Q      So he told you, I don't want to do

 8    the MISA program, when he was your patient?

 9                  A      Yes.

10                  Q      Did you consider whether there were

11    any other motivations that he may have had to go

12    back to L other than the MISA unit?

13                  A      He was Thieming out and didn't

14    really want to do any work.             He just kind of

15    wanted to go into his max state and go home, would

16    be my assumption.

17                  Q      So what I am wondering is, they are

18    asking you questions about the incident on K Unit,

19    where Christy was locked in the office with Ben.

20                  How would it be connected that Ben not

21    wanting to go to the -- through the MISA program

22    and wanting to go back to the L Unit relates to

23    the two of them being locked in the office?

24                  A      You know, it's hard to speculate


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                                                                         Page 105
 1    because of course I wasn't there, but I do know

 2    that Mr. Hamlin was having problems with that lock

 3    on his door and it was reported.               So the lock was

 4    having problems.         So that's why I am sure people

 5    couldn't get in and out of it because Bob got

 6    locked in there a couple times.

 7                  While he was -- Why he was in there,

 8    there should have been no reason why he would have

 9    been in there with her.

10                  I have patients though that try to help

11    out.    So if she asked for help, I guess it's a

12    possibility.

13                  You know, if I am carrying too much

14    stuff I have patients coming up to me asking if I

15    needed stuff or if I needed anything, so it could

16    have been just a helpful gesture.

17                  Q      Which, if that were the case, would

18    make it something that's not so out of the

19    ordinary; right?

20                  A      Correct.

21                  But again, I think it's bad

22    decision-making to have a patient help with you a

23    locked door.

24                  Q      Sure.


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                                                                         Page 106
 1                  But then the police ask you on Line 22

 2    of Page 10:

 3                      Okay.    And was that unusual that they

 4                      were locked in a room together?

 5                  And your answer begins on Line 24 and

 6    goes to the first two lines of Page 11.

 7                  Could you read that?

 8                  A      24:

 9                      Very unusual, very unusual.           Again, this

10                      is just what I heard.         I wasn't there.

11                      Very usual.     We should never have a

12                      patient in our office that has a locked

13                      door.

14                  Q      Okay.    Hold on one second.

15                  So clearly you found it unusual that

16    they would be locked in an office; is that what

17    you meant?

18                  A      Yeah.

19                  We are supposed to have the door

20    unlocked whenever we have a patient come into our

21    office.

22                  But I also was aware his lock was

23    failing him and there's times where he couldn't

24    get it to work either.


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                                                                         Page 107
 1                  Q      Right.     But that's not my question.

 2                  A      Okay.

 3                  Q      My question is, twice in these

 4    three lines you say the words very unusual?

 5                  A      Right.

 6                  Q      So it wasn't something that you

 7    viewed, in your answer at least, as routine

 8    business; right?

 9                  A      Correct.     Because he was not her

10    patient and this was not her unit.

11                  Q      Right.     And I am just curious.

12                  So he was your patient in April to May.

13    Did you ever hear him express or did anyone ever

14    bring up the issue that he wanted to go back to L

15    Unit at a morning meeting perhaps before April?

16                  A      When he said it I brought it up at

17    the meeting.

18                  Q      You did?

19                  A      Yes.

20                  Q      So there was at least some level of

21    communication amongst the morning meeting team

22    that Ben didn't want to be on the MISA unit

23    between April and May; right?

24                  A      Yes.


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                                                                         Page 108
 1                  Q       Now, I am curious, the morning

 2    meetings, would Christy Lenhardt have been present

 3    for those meetings?

 4                  A       Most likely.

 5                  Q       And was Dr. Javed at the morning

 6    meetings?

 7                  A       Most likely, yes.

 8                  Q       And Dr. Kareemi as well?

 9                  A       Yes.

10                  Q       What about Colleen Delaney?

11                  A       Their supervisor, yes, she should

12    have been there.

13                  Q       So there were perhaps as many as 20

14    morning meetings between April and May, a month of

15    meetings.         Perhaps, you know, there's

16    approximately 20 workdays in a month.

17                  How many times do you think you may have

18    brought up that he just doesn't want to do the

19    work on MISA and he wants to go back to L at the

20    morning meetings?

21                  A       I recall bringing it up once but

22    that's all.

23                  Q       What did you say?

24                  A       Pretty much I said that he doesn't


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                                                                         Page 109
 1    want to do the MISA program, would like to come

 2    back to L, because we always have a waiting list

 3    of patients who want to do the MISA program.

 4                  Q      So when you used the words very

 5    unusual, do you find that -- and I don't want to

 6    put words in your mouth -- that unusual triggers

 7    some idea that there is a suspicion that maybe

 8    they shouldn't have been in the office together?

 9                  A      That would be a suspicion I would

10    have, yes, because she is not his patient.

11                  Q      So --

12                  A      Pardon me.

13                  He is not her patient.

14                  Q      Okay.    Good.     Thank you for

15    clarifying that.

16                  So up to this point where -- and I don't

17    know if counsel wants to stipulate to this, I

18    didn't bring these exhibits -- but the incident

19    where Christy and Ben were locked in the office

20    occurred on May 31, 2017.

21                  Are you aware of that?

22                  A      Are you asking if I am aware of

23    that?

24                  Q      Yes.


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                                                                         Page 110
 1                  A      I don't know what the date was, no,

 2    but okay.

 3                         MR. CECALA:      Amanda, is it okay if

 4    we stipulate to that date?

 5                         MS. KOZAR:      Yes.

 6                         MR. CECALA:      It's all over the

 7    records.      Thank you.

 8                         MS. KOZAR:      That's fine.

 9    BY MR. CECALA:

10                  Q      So by the time that Christy was

11    locked in the office, at least one time when he

12    was your patient, you told Ben, Hey, leave her

13    alone, let her do her work.

14                  And what I am wondering is, had you ever

15    had a conversation, while Ben was your patient,

16    with Christy about him being -- you know, her

17    coming over and interacting with Ben?

18                  A      I may have said something in a

19    counseling session with him about he needs to

20    focus on his treatment and get discharged and get

21    out of here but I don't have any specific

22    recollection of that.

23                  Q      Right.

24                  No, my question was, had you -- had


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                                                                         Page 111
 1    you -- during the time that Ben was your patient

 2    mentioned anything to Christy about the fact that,

 3    you know, Ben's interacting with you when you come

 4    over to K Unit?

 5                  A      Would have been just the morning

 6    meeting comment that I said that he wants to come

 7    back to L, that I recall.

 8                  Q      So is that the same as interacting

 9    with Christy, when you are mentioning he wanted to

10    go back to L?

11                  A      Yes.    I don't think I had a

12    specific conversation with her that I remember of

13    him wanting to go back but she would have been in

14    the morning meeting when I brought it up.

15                  Q      So you would have brought it up

16    that he wanted to go back to L, as an indication

17    that there is interaction between he and Christy

18    at the morning meeting, saying, Hey, he wants to

19    go back to L, you know, Christy is interacting

20    with him, we need to get him out of here and do

21    his treatment instead of, you know, him not

22    leaving Christy alone?

23                  Is that sort of the comment?

24                  A      No, not at all.


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                                                                         Page 112
 1                  The comment was that he wanted to go

 2    back to L because he didn't want to work the MISA

 3    program.

 4                  We have a lot of patients that go back

 5    and forth between K and L.            If I go to L Unit

 6    right now there's five or six patients that I had

 7    that would come and talk to me as well.                 So it's

 8    really not out of the ordinary for them to talk to

 9    their past social worker.

10                  Q      Right.

11                  But my question was, had you spoken to

12    Christy about her interacting with Ben.

13                  I think you said, no, while he was your

14    patient?

15                  A      Not that I am aware of, besides the

16    morning meeting, no.

17                  Q      Right.

18                  So it was brought up at the morning

19    meeting, and my question is:

20                  You are talking to Christy with everyone

21    present at the morning meeting about her

22    interaction with Ben?

23                  A      No, I was not.

24                  I was saying he wants to come back to L


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                                                                         Page 113
 1    Unit.     That was the discussion.

 2                  Q      So you never spoke to Christy about

 3    any interactions between her and Ben when he was

 4    your patient?

 5                  A      I don't believe so; not that I

 6    recall.

 7                  Q      But you did tell Ben to leave her

 8    alone; correct?

 9                  A      Yes, I did.

10                  Q      And you did bring this up about him

11    wanting to go back to L while he was your patient,

12    before May 31 when they were locked in the office;

13    right?

14                  A      Yes.

15                  I am not sure when I brought it up but I

16    did bring it up.

17                  Q      And then they were locked in the

18    office, which you found to be very unusual, and is

19    it safe to say suspicious in some way?

20                  A      Well, I don't know suspicious.

21                  I wouldn't see that for myself, having a

22    patient locked in my office, but again, I knew the

23    lock was failing so it could happen.                I don't

24    think it was good judgment to have a patient come


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                                                                         Page 114
 1    and try to fix a lock.

 2                  Q      Just go back to Page 9 for a

 3    second.

 4                  You are answering about telling the

 5    police about the -- you know, locked in the

 6    office, in Bob Hamlin's office with Christy and

 7    the lock failed on Lines 5 and 6?

 8                  A      Yes.

 9                  Q      And then Line 9 you say:

10                      That's the one time I know there was an

11                      involvement there.

12                  What did do you mean by an involvement?

13                  A      They were alone in an office

14    interacting with each other.

15                  Q      That's my point.        Isn't that

16    somewhat suspicious?

17                  A      It would be, in the course of the

18    locked office, but again, I have talked to some of

19    my patients on other units as well, but to be in

20    the office like that, that was a bad choice, in my

21    opinion.      I wouldn't do that.

22                  If I have a patient on my unit that

23    belongs to another social worker I don't usually

24    bring them in my office without having the other


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                                                                         Page 115
 1    social worker involved.           There is too much

 2    potential for splitting.

 3                  Q      What does splitting mean?

 4                  A      That's when one patient tries to

 5    get something -- doesn't get one thing from their

 6    counselor, might try to go to somebody else to get

 7    it, to try to split staff, as it's referred to as.

 8                  Q      So on Page 13, starting on Line 8

 9    the police are asking you:

10                      Now again, the fact -- I mean, the

11                      chance that they would have any type of

12                      interaction -- granted at that point in

13                      time when this thing happened with the

14                      door being locked and them being locked

15                      in this office, they're -- I mean, based

16                      on what you're telling us, is that there

17                      was no legitimate reason for them to

18                      being interacting whatsoever.

19                  Line 15 is your answer.           Could you read

20    your answer?

21                  A      Line 15:

22                      There shouldn't be, no.

23                  Q      He goes on to say:

24                      Because he was no longer a patient of


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                                                                         Page 116
 1                      hers?

 2                  And then your answer?

 3                  A      That is correct.

 4                  Q      So if there is no legitimate reason

 5    for them to be interacting wouldn't them not

 6    merely being -- you know, interacting and talking,

 7    where Ben is bothering her, but then them being

 8    locked in the office together, raise any suspicion

 9    at all?

10                  A      Well, that's what Bob Hamlin, her

11    supervisor, and the administration was to look at

12    in that situation.          Security was there.         They had

13    to post men outside type of thing, so yeah.

14                  Q      So your answer is, yeah, it would

15    raise suspicion?

16                  A      Yep.

17                  Q      So on Page 15, Line 17, the police

18    ask you:

19                      So based on this particular incident --

20                      And I know you indicated that you were

21                      not here --

22                  You answer:

23                      Correct.

24                  A      Yes.


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                                                                         Page 117
 1                  Q      This is what it looks like when

 2    people talk over a recording.

 3                  So he continues his question between

 4    correct.

 5                  -- when this happened?

 6                  So you are not here when this happened?

 7                  A      I was not.

 8                  Sorry.

 9                  Q      That's okay.

10                  You were on medical leave.            We clarified

11    that.     You were not at the facility when the

12    incident in the office happened.

13                  Then he goes on:

14                      But then again taking into consideration

15                      the circumstances, was there any

16                      legitimate reason -- based on your

17                      understanding of him being a patient,

18                      Ben, and Christy as a social worker --

19                      was there any reason whatsoever that you

20                      could have thought of or can think of

21                      even now for them to have interacted on

22                      that day?

23                  Can you read your answer which begins at

24    Line 3 and ends at Line 6?


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                                                                         Page 118
 1                  A      Okay.

 2                      The only thing I can think of, well, for

 3                      him to be in the office like that, no,

 4                      there's no reason that he should be in

 5                      the office of someone that he is not

 6                      working with.

 7                  Q      So the answer there is:

 8                      The only thing I can think of -- Well,

 9                      for him to be in the office like, no.

10                      There's no reason that he should be in

11                      an office of someone that he's not

12                      working with.

13                  And the officer says, Okay.

14                  And then three lines, Lines 8 through

15    10, can you read those?

16                  A      Yes.

17                      Now, is he trying to talk someone into

18                      getting him to go back to that unit?

19                      That could be a possibility.

20                  Q      So is this something that you were

21    concluding for yourself based merely on the fact

22    that he wanted to go back to L Unit; right?

23                  A      Yes.

24                  Q      And the suspicion of them being


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                                                                         Page 119
 1    locked in the office, it never occurred for you

 2    that he may have wanted to go back because he

 3    wanted to be with Christy; did it?

 4                  A      Not in a physical way, no, but as a

 5    social worker they had three and a half years, I

 6    think, together, so they developed a clinical

 7    relationship, but nothing physical.

 8                  And L Unit was a lot easier to

 9    maneuver/manage than the MISA program is on K

10    Unit.

11                  Q      Well, that's not my question.

12                  My question is:

13                  Was this something, based upon your

14    answer, that it wasn't just some other staff he

15    was splitting with.          It was Christy.        You already

16    cautioned him to leave her alone.               You already

17    brought it up at the morning meeting.                Then they

18    are locked in an office.            You said it was very

19    unusual.

20                  And I am trying to understand whether

21    you had any other suspicion of any kind, not just

22    that they were having sex.

23                  Did you have another suspicion based

24    upon all that information that you have already


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                                                                         Page 120
 1    given to the police so far?

 2                  A       Just that he wanted to go back to L

 3    Unit.

 4                          MR. CECALA:     Hold on one second.

 5                              EXAMINATION

 6    BY MR. KRETCHMAR:

 7                  Q       Drew, I have a quick question.

 8                  You said that even as late as April or

 9    May when Ben was your patient he still wanted to

10    go back to L after having been transferred in

11    December; right?

12                  A       Correct.

13                  Q       Why was he kept on K, if he didn't

14    want to be there and there was a waiting list for

15    people who did want to be there?               Why was he kept

16    on K?

17                  I mean, it interfered not only with his

18    treatment but that of other people; right?

19                  A       Correct.

20                  We don't make decisions on who gets to

21    transfer.         We just make recommendations when it

22    comes down it.

23                  He still needed substance abuse

24    treatment so he would have hopefully benefited


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                                                                         Page 121
 1    from staying on K but that wasn't my decision to

 2    make.

 3                  Q      Whose decision was that?

 4                  A      That's usually the administration's

 5    decision.

 6                  Q      Oh, by the way, you say it's

 7    usually the administration's decision.                 Was it the

 8    administration's decision in that instance?

 9                  A      Administration always has to

10    approve any type of transfer.

11                  Why he was he transferred to K wasn't

12    done through me.         That was done through the

13    treatment team talking with the administration.

14                  Q      And why he was not transferred

15    back, is that the same issue though, that's

16    something that administration would have --

17                  Would the administration have said, no,

18    don't transfer him back?

19                  A      They could have in that respect.

20                  But it was just brought up he wanted to

21    go back to L and I brought up we have patients

22    wanting to come onto the K Unit but they decided

23    to keep him there.         They could have been the

24    doctor, nurse administrator or the administration.


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                                                                         Page 122
 1                         MR. KRETCHMAR:       Thank you, Drew.

 2                               EXAMINATION

 3    BY MR. CECALA:

 4                  Q      So at the bottom -- I am looking at

 5    the bottom of Page 19, Line 17 -- the police are

 6    still talking about this incident.

 7                  So the question is:

 8                      In terms of -- because if we ask

 9                      somebody "well, it's because I was

10                      here."   Again, that answers the

11                      question, because again, you are talking

12                      about gathering something for a

13                      different patient -- like Christy is

14                      gathering something for a different

15                      patient.

16                  And you answer:

17                      Off of the unit.

18                  Christy was off of her unit; right?

19                  A      That's correct.

20                  Q      And the police ask:

21                      And here is the patient who is in the

22                      room who shouldn't even be in the room

23                      because he's not even on that plan.

24                  I think he is meaning the incentive


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                                                                         Page 123
 1    plan; right?

 2                  Is that how you interpret it?

 3                  A      Yes.

 4                  Q      You answered:

 5                      Right.

 6                  A      Yes.

 7                  Q      The question is:

 8                      Nor is he even your patient?

 9                  You answer:

10                      Correct.

11                  A      Yes.

12                  Q      Then the police make a statement:

13                      So there's many reasons why he shouldn't

14                      have been there?

15                  You answer:

16                      Uh huh.

17                  A      Uh huh.

18                  Q      So can you think of the reasons

19    that -- So what are the many reasons he shouldn't

20    be in there?

21                  A      Well, of course he doesn't have --

22    He is responsible for -- Another clinical team is

23    working with him.

24                  He is in an office with her, evidently


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                                                                         Page 124
 1    with a failed lock system which means the door was

 2    closed, and that should never happen.

 3                  So those are -- Like you said, he wasn't

 4    part of the incentive program so he had no reason

 5    to be in there.

 6                  Q      Right.

 7                  So it isn't so simple as the lock didn't

 8    work, because if they were working on the lock

 9    they could have locked the door and locked

10    themselves out of the office as well; correct?

11                  A      Right.

12                  Q      In fact, if they were working on

13    the lock, you know, I don't know, just

14    commonsense, I guess.           You know, you're trying to

15    work on a lock.        You might want to have both the

16    doorknob outside and the doorknob inside so you

17    can fiddle with the lock and see how you can make

18    it work; right?

19                  If you close the door you can only work

20    on one of the sides; right?

21                  A      That would make sense.

22                  Q      And not only that, but it wasn't

23    that they were locked out, it was that the door

24    had to have closed.


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                                                                         Page 125
 1                  Somebody closed the door.            It didn't

 2    close by itself; right?

 3                  A       Yes, my understanding, yes.

 4                  Q       So one of the two of them or both

 5    of them had to go in the office and at least one

 6    of them closed the door; right?

 7                  A       Yes, would have had to for it to be

 8    closed.

 9                  Q       And then -- So that seems to

10    raise -- Just sitting here today and commonsense,

11    doesn't that raise additional suspicion about the

12    fact that of all the possibilities and reasons why

13    he shouldn't be in there, that it did occur that

14    they were in fact locked in the office together?

15                  Does that give more suspicion to the

16    situation?

17                  A       Yes, suspicion, as well as poor

18    judgment.         I can't exactly say why she made that

19    decision, but yes.

20                  Q       I will ask you this.

21                  Are you aware that while they were

22    locked in the office both Ben Hurt and Christy

23    Lenhardt admitted that they had sex in the office

24    during that incident when they were locked in?


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                                                                         Page 126
 1                  A      I was not aware of that, no.

 2                  Q      So they had to have been in there

 3    long enough with the door closed, before they

 4    discovered they were locked in, to at least engage

 5    in -- enough time to have had a sexual encounter,

 6    if they are telling the truth about the two of

 7    them having sex together; right?

 8                         MS. KOZAR:      Objection, calls for

 9    speculation.

10                         MR. CECALA:      I will rephrase it.

11    BY MR. CECALA:

12                  Q      So if they walked in the office and

13    they are both telling the truth about having had

14    sex in the office when they were locked in, there

15    had to have been some passage of time between

16    closing the door and discovering that they were

17    locked in?

18                  That's just commonsense; isn't it?

19                  A      That makes sense.

20                  Q      So going beyond the reasons why

21    they shouldn't have been in there, on Line 7 the

22    police say:

23                      As opposed to reasons why he should have

24                      been in there.


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                                                                         Page 127
 1                  So my question is, other than Ben

 2    splitting staff and Christy trying to get some

 3    treats for a patient on her unit, are there any

 4    other reasons he should have been in another

 5    social worker's office on a unit that wasn't

 6    Christy's?

 7                  A      He may have followed her in.

 8                  He may want some of the snacks himself.

 9    You know, when patients see food they respond to

10    that as well.

11                  Q      Sure.

12                  But my question is, are those reasons he

13    should have been in the office or are those just

14    reasons why poor judgment or one of these other

15    excuses for them to have been together -- for them

16    to, you know, have gotten locked in?

17                  What are the reasons he should have been

18    in the office with her?

19                  Are there any?

20                  A      Maybe if there is a clinical

21    question, yeah, to talk to her, because they had

22    such a history together.            They could have been in

23    there asking about how things were going in the

24    program or maybe they were processing something


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                                                                         Page 128
 1    from before clinically.

 2                  Q         Did you ever hear that they were

 3    doing that?

 4                  A         No.

 5                  Q         Did you ever ask if they were doing

 6    that?

 7                  A         No.

 8                  Q         So then your answer here actually

 9    is -- Could You Read it?            It's Lines 8 and 9.

10                  A         Answer:

11                      Yes, I was appalled when I heard about

12                      it.     Again, to me it made no sense.

13                  Q         So if someone is making up a reason

14    they could be in the office together, like maybe

15    there was a clinical reason, maybe he was fixing

16    the lock, maybe he was helping her get the snacks,

17    some other reason?

18                  Is your answer to the police here that

19    those are not really legitimate reasons; right?

20                  A         No.

21                  My answer to the police here was when I

22    found out what was going on between them because

23    they are in a relationship and they are being

24    investigated for it because of that.


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                                                                         Page 129
 1                  Q      So you are not answering that you

 2    were appalled that you heard about them being in

 3    the office?

 4                  A      No.

 5                  I thought that was just bad decision

 6    making.     I didn't think that was related to

 7    relationship at all.

 8                  Q      So when the police asked you about

 9    reasons why he shouldn't have been in there, and

10    then, as opposed to reasons why he should have

11    been in there, you are saying that this answer has

12    nothing to do with them having been locked in the

13    office?

14                  A      No, it does have --

15                  After being examined by the police

16    officers, then the allegations that there was a

17    relationship, that all of a sudden stood out as

18    being a major problem.

19                  Q      I know.     But he is not asking you

20    about that.

21                  He is asking you about the reasons he

22    may or may not have been in the office with

23    Christy and you say:

24                      Yes, I was appalled when I heard about


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                                                                         Page 130
 1                      it.

 2                  Isn't that you were appalled when you

 3    heard about the fact they were locked in the

 4    office?

 5                  A         Again, bad decision-making, yes,

 6    but I had no concept of them having a relationship

 7    and up to this point she is being investigated for

 8    that.

 9                  Q         I understand.    But my question was

10    --

11                  A         I don't think it was --

12                  Q         Let me ask my question.

13                  You say right here to the police, in

14    response to questions about them being locked in

15    the office:

16                      I was appalled when I heard about it.

17                  Isn't if a fair interpretation of your

18    answer to hear that Christy and a patient --

19    regardless of sexual anything that anyone may have

20    known -- that you were appalled to hear that

21    Christy and Ben, a patient, not her patient, were

22    locked in an office?

23                  Isn't that what that answer means?

24                  A         I think that's what it sounds like


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                                                                         Page 131
 1    it means but I believe it has something to do with

 2    the actual allegations at this point in their

 3    relationship.

 4                  Q      So you weren't answering the

 5    question that was asked?

 6                  You were answering a different question?

 7                  A      I think I was saying I was appalled

 8    because of what the allegations were at that time

 9    that he had a relationship.

10                  Q      And saying again to me it made no

11    sense, you weren't talking about them being locked

12    in the office that it made no sense?

13                  A      Yes.    It didn't make any sense that

14    they were locked in the office like that.

15                  Q      So the back part of the question

16    pertains to the office but the first part doesn't?

17                  A      Appalled is pretty strong for me to

18    use.    I believe that was related to the

19    allegations of the sexual involvement.

20                  Q      I mean, it's your answer.           I don't

21    know.     That's why I am asking you.

22                  A      Yeah.

23                  Q      So only the back end of the

24    question pertains to being locked in the office


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                                                                         Page 132
 1    but you weren't appalled to hear that they were

 2    locked in an office together?

 3                  A       I thought that was very poor

 4    judgment.         I think the appalling part was what has

 5    come out because of what happened.

 6                  Q       So did you know about all of the

 7    sexual allegations on September 28 when you were

 8    talking to the police?

 9                  A       Yes.   It started out that way

10    saying it was a sexual relationship with them.

11                  Q       But you just told me you didn't

12    know they were having sex in the office when they

13    were locked in there; right?

14                  A       Correct, I had no idea.

15                  Q       So immediately after that the

16    police in Lines 10 through 14 ask you:

17                      Did you ever have a conversation with

18                      her regarding that?

19                  I think he is referring -- so we are

20    clear -- to the incident when they were locked in

21    the office; right?

22                  Is that what that means to you?

23                  A       Yes, I think so.       Let me read it

24    again it.


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                                                                         Page 133
 1                  Okay.     Yes.

 2                  Q       And then he follows up with:

 3                      I mean, I know you weren't here.

 4                  A       Uh huh.

 5                  Q       Because you weren't there the day

 6    of the locked in the office incident; right?

 7                  A       Right.

 8                  Q       Then it says:

 9                      But Matt and I -- meaning his partner --

10                      we may not see each other on a daily

11                      basis.     But when I do see him I say,

12                      Good morning, how are you doing, how was

13                      your weekend?

14                      Did you ever have a chance to talk to

15                      her about that being that you're a

16                      social worker?

17                          Could you read your answer --

18                  A       Yes.

19                  Q       -- from Line 17 --

20                  A       Yeah.

21                  Q       -- to Line --

22                  A       Yeah.

23                  Q       You can't talk over me.          I have to

24    finish my question; okay.


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                                                                         Page 134
 1                  The court reporter won't actually see

 2    these lines later, unless she takes pictures, but

 3    you have to read from Line 17 on Page 20.

 4    Page 20, Line 17, for the record, to Line 21.

 5                  Can you read that?

 6                  A       Sure.

 7                      Yeah, in the social workers' group I

 8                      would say to her, You don't need to be

 9                      engaging this patient because he's ours.

10                      He's our responsibility."

11                  Q       The last two?

12                  A       Answer:

13                      Because what patients will do is split

14                      staff.   I'm sure you guys understand

15                      that.

16                  Q       Okay.   So what is a social workers'

17    group?

18                  A       It's a supervision group where all

19    the social workers get together and talk and

20    review what's going on.

21                  So the K&L social workers would get

22    together.         We have one now once a week, where we

23    all meet and talk and process cases.

24                  Q       So is there only one social


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                                                                         Page 135
 1    workers' group meeting per week or is it more

 2    frequent?

 3                  A      One per week is usually the

 4    standard.

 5                  Q      So at the social workers' group,

 6    where you told Christy, You don't need to be

 7    engaging this patient because he's ours, he's our

 8    responsibility, who were the social workers that

 9    were at that group?

10                  A      That would have been Bob Hamlin,

11    probably Cara Wueste.

12                  Q      Anyone else?

13                  A      That would have been the -- I think

14    it was just the four of us then.

15                  Q      So to make sure I understand the

16    four.

17                  It would have been you, Bob Hamlin, Cara

18    Wueste and Christy; right?

19                  A      I believe so.

20                  Q      So the social workers' group where

21    you said this to Christy, based upon the police

22    officer's question, this would have been related

23    to the incident of them being locked in the

24    office; right?


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                                                                         Page 136
 1                  A      It could have been that or it could

 2    have been the discussion they had in the hallway,

 3    I don't recall.

 4                  Q      The discussion they had in the

 5    hallway, I am just wondering what incident is

 6    that?

 7                  Is that a new time that they were in the

 8    hallway?

 9                  A      No.

10                  The time where he was talking to her

11    when she was coming in the hallway and I asked him

12    to step back and let him do her job.                It could

13    have been related to that, I don't recall.

14                  Q      So that would have been -- We

15    talked about that.

16                  That would have been a time you were

17    Ben's social worker; right?

18                  A      Possibly, if that's when it

19    occurred.

20                  Q      So if you recall, the office

21    incident happened on May 31, and then I think we

22    showed you a document that said by noon or

23    1:00 p.m. on June 2 you were no longer in the

24    facility.


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                                                                         Page 137
 1                  So was there a social workers' group on

 2    June 1 where you had this conversation with

 3    Christy?

 4                  A      I don't remember, I really don't.

 5                  Q      Well, was it the very next day

 6    after the incident, where you told her, You don't

 7    need to be engaged with the patient, he is our

 8    responsibility?

 9                  A      It could have been.         I don't

10    remember, I really don't.

11                  Q      So just making sure I get clear the

12    timeline when you may have said that.

13                  If you were kind of, I guess, warning

14    Christy, Hey, knock it off, is kind of how this

15    expression sounded -- I don't want to put words in

16    your mouth but -- Christy, knock it off, he is not

17    your patient, he is our patient.

18                  Is it possible that that happened

19    earlier than the incident -- than after the May 31

20    incident, where they were locked in the office?

21                  A      It's possible.       Again, I don't

22    remember when that occurred, I really don't.

23                  Q      And you don't remember if you had

24    a -- on your last day before your leave, if you


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                                                                         Page 138
 1    had a social workers' group meeting on June 1?

 2                  A      I don't recall.        I don't know.

 3                  Q      You mentioned the splitting staff,

 4    and at the bottom of Lines 23 and 24 the officer

 5    is following up.         He says:

 6                      And so he'll want to get something from

 7                      this person or that person type of

 8                      thing --

 9                  Referring to splitting staff; right -- I

10    am sorry, you said that.            I apologize.       Let me get

11    my notes correct.

12                  Lines 20 and 21 you talk about splitting

13    staff.

14                  He just said, Uh huh.

15                  Then you go on to finish Lines 23 and 24

16    which goes onto Page 21.

17                  Could you read Lines 23 and 24 down to

18    Line 7 -- I am sorry -- Line 5 on Page 21?

19                  A      Yes.

20                  Q      Do you understand that?

21                  A      I think so.

22                  Q      Okay.

23                  A      So starting at 23:

24                      And so he'll want to get something from


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                                                                         Page 139
 1                      this person or that person type of

 2                      thing.

 3                      So no, he was my patient.          So everything

 4                      through him should go through me at that

 5                      time, not through anybody else, any

 6                      concerns.     So he should not be

 7                      communicating with her.          He should be

 8                      communicating with any of those issues;

 9                      correct.

10                         Boy that sounds bad.

11                  Q      Right.

12                  A      Pardon me, I said that last

13    sentence wrong.

14                  Q      Right.

15                  So it's:

16                      He should be communicating with me with

17                      any of those concerns; correct?

18                  A      Correct, yes.

19                  Q      So when you earlier referred to the

20    fact that there was something clinically going on,

21    that it was a possibility with Christy and Ben, as

22    an excuse for them to be in the office, you are

23    saying something different here.

24                  Can you clarify why you say here that,


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                                                                         Page 140
 1    He shouldn't be communicating with her.                 He should

 2    be communicating with me with any of those issues?

 3                  A      Well, when he became our patient he

 4    should run his clinical issues through his social

 5    worker.     When I was his social worker for that

 6    month, if there were issues during the process, he

 7    should have run them through me.

 8                  Q      Right.

 9                  So when they were in the office there is

10    no clinical reason for Ben to be talking to

11    Christy at that time; right?

12                  A      There could be a crisis or

13    something going on, but that information then

14    should come back to us in the treatment team the

15    next day.

16                  Q      Did anyone ever tell you there was

17    a crisis when he was locked in the office with

18    her?

19                  A      No.

20                  Q      No.

21                  In fact, they said he was helping with

22    the lock; right?

23                  That wouldn't have been Ben's crisis;

24    would it?


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                                                                         Page 141
 1                  A        Right, it's not his; right.

 2                  Q        Then on Line 6 and 7 the Officer

 3    asks you:

 4                      So in the times you had, let's say with

 5                      a formal meeting -- kind of talking over

 6                      --

 7                      Uh huh.

 8                      -- with --

 9                  And then your answer is on Line 10 and

10    11.    I am not sure I understand his question but

11    could you read your answer on Line 10 and 11?

12                  A        Answer:

13                      I would redirect all the staff.             It's my

14                      patient.    He goes through me.

15                  Q        So when you say you would redirect

16    all the staff, when would you be communicating

17    that to staff?

18                  Was it on an individual basis or would

19    it have been at a morning meeting perhaps?

20                  A        It's a morning meeting

21    traditionally but I could also say the same things

22    to my STA and my nurses, If he has issues coming

23    up, please run them through me.

24                  Q        So those are not necessarily formal


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                                                                         Page 142
 1    meetings that you had with kind of STAs and there

 2    is a bit of an informal communication line with

 3    those people; right?

 4                  A      Correct.

 5                  Q      No less valuable though; right?

 6                  That informal communication between

 7    what's happening on the unit between an STA and a

 8    social worker, it's a very valuable kind of

 9    business communication; right?

10                  A      Yes.

11                  Q      In fact, you get a lot of -- I

12    think one of the people called it intell -- from

13    the STAs about what's happening on the unit that's

14    delivered via STAs to social workers; is that

15    true?

16                  A      They are on the unit 24 hours, so

17    yes, they get a lot of good information.

18                  Q      When you say, Redirect all the

19    staff, did you ever -- Again, you mentioned one

20    time that you mentioned this at a morning meeting

21    about Christy interacting, I guess.

22                  Did you ever -- Is this a different

23    instance where you were redirecting staff to say,

24    It's my patient, he goes through me?


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                                                                         Page 143
 1                  A      That's pretty common for me to say

 2    about my patients.         So when they have issues, as

 3    opposed to staff getting all concerned, I will

 4    tell them, Refer them to me and we will keep

 5    consistent communication.

 6                  Q      Right.     But I am asking

 7    specifically about Ben.

 8                  Was there any other time at a morning

 9    meeting you announced to redirect the staff, Hey,

10    Ben is my patient, everything goes through me?

11                  Did you ever do that?

12                  A      I don't recall doing that, no.

13                  Q      Then on Page 21, Lines 12 and 13,

14    the officer asks:

15                      Did she ever have any type of

16                      professional or personal opinions to

17                      that?

18                      Has she ever commented on anything?

19                  Could you read your answer?

20                  A      Answer:

21                      No, not regarding -- No, I never heard

22                      of ...

23                  Q      He says:

24                      Okay, I mean, that's why I bring it up.


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                                                                         Page 144
 1                  You reaffirm:

 2                      No.

 3                  A         No.

 4                  Q         But then he gives you a better

 5    example.      He says:

 6                      For example, hey listen, I heard -- I

 7                      wasn't here but the other day I heard

 8                      what happened.      Anything to that effect

 9                      in terms of --

10                            And he trails off.

11                  But you give an answer on Lines 21 and

12    22.

13                  Could you read your answer?

14                  A         Answer:

15                      My comment to her was, You shouldn't be

16                      on the unit around this patient.

17                  Q         So you said this to Christy; right?

18                  A         Would appear so, yes.

19                  Q         And Line 23, you say:

20                      I'm straight forward.

21                  Which it appears that's a very straight

22    forward communication.            I mean you're -- I get the

23    impression you are kind of no nonsense about this,

24    which is a good thing; correct?


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                                                                         Page 145
 1                  A      Uh huh, yes.

 2                  Q      So my question is, when exactly did

 3    you say to Christy, You shouldn't be on the unit

 4    around this patient?

 5                  A      I have no idea when I said that.

 6                  Q      Do you recall, just to refresh your

 7    memory, if it was in that window of time when he

 8    was your patient, and you said, He is on my case.

 9    And you told Ben, Hey, beat feet out of here.

10                  Would you have mentioned something at

11    that time like this to Christy?

12                  A      That would be most likely the time

13    I would say that because Ben was my responsibility

14    for that month.

15                  Q      Could it have been before April

16    that you noticed and said something to Christy?

17                  A      I don't think it would have been my

18    issue unless I saw something that was

19    inappropriate.

20                  Q      Well, did you see something

21    inappropriate before April?

22                  A      Before April?

23                  Q      Before Ben was your patient in

24    2017 -- Here, just so we clear the record.


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                                                                         Page 146
 1                  You wouldn't have done it, if he wasn't

 2    your patient, unless you saw something

 3    inappropriate and went to talk to her?

 4                  A      But I would also talk to Bob

 5    Hamlin, her social worker too, if that was the

 6    case, during that time.

 7                  That's something I would say when he is

 8    my patient.

 9                  Q      This is something you would say

10    when he is your patient.

11                  So is it your option that this statement

12    to Christy would have more likely have been during

13    the April-May timeframe when he was your patient?

14                  A      Most likely, yes.

15                  Q      So on Line 24 the police ask you:

16                      How did she respond to you?

17                  And Page 22, Lines 1 through 5, can you

18    read your answer?

19                  A      Answer:

20                      Oh, like that.      Again, I'm not her

21                      supervisor.     So I was -- Like I said, I

22                      was appalled because, coming from a

23                      correctional background as well, would

24                      you be locked in a room with a patient


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                                                                         Page 147
 1                      that's not yours and being a female?

 2                  Q      So again, it's the second time you

 3    use the word appalled.

 4                  Were you referring to them being locked

 5    in a room with a patient?

 6                  A      Yes.

 7                  Q      Hang on one second.

 8                  So now, you just told us that you would

 9    have kind of confronted Christy with the -- You

10    shouldn't be on the unit around this patient.

11                  But it seems like that time was much

12    earlier than the incident that happened in the

13    office, and then you are reporting what her answer

14    was, which looks to be relating to the incident in

15    the office, where you say:

16                      Why would you be locked in a room with a

17                      patient that's not yours and being a

18                      female?

19                  So is that when you remember Christy

20    talking to you about this?

21                  Was it after the Bob Hamlin incident or

22    before?

23                  A      This looks like it was after she

24    was locked in the office with Mr. Hurt.


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                                                                         Page 148
 1                  Q      So you would have talked to Christy

 2    after she was locked in the office and said

 3    something to her; right?

 4                  A      Yes.

 5                  Q      That would have had to have been

 6    sometime on June 1 up to 1:00 p.m. on June 2

 7    because this incident happened on May 31 and you

 8    weren't there; remember?

 9                  You said you had left for the day, so

10    you weren't at work when the incident happened on

11    May 31; right?

12                  A      Right.

13                  Q      So this conversation you had with

14    Christy had to have occurred sometime between the

15    morning of June 1 and 1:00 p.m. on June 2 because

16    you were no longer there for 90 days after

17    June 2nd; correct?

18                  A      Correct.

19                  Q      Do you remember having that

20    conversation with Christy on June 1 about being

21    locked in the office?

22                  A      I do not remember specifically the

23    day of it but that would make the most sense.

24                  Q      And --


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                                                                         Page 149
 1                  A      Because I do remember coming back

 2    to work the next day after that incident, so that

 3    would have been my best guess.

 4                  Q      So right, the day after the

 5    incident would have been June 1, and that's when

 6    the morning meetings would have happened

 7    potentially discussing the incident; right?

 8                  A      Correct.

 9                  Q      Do you recall if it was discussed

10    on the June 1 morning meeting that they were

11    locked in the office?

12                  A      I don't remember it being

13    discussed.

14                  I don't know why it wouldn't have come

15    up though because it was a security issue so it

16    should have been brought up.

17                  Q      If there are security issues like

18    that that are brought up would they be noted in

19    morning meeting minutes?

20                  A      Because security was sent to the

21    unit is my understanding it should have included

22    the morning meeting report but it could have also

23    been in the nursing report, so I am not sure.

24                  Q      Okay.    So when you were recalling


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                                                                          Page 150
 1    what Christy said like, Oh, what did that mean to

 2    you?    You said, Oh, like that.

 3                  I can't see how you were describing the,

 4    Oh, like that.        What did, Oh, like that mean to

 5    you?

 6                  A      Kind of like a disregard to my

 7    comment.

 8                  Q      Right.

 9                  So when you say disregard, kind of like

10    fluffing it off, being dismissive?

11                  A      Yes.

12                  Q      Don't bother me with this?

13                  A      Yeah.

14                  Who are you?       You are not my supervisor.

15                  Q      Oh, okay.

16                  Now, you also say here:

17                      Why would you be locked in a room with a

18                      patient that's not yours and being a

19                      female?

20                  Do you remember saying that to Christy?

21                  A      I don't remember saying that.             It

22    sounds like something I would have said because of

23    my corrections background.

24                  I am sorry.       Did you ask a question?


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                                                                         Page 151
 1                  Q      Yeah, I said, What does that mean

 2    related to your corrections background?

 3                  A      Well, safety and security is a

 4    priority in corrections.

 5                  If you are of course at the hospital,

 6    we're not as secure, but you should not be locked

 7    in a room with somebody, whether it be male to

 8    male or especially female to female, the

 9    vulnerability is much higher.

10                  Q      Do you mean, male to female?

11                  A      Yeah, strength difference, anything

12    can happen along those lines.

13                  Q      Including two people having sex;

14    right?

15                  A      Or someone being forced to have

16    sex.

17                  Q      Rape?

18                  A      Right.

19                  Q      So.   When you read that and say it

20    sounds like something you may have said, obviously

21    you are telling Christy, Stay away from the

22    patient.      You are telling Ben, you know, leave

23    Christy alone.        And then you are specifically

24    saying Christy is a female.


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                                                                         Page 152
 1                  Did it ever occur to you that there may

 2    have been some boundary issue between Christy and

 3    Ben, based upon what you are saying here?

 4                  A      Not to what happened, the physical

 5    relationship that happened, I never saw that

 6    coming at all.

 7                  But again, each social worker handles

 8    their patients differently and some are more

 9    friendly than others and spend more time.

10                  Q      Right.     So is that a boundary

11    issue?

12                  A      It can be or cannot be.

13                  You know, social workers that will come

14    up and touch a patient's shoulder.               For some

15    people that's a boundary issue, for some people

16    it's not.

17                  There was nothing specific I saw

18    boundary violations of.           It just was a situation

19    that looks like the potential for problems can

20    exist.

21                  Q      So male-female being locked in the

22    office, after these two instances of warning Ben

23    stay away from Christy so she can go to work, and

24    warning Christy in the office with a patient, it


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                                                                         Page 153
 1    didn't occur for you at all that there was a

 2    boundary issue, regardless whether you knew or

 3    didn't know they were having sex?

 4                  A      Boundaries are many things.

 5    Sometimes just a friendship is a boundary issue

 6    which can be problematic.

 7                  Q      Right.     That's my point.

 8                  Is there a boundary issue then?

 9                  A      I don't know because I don't know

10    the content of the discussions.

11                  Q      Well, I am not asking you to tell

12    me about the content of their discussions.

13                  These are all things that you directly

14    observed yourself; correct?

15                  This isn't a rumor that you heard from

16    someone else; right?

17                  A      Correct.

18                  Q      So your direct observation of

19    Christy needing to be told, Stay away from Ben,

20    and been Ben being told, Stay away from Christy,

21    and your statement here, which is, Being locked in

22    a room with a patient that's not yours, you being

23    a female, I am asking in that context.

24                  I am not asking you to speculate on what


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                                                                         Page 154
 1    anyone else talked.          This is stuff you saw.

 2                  A      Uh huh.

 3                  Q      Does that to you create the

 4    implication of a boundary issue?

 5                  A      It's hard to answer that, for the

 6    fact that I think some people with really good

 7    hearts do things to help other people, like

 8    patients and that, but they put themselves in

 9    vulnerability.

10                  I get kind of protective.            I have female

11    interns that come here and that and I try to make

12    sure it's always a safe environment.

13                  So yes, it could be a boundary issue.

14    It could be a boundary violation.               But it could

15    just be someone just trying to be good natured.

16                  Q      I mean, doesn't that seem

17    suspicious to you?

18                  A      I have seen her being kind of

19    social with a lot of patients.              That's kind of her

20    style.

21                  Q      You were specifically making

22    mention of the fact that Christy was a female, and

23    there is always, who knows for sure what's going

24    on; right?


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                                                                         Page 155
 1                  A      Right.

 2                  Q      And my question is, you brought it

 3    up.     I am just looking at what was said.

 4                  Isn't it a reasonable suspicion that a

 5    male-female, knowing Christy even, there's too

 6    much interaction between her and Ben, so much so

 7    that you have to mention it to both Christy and

 8    Ben, and then mention it to Christy in the way

 9    that, It's not okay, you are female, being locked

10    in the office?

11                  Doesn't that present a boundary issue

12    suspicion that their relationship is crossing a

13    line?

14                  A      Yes, it's a boundary issue that

15    definitely is presented as a potential problem;

16    correct.

17                  Q      That's all.      It's not an I got you.

18    I just wanted to see --

19                  A      Yeah, I know.

20                  Q      Just commonsense, it looks like a

21    boundary issue.

22                  Is that your viewpoint of it?

23                  A      That's probably how I am looking at

24    it, yes.


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                                                                         Page 156
 1                  It could just be, you know, a flaky

 2    decision being made that was a bad decision, but

 3    yes.

 4                  Q      Right.

 5                  A      I would not recommend that behavior

 6    with any of my interns.           I actually would not

 7    allow any of that behavior with any of my interns.

 8                         MR. CECALA:      We are back for a

 9    little bit.        Randy needs to make a pit-stop.

10                  Do you want to take a five-minute break

11    again and come back?          I think we are good on time.

12                         MR. KRETCHMAR:       It's 2:30.

13                  (Whereupon a recess was had).

14    BY MR. CECALA:

15                  Q      We were just wrapping up this

16    question about the comments on Page 22.

17                  I wasn't going to ask this but I think

18    it's okay.

19                  You know, after your answer about being

20    a female the officer says:

21                      Not only that.

22                  And then you gave an answer from Line 7

23    to Line 14.        Could you read that answer, Drew?

24                  A      Answer:


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                                                                         Page 157
 1                      On my unit where I try to maintain some

 2                      level of stability I hold my guys

 3                      accountable.

 4                      I get interns.      I get nursing students,

 5                      and these guys, just like they would in

 6                      any other type of system, they will push

 7                      up on these girls and try to be tough

 8                      and I hold them very accountable to

 9                      that.

10                      So if my patient is acting

11                      inappropriately we're going to be having

12                      some serious discussions.

13                  Q      I guess the point of me having you

14    read that is just getting the impression from what

15    you told the police and your testimony today,

16    would you characterize your style as kind of --

17    you are like a serious guy -- is that how you

18    would characterize yourself?

19                  A      When it comes to safety issues,

20    yes.

21                  When people -- We have a pretty good

22    unit of guys who work the program to get

23    discharged, to get out, yes.             So I am pretty

24    straightforward.


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                                                                         Page 158
 1                  These guys have done some pretty serious

 2    things and we need to help them to make changes in

 3    their lives, yes.

 4                  Q      When you say, Push up on these

 5    girls, you don't mean physically push up?

 6                  A      No.

 7                  Q      You mean, acting tougher or act in

 8    some way that kind pushes the buttons or the

 9    limits of what's appropriate as a patient;

10    correct?

11                  A      Correct.

12                  And again, a lot of these patients are

13    young guys and these students come in and almost

14    all the nursing students are young girls, as well

15    as social work interns, and just maintaining

16    healthy boundaries and helping them maintain the

17    level of respect that's deserved?

18                  Q      Right.

19                  And again, I mean, you're -- In that

20    sense you're like the -- I don't know.                 Like I

21    said, I don't want to put words in your mouth.

22                  You worked for DOC for four years;

23    right?

24                  A      Yes.


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                                                                         Page 159
 1                  Q      So that's a different environment.

 2    It's probably a bit more oriented towards the --

 3                  These are people that are being

 4    punished; right?

 5                  A      Right.

 6                  Q      And this is -- While it's a

 7    hospital setting, it's still filled with people

 8    who have done something wrong, perhaps even, you

 9    know, violent and psychotic people; right?

10                  A      Right.

11                  Q      So you are there as kind of the --

12    you know, you are the guy in the group, who

13    amongst these girls, that clearly represents maybe

14    someone who is even maybe physically more of a

15    barrier to potentially some type of violent

16    outbreak or something going on in the unit.

17                  If you are there, as opposed to a young

18    female nursing student, who might not be able to

19    defend herself physically, as well as you, your

20    presence on the unit communicates that to the

21    patients; right?

22                  A      I hope so.      Again, I have always

23    believed if there is a healthy structure people

24    can actually make progress and keep moving


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                                                                         Page 160
 1    forward, so yeah.

 2                  Q      Sure.    I am not saying you are

 3    there without compassion and without doing your

 4    job.

 5                  I am saying, you are a guy, and it might

 6    be that, you know, papa bear, if you will, type of

 7    way of being on the unit, so that kind of making

 8    sure that people play by the rules and nobody gets

 9    hurt; right?

10                  A      I hope.

11                  Q      I'm not trying to pressure you.              It

12    is what you are going for; right?

13                  Maybe it's called an added benefit to

14    having a stronger -- physically stronger social

15    worker in the environment; right?

16                  That's a benefit to having you there for

17    that reason; is that how you look at it?

18                  A      Not necessarily.

19                  You would be surprised, sometimes the

20    women do better than the guys, because in a

21    correctional system you have males that are often

22    very aggressive, both staff and inmates.

23                  And in this environment we will have a

24    50, 60 year old female as an STA, who will diffuse


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                                                                         Page 161
 1    the system much better than some guy who is trying

 2    to be all full of testosterone.

 3                  Q      Right.

 4                  A      So surprisingly I have seen that.

 5                  Q      Let me ask this.        I don't want to

 6    go too far afield but I am trying to understand

 7    the culture.

 8                  That might be a cultural scene; right,

 9    where the STAs -- you know, as I know, many of the

10    STAs are minorities and have a good cultural

11    communication line with a lot of patients that are

12    minorities.

13                  Is that true for you as well?

14                  A      Uh huh, I think so, yeah.

15                  I am not going to get into the

16    environmental stuff but we definitely are not a

17    system that thrives on aggression and control

18    because it's about a hospital.

19                  Anyway, I digressed.          I am sorry.

20                  Q      No, that's the point of my question

21    is to find out your viewpoint on the environment

22    you found yourself in, as it might pertain to how

23    it bears upon Christy and Ben as well.                 So that's

24    fine.


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                                                                         Page 162
 1                  I am going to go to the bottom of

 2    Page 22 there is a question.             It starts on Line

 3    18.    The officer says:

 4                      In looking at their treatment and

 5                      looking at why they're here this is

 6                      business and the minute that maybe you

 7                      turn a blind eye maybe you're allowing

 8                      for certain types of behaviors to

 9                      manifest and/or to be presented.

10                  He says:

11                      Right?

12                  Your answer begins on 23.

13                  Can you read from Line 1 to the Line 9

14    on Page 23?

15                  A      Yes.    I said:

16                      Yeah, it's also I think a responsibility

17                      if there's someone violating the rules,

18                      whether it be a facility or through our

19                      national standards that you cannot turn

20                      a blind eye to stuff that's going on.

21                      I mean, I'm probably the one who calls

22                      OIG the most because I -- There is no

23                      gray area.     You don't --

24                      The policy is clear.         If someone tells


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                                                                         Page 163
 1                      you something happened, you call in.

 2                      You don't broker it.         You don't go and

 3                      investigate it.       You call it in.

 4                  Q       Great.

 5                  So I want to ask you about the call it

 6    in part of this, and specifically you say, If

 7    someone tells you something happened you call it

 8    in, you don't broker it.

 9                  What do you mean by, You don't broker

10    it?

11                  A       That was probably a poor choice of

12    words.

13                  You don't investigate it.            You don't put

14    any time into verifying if it was true or not.

15                  You know, I have patients that are

16    delusional and psychotic that will say things and

17    even though they are absurd we have to call it

18    into OIG.         It's not our role to try to interpret

19    what they are saying.

20                  Q       Right.

21                  So now, in terms of the interpretation

22    of what you hear from other people, if they are

23    providing you with information that leads to abuse

24    or might even be abuse -- and I will give you an


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                                                                         Page 164
 1    example.

 2                  One is Patient X gets punched by STA Y.

 3    That would be a direct observation of abuse;

 4    right?

 5                  A      Yes.

 6                  Q      And you would have to call that in?

 7                  A      Yes.

 8                  Q      Now, what if it's a little less

 9    obvious; you are hearing something one time for

10    example -- and I will give a specific example.

11                  For example, if Christy brought a

12    home-cooked meal into her office to give that to

13    Ben, and that happened one time, would that be

14    something that you would call in as violating a

15    patient-social worker boundary issue?

16                  A      Yes, because it's setting up a dual

17    relationship with food and you can get permission

18    to bring food in but it has to be for everybody.

19                  Q      Right.

20                  But if you are giving a home-cooked meal

21    to one patient, even one time, based on your

22    answer here, that's something that needs to be

23    called in to OIG; right?

24                  A      Yes.


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                                                                         Page 165
 1                  Q      What if someone tells you, I saw

 2    Christy bring a home-cooked meal to Ben; is that

 3    something you feel would be -- Now, you have that

 4    information.

 5                  As you said in your answer, someone

 6    tells you something happened, you call it in,

 7    would that be an instance where you would be, for

 8    example, needing to call that in, having heard it?

 9                  A      Yes.

10                  Q      So let's just say that isn't quite

11    so dramatic but -- and I will talk about

12    specifically Christy and Ben.

13                  If Christy is always spending time with

14    Ben maybe she is -- Ben is in her office -- and I

15    will use this expression -- in the hour on the

16    hour, he is there all day, every hour.

17                  If someone saw that and it went on for,

18    say, 20 days, and they reported that to you, is

19    that something that -- that that would be a report

20    to you that you would say, That should be called

21    in?

22                  A      There would have to be some context

23    with that.

24                  Is that something different than what a


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                                                                         Page 166
 1    person does with other patients?

 2                  Is there a specific treatment engagement

 3    plan going on, where someone -- I have had

 4    patients where I meet them at the end of the day

 5    everyday to reinforce their positive behavior.                    So

 6    there has to be some context.

 7                  Now, if I am just spending time with one

 8    patient and not my other ones, yeah, that would be

 9    inappropriate.

10                  Q      Now, what if it was along the lines

11    of, Christy's alone in the office with Ben 20

12    times and the door is locked; is that something

13    you would apply to something happened and you

14    don't investigate it, you call it in?

15                  A      Well, I think we have all made

16    mistakes where the door gets locked, because it's

17    a double locking system, but 20 times in a short

18    period of time, that would definitely look

19    suspicious.

20                  I would maybe say something to their

21    supervisor to investigate it but unless there is

22    something treatment-driven, specific engagement

23    plan incentive or the person is going through some

24    crisis that sounds excessive to me.


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                                                                         Page 167
 1                  Q      Let me ask this:

 2                  Is it ever okay for a social worker to

 3    be locked in an office with a patient?

 4                  A      No.

 5                  Q      So if she was locked in the office

 6    20 times, whether it was over 20 days or 20

 7    months, one time being locked in the office is

 8    something you would call in?

 9                  A      I would say it depends if it's an

10    accident or not, because in that situation there

11    is a locking mechanism problem, so I wouldn't just

12    say call that in, but security was investigating

13    that, as well as Bob Hamlin so...

14                  Q      Right.

15                  No, I am not talking about Bob Hamlin's

16    office.

17                  I am talking about when Ben was

18    Christy's patient, if they were locked in the

19    office together even one time is that something

20    that -- based upon what you said here -- that if

21    someone told you Christy and Ben are locked in the

22    office, not Bob Hamlin's malfunctioning lock

23    office, her office --

24                  A      Yeah.


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                                                                         Page 168
 1                  Q      -- is that something you would call

 2    in?

 3                  A      I would have to have more context

 4    to it.     I don't know if I would specifically call

 5    it in.

 6                  I would definitely talk to the

 7    supervisor to see if there is something going on;

 8    is she just being forgetful about the lock or is

 9    it something deliberate.

10                  Q      So this is an instance where you

11    would investigate it?

12                  A      You definitely want the supervisor

13    to look into what's going on here.

14                  Is this poor training or is this

15    deliberate because at this point there has been no

16    alleged abuse.

17                  Q      It's just a rule violation; right?

18                  A      Correct.

19                  Q      Well, what if it happened ten times

20    over one year, is that something that would rise

21    to a level of suspicion, where you don't want to

22    investigate and the circumstances don't really

23    matter any more?         She is locked in the office.

24    It's now the tenth time, that's it, I am calling


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                                                                         Page 169
 1    it in.

 2                  Would that be a circumstance that you

 3    would do that?

 4                  A      If my suspicion was -- again, I

 5    don't have any facts to back it up -- was that

 6    something inappropriate was going on, yes, most

 7    definitely.

 8                  If it's just not unlocking the door,

 9    that would be more of a rule violation she would

10    have to process with the supervisor of

11    administration.

12                  Q      Well, if she is not locking the

13    door with all of her patients and she is just

14    locking it with Ben, is that enough suspicion to

15    call it in?

16                  A      That would raise some questions to

17    it, yes, that could be called in.

18                  Q      So again, there is the question

19    about Christy on Page 25, Lines 10 through 12.

20                  The officer says:

21                      Uh huh.

22                      In the time that you have been here, how

23                      many years did you work hand in hand

24                      with Christy?


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                                                                         Page 170
 1                  Lines 12 and 13 are your answer.              Could

 2    you read that?

 3                  A      Answer:

 4                      Since I have been on K & L Unit I'd have

 5                      to look specifically.         It's probably six

 6                      to eight years.

 7                  I think it's probably closer to nine

 8    years, as we look back at that though.

 9                  Q      So it's closer to nine years?

10                  A      Eight to nine, I think, yes.

11                  Q      Right.     So in 2017 that would go

12    back to 2008?

13                  A      Yes, I believe that's when I came

14    over to K Unit.

15                  Q      Okay.    And this would have been

16    interactions that -- Because he goes down and he

17    says on Line 16 and 17:

18                      Were you having at least day to day,

19                      week by week interactions with her on a

20                      professional level?

21                  And your answer is:

22                      Treatment team meetings; correct.

23                  So the treatment team meetings you are

24    answering there, is that the morning meetings you


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                                                                         Page 171
 1    are talking about?

 2                  A      Yes, it is.

 3                  Q      So I don't know, I'm not doing the

 4    math off the top of my head easily, but you know,

 5    if it's 5 days a week, 50 weeks over 8 years,

 6    somewhere in the neighborhood of 2,000 morning

 7    meetings that you would have attended, give or

 8    take, days off, daytime sick, somewhere around

 9    2,000 times you were able to have a morning

10    meeting, where you and Christy were in the same

11    meeting that morning; right?

12                  A      Yes.

13                  Q      Was she from your personal

14    observation an emotional person?

15                  A      No.

16                  Q      Did she display her emotions

17    easily?

18                  A      The only time I saw her break down

19    was that incident in 2014 when she was crying.

20                  Emotional person, I am not sure what

21    that means.

22                  Q      Let me clarify for you.           I don't

23    mean emotional, just speculation.

24                  Someone who is displaying emotion,


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                                                                         Page 172
 1    tearing up, essentially -- you know, essentially

 2    displaying how they feel, not able to conceal what

 3    their emotional state is; is she someone like

 4    that?

 5                  A      Not really, no.

 6                  Q      So it would be unusual then over

 7    your interactions for her to show her emotion, if

 8    she wasn't really that way; right?

 9                  To put those on display for everyone to

10    see?

11                  A      Right.

12                  Q      Did you ever see her cry?

13                  A      One time when she came in my office

14    we spoke of before.

15                  Q      You never saw her cry at any other

16    time at a morning meeting or in your work

17    experiences with her?

18                  A      Not that I recall.

19                  Q      If you can recall the morning

20    meeting period between December -- late December

21    of 2016 and early January of 2017, this is the

22    time period immediately after Ben Hurt was

23    transferred from L Unit to K Unit.

24                  Do you recall that timeframe?


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                                                                         Page 173
 1                  A      I am always off the last two weeks

 2    of December.

 3                  Q      So it wouldn't have been until --

 4    So the last two weeks in December, from the 15th

 5    to the 31st exactly, or do you come back --

 6                  A      It could be the 17th to the 3rd.

 7    It depends how the days fall in line.

 8                  Q      Okay.    So you always take those two

 9    weeks off every year?

10                  A      Yes.

11                  Q      So suffice it to say 2016 would not

12    have been an exception to that rule, in your

13    recollection?

14                  A      Not in my recollection, no, that's

15    time that I have with my kids and family.

16                  Q      Okay.

17                  A      And I save my personal days for

18    that time.

19                  Q      So you wouldn't have really seen

20    Christy at any morning meetings then until after

21    the 1st of January, 2017 sometime, which is

22    immediately after Ben was transferred from L to K;

23    right?

24                  A      Right.


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                                                                         Page 174
 1                  Q      When you were there in early

 2    January did you ever notice Christy displaying

 3    emotional -- being emotionally upset at the

 4    morning meetings?

 5                  A      I don't recall any time, no.

 6                  Q      Did you ever see her cry at morning

 7    meeting?

 8                  A      Not that I recall.

 9                  Q      During that time, January of 2017,

10    do you ever recall her voicing an objection to Ben

11    not coming back from K Unit to L Unit?

12                  A      No, I don't recall that, no.

13                  Q      We are down to Page 29.

14                  This is good.       You can still read it

15    right; Drew?

16                  A      I think so, yeah, I am getting a

17    little closer, but yeah.

18                  Q      Okay.    So at the top of the page, I

19    will summarize this, reading quickly:                The officer

20    saying:

21                      We're trying to create a predisposed

22                      notion of what there is and what there

23                      isn't, either it did or it didn't

24                      happen, and the truth and the facts will


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                                                                         Page 175
 1                      obviously stipulate that.

 2                  Now, I think here he is talking about

 3    whether or not Christy and Ben actually had sex?

 4                  A      Okay.

 5                  Q      On Line 5 he says:

 6                      We also have to take into

 7                      consideration -- I think it's also

 8                      important to take into consideration

 9                      professional, again interactions,

10                      perceptions and even then an opinion,

11                      because like you just said, you know, no

12                      one can take away from the fact that you

13                      yourself, based on the allegation, if

14                      it's true, you're appalled.

15                  And you answer:

16                      Yeah.

17                  So he's asking you whether or not you

18    were appalled by the allegation; right?

19                  A      Right.     Appalled that this occurs

20    that someone would be taken advantage of at this

21    level.

22                  Q      So when you say appalled about the

23    allegation, what were you thinking specifically

24    the allegation was -- and I apologize if I am


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                                                                         Page 176
 1    asking you to be a bit graphic -- but what exactly

 2    would make that rise to the level of appalling?

 3                  A      First of all, our patients are in

 4    our custody and they are considered patients and

 5    that's taking abuse or advantage of them.                  It's

 6    abusive to them.

 7                  We have power over them because we are

 8    their caretakers.         We are their clinicians.

 9                  It violates everything within the social

10    work efficacy, the rules, the ethics.                I think

11    it's appalling that someone would actually do

12    that.

13                  In addition, I'm sure -- because it

14    caught me offguard -- it still doesn't make a lot

15    of sense to me why a 50-some year old woman social

16    worker would be involved with someone the age of

17    their own kids.        So that's the combination of

18    things that I really struggle with and it's

19    horrible that it happened.

20                  Q      Right.     But I am asking a different

21    question.

22                  I understand the nature of it that --

23    what you just described but the allegation is what

24    I am interested in finding out about.


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                                                                         Page 177
 1                  A      Yes.

 2                  Q      So what does the allegation mean to

 3    you?

 4                  A      That they had sexual intimate

 5    relations with each other.

 6                  Q      Do you have any idea what kind?

 7                  A      No idea.

 8                  Q      Were you thinking of something when

 9    you were being asked about the allegation and

10    giving these answers as to what kind of sex?

11                  A      Just the idea of regular physical

12    sex.

13                  Q      On Lines 18 and 19 of the same

14    page, 29, we were just talking about this with you

15    and you are kind of going on -- Actually, can you

16    read from 18 to 21?

17                  A      Yes.

18                      It's criminal, it's unethical, it's

19                      illegal.    I don't know where you want me

20                      to start.     It goes against every moral

21                      and value of the Social Workers' Creed,

22                      our ethical standards are.

23                  Q      So that's the other part of the

24    allegation that's appalling; right?


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                                                                         Page 178
 1                  It goes against all these standards;

 2    right?

 3                  A      We work so hard as social workers

 4    to help other people and that is disgraceful but

 5    ...

 6                  Q      Right.

 7                  And the reason I am asking is, this is a

 8    secure psychiatric facility, where patients are

 9    monitored constantly, and then there is the

10    intimate environment of two human beings engaging

11    in sex; right?        Those two things seem to be

12    incongruent.

13                  Do you understand what I am asking by

14    that?

15                  A      Well, they should be mutually

16    exclusive from each other; right?

17                  Is that what you are saying?

18                  Q      Well, yes.

19                  A      It shouldn't happen.

20                  Q      It shouldn't happen.

21                  But in addition somehow -- I apologize,

22    I didn't write this question down very precisely

23    because I am trying to discuss it with you and I

24    don't want to have a discussion.               It's my job to


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                                                                         Page 179
 1    ask questions good questions.             But here is my

 2    question, I guess.

 3                  My analogy, people go to war.             I spent

 4    nine years in the military and it's just an

 5    inhumane place, war.          Nothing about it that's

 6    remotely attractive.          It's war.      It's dirty and

 7    bloody and hard.         And there is the environment of

 8    war.

 9                  And by analogy there is the environment

10    of a secure psychiatric facility, where on any

11    given unit somewhere north of 20 to 25 people who

12    are mentally ill and psychotic are being treated

13    for mental illness, that may have murdered or

14    raped or committed some heinous crime.

15                  That's the environment or am I

16    exaggerating the environment?

17                  A      Well, you are accurate in

18    identifying the crimes that brought them to us.

19                  Unfortunately I don't necessarily see --

20    Most of my patients I see with just lots of trauma

21    and most of them when they are stable are some of

22    the nicest people you will ever meet.

23                  So it's that combination of hospital

24    versus a feeling of a forensic facility that has


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                                                                         Page 180
 1    to have some type of structure for safety.

 2                  I am not sure I am answering your

 3    question.

 4                  Q      No, that's a fair characterization

 5    to begin to answer my question.

 6                  Because I have read through 40, at

 7    least, interviews that the officers also have a

 8    difficult time when it comes to this point in all

 9    the interviews, trying to understand how in a

10    secure psychiatric facility two people found some

11    way to engage in a sexual relationship.

12                  So what I am trying to get at is

13    something similar here, which is, you know,

14    where -- I tried to ask the question another way.

15                  Maybe I will just ask what the police

16    asked on Lines 22 through 24 the officer asks you:

17                      After you have said, Understood, this is

18                      an environment where this is repulsive

19                      to you -- I am using that word it's not

20                      yours.

21                         But on Line 22 he says again:

22                      Based on your interactions with her,

23                      Christy, was there ever a time that you

24                      thought that there was something that


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                                                                         Page 181
 1                      was -- and I don't mean sexual?

 2                  You answer on the top of Page 30:

 3                      Yeah.

 4                      But did you firsthand ever witness --

 5                      And I know, I am not trying to put you

 6                      in a situation where like, "Now, you're

 7                      telling me to say something that, you

 8                      know, if I saw technically I should have

 9                      reported it.

10                      Not so much so because we're here --

11                      We're not trying to get anyone in

12                      trouble.    We are just trying to gather

13                      information pertaining to, again, her

14                      interactions with patients.

15                      Is there anything to validate or

16                      generalize what's being alleged?

17                  And so the question is:

18                      Was there ever a time where you may have

19                      witnessed something, where you just

20                      thought like quote, Wait, what's going

21                      on here?

22                  And you begin your answer at Page 30,

23    Line 14 to 23.        Could you read that?

24                  A      Yes.


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                                                                         Page 182
 1                    Now recounting a patient, there was an

 2                    episode where me and the Nurse Manager

 3                    Colleen Delaney and something happened

 4                    with a conflict with them.

 5                    Ms. Lenhardt had an intern.             Now, we

 6                    have interns as social workers.               If

 7                    you're licensed you have an intern.                And

 8                    eventually --

 9                         sorry, it's a little hard to see.

10                    They were in Ms. Delaney's office and

11                    Ms. Lenhardt was kind of crying, very

12                    emotional about something and her intern

13                    was with her, and this is like a new

14                    intern, a couple weeks in, and I heard

15                    about that.

16                    Well, then Ms. Lenhardt told me

17                    something about -- I think it was some

18                    family problems that she was having and

19                    was upset about that, with her intern

20                    there.

21                    I told her, At this point this is not

22                    appropriate to have your intern be part

23                    of this discussion.

24                    Oh, it's okay, she knows about it.


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                                                                         Page 183
 1                  Do you want me to keep reading?

 2                  Q      Yes.

 3                  A      Okay.

 4                      At that point I spoke with Bob Hamlin,

 5                      the Social Worker 3, and Peggy Gimbel.

 6                      Peggy was in charge of disseminating

 7                      interns and recommended that I don't

 8                      think she should have an intern at this

 9                      point because of how she was responding

10                      at this point.

11                  Q      So this is an instance where

12    Christy was crying about some problems she had at

13    home in this secure psychiatric institution and it

14    went so far as to mentioning it to her supervisor

15    and to Bob and to remove an intern from her, where

16    clearly she was crying about something in front of

17    the intern and for the intern's protection and

18    everyone's the intern was removed; right?

19                  A      Well, that was the recommendation I

20    gave them.

21                  Eventually the intern was removed but I

22    wasn't part of that decision-making.                I was just

23    concerned what she was going through was not

24    appropriate to have an intern go through.


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                                                                         Page 184
 1                  Q      Right.

 2                  But this is an instance where Christy

 3    was crying that you mentioned before?

 4                  A      Right.

 5                  Q      There is an intimacy to Christy

 6    sharing that information even with you, I guess;

 7    right?

 8                  A      Well, she shared it with Colleen

 9    Delaney first and then she ended up in my office.

10    I am not sure if Ms. Delaney referred her to me or

11    not.

12                  Because Bob Hamlin, the Social Worker 3,

13    would be the one that usually would handle this.

14    He also is the EAP guy for the area so that would

15    have been the appropriate person to go to at that

16    time.

17                  So when she came in my office and

18    started telling me the story that is when I said,

19    This is really not appropriate for the intern to

20    be part of this, and she said, She knows the whole

21    story anyway.

22                  Q      Right.     So this was a big deal;

23    wasn't it?

24                  A      To me it was.


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                                                                         Page 185
 1                  Q      The big deal wasn't even involving

 2    a patient; right?

 3                  A      Right.

 4                  Q      So showing that level of emotion is

 5    something that should never be done in front of a

 6    patient; correct?

 7                  A      That's correct.

 8                  Q      Let alone an intern?

 9                  A      I guess theoretically you could be

10    sad when a patient is sad, if they had a loss, and

11    maybe have some tears as a reaction to that, but

12    for the most part over personal stuff, no.

13                  Q      I think later is when you tell the

14    police, Lines 23 and 24 of Page 31:

15                      It's not a good learning experience for

16                      the interns.      It's about the interns at

17                      that point, the experience.           I don't

18                      believe it was patient related.             I

19                      believe it was home related, you know.

20                      But it was just she was getting

21                      overwhelmed which people do.

22                         Right?

23                  A      Yes.

24                  Q      Going to switch to another exhibit


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                                                                         Page 186
 1    and we will come back to this.

 2                  Can you see that one?

 3                  A      Yes.

 4                  Q      Have you seen this before?

 5                  A      Yes.

 6                         MR. CECALA:      It's Exhibit No. 4.

 7                                ( Exhibit 4 marked.)

 8    BY MR. CECALA:

 9                  Q      Do you know what this is?

10                  A      Responses that I had to give

11    regarding questions.

12                  Q      Okay.    And we will go to the last

13    page really quick.

14                  So do you see this Page 8?

15                  It says:

16                      Verification:      I, Andrew Beck, Defendant

17                      in this matter, hereby verify that the

18                      above responses are true and correct to

19                      the best of my knowledge and

20                      recollection.

21                         Signed August 27, 2020.

22                  Is that your signature?

23                  A      Yes.

24                  Q      If you want to, I can show you all


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                                                                         Page 187
 1    of these but I am going to go through a couple of

 2    them.

 3                  So it says Interrogatory No. 24, can you

 4    see that?

 5                  A      Yes.

 6                  Q      So this asks:

 7                      Set forth your past relationship or

 8                      interactions with Christy Lenhardt or

 9                      other dealings or encounters that have

10                      had to do with Christy Lenhardt.

11                  Do you recall answering that and

12    creating this answer that follows?

13                  A      Yes.

14                  Q      So were you friends with Christy?

15                  A      Not particularly, no.

16                  Q      So --

17                  A      You know, social in a facility but

18    not friends.        We didn't do things together.

19                  Q      So you didn't socialize outside of

20    work with her?

21                  A      We had a couple like intern

22    parties, where our interns would be in their last

23    week and we would go out to lunch with them and if

24    she had an intern she would come with.                 There was


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                                                                          Page 188
 1    a couple Christmas parties, I think, where she

 2    attended, but specific with her and me, no.

 3                  Q      Those were all work-related

 4    functions; right?

 5                  A      Right.     Correct.

 6                  Q      You didn't socialize with her in

 7    any way outside of work-related functions or work

 8    itself?

 9                  A      Correct.

10                  Q      So this answer describes the answer

11    you provided to the police and in the answer -- I

12    am going to try to pick out a proper sentence.

13                  It's starting -- Do you see where my

14    curser is, it starts:

15                      Defendant does recall.

16                  A      Yes.

17                  Q      It says:

18                      Defendant does recall an incident in

19                      August of 2014 after which he requested

20                      that his supervisors intervene.             The

21                      incident occurred when Lenhardt showed

22                      up in defendant's office with her

23                      intern.

24                      Lenhardt was crying and very upset.               She


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                                                                         Page 189
 1                    told defendant that her adult son was

 2                    out of control at home and that he had

 3                    thrown cat litter on her bed and

 4                    destroyed property in her home.

 5                    The defendant advised Lenhardt that she

 6                    should not be discussing such

 7                    information in front of her intern.

 8                    Lenhardt responded that it was okay

 9                    because the intern already knew about

10                    the situation.

11                    Defendant recommended that Lenhardt

12                    contact the local police and speak with

13                    her supervisor Robert Hamlin.

14                    Then immediately after this incident

15                    defendant requested a meeting with two

16                    supervising social workers, Robert

17                    Hamlin and Peggy Gimbel, and with

18                    Dr. Joanne Langley.

19                    The meeting took place on August 26,

20                    2014, during which defendant discussed

21                    his opinion that Lenhardt should not be

22                    supervising interns while having

23                    personal issues.

24                    Defendant believes that after this


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                                                                         Page 190
 1                      meeting Lenhardt's intern was reassigned

 2                      to Peggy Gimbel for the completion of

 3                      her internship; however defendant was

 4                      not involved in any decisions regarding

 5                      the reassignment.

 6                  I think that summarizes somewhat what

 7    you already said; right?

 8                  A      Yes.

 9                  Q      How do you know the meeting was

10    August 26, 2014?

11                  A      Because I had the meeting with

12    Ms. Gimbel and Mr. Hamlin.            That was my meeting

13    with them.

14                  Q      No, I understand that's the case.

15                  My question is, how did you specifically

16    recall August 26, 2014 out of all the other

17    possible dates?

18                  A      I found an email.

19                  Q      Oh, you found an email.

20                  So do you have that email?

21                  A      It was sent to my attorney's

22    office.

23                         MR. CECALA:      Amanda, another

24    situation, could we have a copy of the email,


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                                                                         Page 191
 1    redacted, if necessary?

 2                         MS. KOZAR:      Yes.

 3                         MR. CECALA:      I haven't found that

 4    email in any of the ASIs.

 5                         MS. KOZAR:      I will look through and

 6    figure that out.

 7    BY MR. CECALA:

 8                  Q      So here you were able to recall

 9    that because you gave an answer here where you

10    searched records.

11                  Where were you searching your records?

12                  A      Just by emails.

13                  Q      Just your emails?

14                  A      Uh huh.

15                  Q      So you were able to have the

16    untrammeled memory of that date because you were

17    looking at an email that was sent rather than just

18    recalling from the top of your head?

19                  A      Correct.

20                  I had really no idea how long ago that

21    was so I had to go look for it.

22                  Q      Suffice it to say, what you have

23    described in August of 2014 is that Christy was in

24    some type of personal overwhelm; right?


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                                                                         Page 192
 1                  A      Yes.

 2                  Q      And it was clearly something

 3    happening at home, at least according to what she

 4    reported, regarding her son?

 5                  A      Yes.

 6                  Q      I am going to come back here for a

 7    second.

 8                  On Page 33, starting at Line 4 the

 9    officer asks you:

10                      Have you ever heard of any other type of

11                      rumors pertaining to her -- Christy's --

12                      involvement with any other patients,

13                      whether it be, you know, positive,

14                      negative, that would suggest -- and I am

15                      not talking about sexual activity --

16                      just something that was maybe

17                      illegitimate.

18                  Do you recalling him asking that

19    question?

20                  A      Not necessarily, but okay, yes, I

21    can see it.

22                  Q      Okay.    And then from Line 11 to 19

23    could you read your answer?

24                  A      Yes.


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                                                                         Page 193
 1                      She is very good at writing,

 2                      documenting.      She is very passionate

 3                      about her patients, you know.

 4                      But an unhealthy, relationship-wise,

 5                      occasionally you'll have patients

 6                      complain that they want more time with

 7                      their social worker but that's -- I

 8                      don't think that was specific to her.

 9                      We always have patients that want -- Why

10                      don't you give me more time, as much

11                      time as someone else -- so that I guess

12                      could have come up at times.

13                  Q      So the officer's question was

14    asking you to look at things that might not be

15    legitimate about Christy's behavior; correct?

16                  A      Yes.

17                  Q      Never asked you whether she was

18    spending too much time with a particular patient;

19    did he?

20                  A      No.

21                  Q      But when he asked you that, you

22    volunteered that occasionally patients complain

23    because they want more time with their social

24    worker.


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                                                                         Page 194
 1                  Were you talking about Christy having

 2    more time with someone, because then you say, I

 3    don't think it was specific to her?

 4                  Were you talking about Christy though?

 5                  A      Not necessarily.        We get this where

 6    certain patients can monopolize your time because

 7    of their needs and the patients who are trying to

 8    work on their program get upset because they want

 9    more time with you.          So that could be a conflict

10    that can look like it's inappropriate.

11                  But at times, I mean, I have had

12    patients that I need to see three times a day for

13    fifteen minutes because of impulse control

14    problems and sometimes my other patients get kind

15    of jealous of that because they want time with

16    their social worker.

17                  So that's kind of what I was referring

18    to.    So you can't just put a time limit, everyone

19    has like 50 minutes a week, and that's all they

20    get.    It doesn't work that way.

21                  Q      Yeah, I understand that.

22                  But I am wondering why when the officer

23    asked you if something was illegitimate you

24    volunteered that sometimes patients ask for more


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                                                                         Page 195
 1    time with their social workers?

 2                  A      Uh huh.     There could have been more

 3    time together than anybody knew about but I don't

 4    know.

 5                  Q      Well, what did you know?

 6                  A      I didn't know anything about that.

 7    Sometimes patients take more time and maybe no one

 8    noticed, if there was more time taken, based on

 9    the allegations.

10                  Q      So you had no information that

11    Christy was spending considerable amounts of time

12    with Ben that would challenge the legitimacy of

13    her spending time with him when you gave this

14    answer?

15                  A      No.

16                  Q      So you said she is very passionate

17    about her patients, but then you say, but an

18    unhealthy relationship-wise, and you stop there.

19                  Were you thinking of something that was

20    unhealthy about patient-wise, relationship-wise?

21                  A      No.

22                  I was thinking about the word passionate

23    comes off as being romantic.

24                  And in her case she was very passionate


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                                                                         Page 196
 1    about her patients, as in wanting them to

 2    progress.         She wrote very detailed reports about

 3    how well they were doing.            And I don't think I

 4    wanted passionate to be seen as romantic because

 5    that's not what I was trying to say.

 6                  Q       Well, did you think at any time

 7    that Christy was too close to her patients based

 8    upon what you just said?

 9                  A       Too close, as in?

10                  Q       Crossing the boundary of being too

11    intimate or close to a patient?

12                  A       Not too intimate but we all

13    advocate for our patients and sometimes it goes

14    against what other people think.

15                  You know, if I want somebody to get into

16    a workshop ahead of somebody else because I really

17    think he needs the structure, I might advocate for

18    that, even though somebody may not think he will

19    do well in workshops.           So that's the kind of

20    passion I was referring to.

21                  Q       How did you come to understand that

22    information about Christy that she wasn't too

23    close or violating boundaries?

24                  A       Well, how did I come to the


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                                                                         Page 197
 1    conclusion; she wasn't?

 2                  Q      Yeah.

 3                  A      At this point it looks like she was

 4    because that was the allegations the State Police

 5    were investigating.

 6                  Q      Right.

 7                  So by this time in the interview with

 8    the police we have already discussed that you

 9    noticed these interactions between her and Ben a

10    couple of times, you noticed that there is -- at

11    least pointing out there is male-female

12    interactions and I am just wondering --

13                  And then obviously you felt it at least

14    incumbent upon you to mention something to her

15    about the locked in the office incident the day

16    after the incident occurred.

17                  What I am wondering is, whether you were

18    forming an impression while you worked with

19    Christy that she was not necessarily -- to use the

20    officer's word -- legitimately passionate or

21    whether she was crossing a boundary.

22                  Did you formulate that impression at any

23    time while you worked with her?

24                  A      Not while I worked with her.             Until


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                                                                         Page 198
 1    this situation had come up I never would have

 2    thought of this happening.            It just didn't make

 3    sense to me.

 4                  Q      Page 34, Lines 3 and 4 the officer

 5    says:

 6                      It's always a rumor.         It's always an

 7                      allegation up until it actually --

 8                         Doesn't finish the question.

 9                  But could you read your answer which

10    goes from Line 5 to Line 18?

11                  A      Yes.

12                      Usually when something significant

13                      happens on a unit there's multiple

14                      people that know about it, patient-wise

15                      anyway.    It usually comes out.

16                      That was the other shocking thing about

17                      this, is for something like this, if

18                      it's actually true to come out this way

19                      versus other patients knowing about it,

20                      that's unusual just from my experience

21                      working in the system.

22                  Q      Stop right there for a second.

23                  So you had no rumors whatsoever that you

24    heard from anyone about Christy Lenhardt being


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                                                                         Page 199
 1    someone who had boundary issues?

 2                  A      Nothing, no, not like this, not at

 3    all.

 4                  Q      Well, no, not like this.           Here is

 5    the thing.        I know it's important to give the full

 6    answer but I am not asking you to qualify it.

 7                  My question is:

 8                  You never heard a rumor from anyone that

 9    Christy Lenhardt had boundary issues with her

10    patients?

11                  A      Nothing specific, no.

12                  Again, the only thing that I thought was

13    unusual is she would often stay late but I thought

14    that was just for her catching up on her work

15    because she wrote so much that she could never get

16    it done.

17                  Q      Well, was there anything that

18    wasn't specific, other than her staying late, that

19    you may have heard?

20                  A      No.

21                  Q      Nothing other than what we have

22    discussed about telling her to leave Ben -- or

23    telling Ben to leave her alone and cautioning her

24    about, Everything goes through me with my


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                                                                         Page 200
 1    patients?

 2                  Other than that, did you have any

 3    personal observation that might be considered a

 4    boundary issue with Christy Lenhardt and her

 5    patients?

 6                  A      You know, not a boundary issue.

 7                  Again, people do different things.               I

 8    structure my time with my patients.                She was more

 9    going with whatever was going on but that was her

10    style.     That wouldn't work for me.

11                  I didn't see it as a boundary issue.                 I

12    thought as a style issue.

13                  Q      So Colleen Delaney never had a

14    discussion with you about Christy having any

15    boundary issues?

16                  A      Just the issue with the intern was

17    brought to my attention through Colleen Delaney.

18                  Q      Other than that, you had no

19    communication with Colleen Delaney about Christy

20    and boundary issues?

21                  A      Not that I recall.

22                  Q      Did you have any conversations with

23    Diana Hogan about Christy Lenhardt and boundary

24    issues?


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                                                                         Page 201
 1                  A      I don't think I have had more than

 2    two conversations with Diana in my life, so no.

 3                  Q      Now, Dr. Javed is a psychiatrist on

 4    L Unit.

 5                  Did you ever have a conversation with

 6    her about Christy Lenhardt having any boundary

 7    issues?

 8                  A      No, it wasn't my role.

 9                  Q      Did you ever discuss the propensity

10    for Christy to, you know, interact with Ben on K

11    Unit with Dr. Javed?

12                  A      No.

13                  Q      Did you ever discuss Christy having

14    boundary issues with Dr. Kareemi, who was on your

15    unit, K Unit?

16                  A      No.

17                  Q      And did you discuss the

18    interactions between Ben and Christy that we have

19    gone over in your deposition regarding Christy and

20    Ben with Dr. Kareemi?

21                  A      No.

22                  Q      You said if something significant

23    happens on a unit there's multiple people that

24    know about it patient-wise anyway.


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                                                                         Page 202
 1                  It usually comes out; right?

 2                  A      Yes.

 3                  Q      How does it come out?

 4                  A      Usually secrets come out because

 5    eventually someone sees it, you know, and patients

 6    are here 24 hours a day.            They observe everything.

 7    You know, staff are doing face checks 15 or 30

 8    minutes every hour.

 9                  Q      Right.     I didn't ask you about

10    secrets yet.       We are going to get to that.

11                  But I am talking about when something

12    significant happens that's not a secret; right?

13                  A      No, no.

14                  I am just saying if something is

15    happening that no one knows about it usually comes

16    out, yes.

17                  Q      Right.

18                  Well, that's -- My first question was,

19    when something is significant, if it's

20    significant, people saw it; right?

21                  A      Yes.

22                  Q      So when something significant comes

23    out, meaning people saw it, they were

24    eyewitnesses, that comes out; right?


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                                                                         Page 203
 1                  A      Yes.

 2                  Q      It comes out in the form of like

 3    rumors or some other way?

 4                  How does it come out?

 5                  A      There should be documentation.             If

 6    it's a patient specifically, it should be

 7    documented in the patient charts.

 8                  If there is an incident report it should

 9    be completed.        Security does incident reports when

10    they come upon something.

11                  So there should be some documentation if

12    something happens.

13                  Q      That's for the situation where it's

14    significant and there's eyewitnesses; right?

15                  A      Yes.

16                  Q      Now, you started talking about this

17    already, what if something significant happens but

18    it's sort of a secret; right?

19                  Is that also how rumors and information

20    is passed along in the facility?

21                  A      It could be.

22                  Q      Is there another way?

23                  A      Someone usually gets caught.

24                  Q      So when something is going on, your


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                                                                         Page 204
 1    expression that it usually comes out, that's

 2    meaning it comes out after the fact; that there's

 3    no rumors leading up to it?

 4                  No one is talking about the secret

 5    beforehand?

 6                  A      Not with us, no.

 7                  I would guess patients who know stuff

 8    might be talking about stuff.

 9                  Q      And they would never talk about

10    anything with the STAs or the social workers, so

11    those rumors of secret things going on before they

12    are caught are never discussed?

13                  A      I am sure they could be.

14                  Q      Well, I am not asking you to

15    speculate.

16                  Does that happen?

17                  A      It doesn't really happen with me

18    but I am guessing it does happen.

19                  Q      Not with you.

20                  I am asking what you know from your

21    personal knowledge of what you may have heard from

22    other staff, like STAs or social workers or nurses

23    that are talking to patients or from the patients

24    themselves.


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                                                                         Page 205
 1                  A      Well, it's all supposed to be part

 2    of the record.        Any type of information that comes

 3    regarding patients is supposed to be part of

 4    record.

 5                  Q      I am not asking what it's supposed

 6    to be.

 7                  I am asking about your personal

 8    knowledge, receiving information in the rumor

 9    mill, before people get caught, does that happen

10    in your experience?

11                  A      Yes, I guess.

12                  Q      Well, I don't want you to guess.

13                  A      I can't think of an incident, so I

14    don't know.       So I am sure people do rumor and

15    gossip.

16                  Q      So you have never heard a rumor

17    about anyone that later came out after they were

18    caught?

19                  A      Not about patient behavior, staff

20    behavior.

21                  I hear rumors about staff retiring,

22    stuff like that, things like that I hear, but not

23    regarding allegations of abuse or inappropriate

24    behavior.


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                                                                         Page 206
 1                  Q      So my question related to the

 2    rumors where, you know, patient-wise rumors may be

 3    going around and they usually come out; is that

 4    something that the staff pay attention to?

 5                  A      Oh, yes.     They should pay attention

 6    to them, yes, because we have to follow up.

 7                  Q      But you have never heard any in

 8    which the followup would be something that you

 9    would say before they were caught you were

10    following up on a rumor?

11                  A      I mean, if I have a patient come

12    tell me that another patient was selling

13    merchandise on a unit, then I would follow up with

14    that to see if there is something going on there.

15                  Is that what you are referring to?

16                  Q      Any rumor in which you, with your

17    ethical obligations as a social worker, would hear

18    from another person, be it staff or patient, in

19    which the parties in the rumor haven't been caught

20    but is something that you feel the need to follow

21    up on?

22                  A      Well, it would have to be something

23    related to patient abuse or neglect.                So I would

24    of course call that in, even if it's just rumor.


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                                                                         Page 207
 1                  Q      Interrogatory No. 22 asks:

 2                      Did you ever hear any rumor or receive

 3                      any report to the effect that Christy

 4                      Lenhardt had carried on a romantic or

 5                      sexual relationship with a previous

 6                      patient, not currently at EMHC, named

 7

 8                      Identify all persons whom you discussed

 9                      or shared any information or speculation

10                      about this.

11                  Do you remember seeing this question in

12    your interrogatories?

13                  A      Yes.

14                  Q      Understanding your lawyer is

15    putting in -- not waiving your objections -- but

16    we will begin with:

17                      Defendant responds the first time he

18                      heard of such allegations was during the

19                      investigation into Lenhardt's

20                      relationship with plaintiff.

21                  So you are aware of a rumor that Christy

22    Lenhardt had sexual relations with

23                        --

24                  A      No, I was not aware --


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                                                                         Page 208
 1                  Q      -- today, as you sit here today?

 2                  A      Today, yes.

 3                  Q      Okay.

 4                  A      Well, I take that back.

 5                  I didn't know there were sexual

 6    relationships with them.

 7                  Q      Well, the question asks whether you

 8    had heard a rumor whether Christy carried on a

 9    romantic or sexual relationship with

10                  And your answer is:

11                      The first time you heard of such

12                      allegations was during the investigation

13                      into Lenhardt's relationship with

14                      plaintiff.

15                  A      Yes.

16                  Q      My question is, as you sit here

17    today, you are aware of that rumor; right?

18                  A      Yes.

19                  Q      And then the first time you heard

20    of it was during the investigation.

21                  Which investigation were you thinking of

22    when you gave this response?

23                  A      The Lenhardt and Hurt

24    investigation.


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                                                                         Page 209
 1                  Q      Well, who was conducting the

 2    investigation?

 3                  A      The State Police.

 4                  Q      So you heard it during the State

 5    Police investigation from who?

 6                  A      I don't know.

 7                  I would have thought it was brought up

 8    during the investigation of the State Police, if

 9    they would have asked the questions about them,

10    but I don't know specifically when I heard that at

11    that point.

12                  Q      So if the State Police brought it

13    up to you in an interview that's different than a

14    rumor from within the facility.              I guess maybe the

15    question isn't so good.

16                  But are you considering that the State

17    Police were giving you a rumor about a sexual

18    relationship between Christy and

19                  A      I figured they were investigating

20    it.

21                  Q      Right.

22                  But my question is, you only heard that

23    from the State Police and that's what you thought

24    was a rumor?


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                                                                         Page 210
 1                  It wasn't a rumor you heard from a staff

 2    person at the facility?

 3                  A      I don't believe so.         I had no idea

 4    of that.

 5                  Q      Then Question No. 20 asks:

 6                      Did you ever hear any rumor or receive

 7                      any report to the effect that Christy

 8                      Lenhardt had carried on a romantic or

 9                      sexual relationship with a previous

10                      patient not currently at EMHC named

11

12                      Identify persons with whom you have

13                      shared information.

14                  Very similar answer:

15                         Defendant responds:         The first time

16           you heard of an alleged relationship between

17           Lenhardt and someone named                               was

18           during the investigation into Lenhardt's

19           relationship with plaintiff.

20                  Was that the State Police investigation

21    again?

22                  A      Yes, my recollection is yes.

23                  Q      And you never heard any other staff

24    member or any person at EMHC make mention of


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                                                                         Page 211
 1    Christy and                having a sexual relationship?

 2                  A      No, no.

 3                  I don't know where I was when that

 4    incident occurred.

 5                  Q      Do you know who                           was?

 6                  A      A patient is all I heard of.

 7                  Q      Do you know anything significant

 8    about

 9                  A      No.

10                  Q      You never heard he had eloped from

11    EMHC?

12                  A      I did hear that once this

13    information came out that he eloped from EMHC.

14                  Q      Well, is there any other

15    information about                            that you may be

16    aware of?

17                  A      Again, I wasn't even here during

18    that time so I don't know of anything else about

19    him except that he ran away.             Someone said he

20    packed up his stuff and walked out on his passes

21    and left.

22                  Q      Who said that?

23                  A      I don't recall honestly.

24                  Q      Do you remember when you heard some


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                                                                         Page 212
 1    other person say that to you?

 2                  A      No.

 3                  I never even met the man.

 4                  Q      No, I understand, but that's not my

 5    question.

 6                  It would appear that some other person

 7    other than the State Police investigators told you

 8    he packed up his stuff and left.               You don't recall

 9    who that person was.

10                  I am just wondering when you would have

11    gotten that information?

12                  A      It would have been with the State

13    Police is my best memory of that.

14                  Q      Do you know who

15                       is?

16                  A      Yes, I do.

17                  Q      Who is he?

18                  A      A patient.

19                  Q      Is he currently a patient?

20                  A      Not on K or L.       I don't know if he

21    is still here or was discharged or what his status

22    is.

23                  Q      Was he one of your patients?

24                  A      No, he was not.


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                                                                         Page 213
 1                  Q      This is Page 40 of the police

 2    transcript.        At Line 12 the officer is talking

 3    about:

 4                      There has to be, on both ends, I mean,

 5                      there's reciprocation.

 6                      If this is true there's reciprocation.

 7                      Both people are sort of benefiting,

 8                      whether it be fortunate or unfortunate.

 9                      But you know, why would this person even

10                      fess up and start telling everybody else

11                      unless somebody else wants a little bit

12                      of -- a little piece of the pie?

13                  And your answer here goes on line --

14    starts on Line 19 and goes to Page 41, Line 3.

15                  Could you read that?

16                  A      Yes.

17                      Yeah, usually it's about some level of

18                      power or eventually that the power falls

19                      apart.    So then it becomes almost a

20                      push-pull process but that's just -- I

21                      mean, there's a lot of stuff I'm sure

22                      that goes on that we never find out

23                      about it.

24                      But usually the patients have some


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                                                                         Page 214
 1                      knowledge of stuff that's going on.

 2                      They -- You know, they pay attention.

 3                      They watch everything everyone does.

 4                      It's kind of their job.          They're stuck

 5                      on a unit all day.

 6                  Q      So you are referring to power when

 7    you are saying, It's about some level of power and

 8    eventually that power falls apart.

 9                  What do you mean by power?

10                  A      Well, I am using it in terms of

11    working as a sex offender therapist, where usually

12    any type of sexual relationship that's not mutual

13    has some power involvement with it.

14                  In this situation a social worker has

15    more power over the patient because a social

16    worker has information and influence, but when

17    it's all based on that, it's not based on a real

18    relationship.        Things tend to fall apart at some

19    point.     The power is not even any more.

20                  So it's usually basically -- It's from a

21    sexual offender profile of power being used when

22    it comes to those type of relationships.

23                  Q      So when you say the power falls

24    apart somehow, does that mean that they call him a


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                                                                          Page 215
 1    sexual predator and their victim are somehow then

 2    on equal footing when the power falls apart?

 3                  A      Well, the lack of power consistency

 4    causes conflict, is what I am trying to say.                   At

 5    some point it doesn't continue.              The relationship

 6    breaks up.

 7                  The victim tells somebody.            The offender

 8    gets caught because it's not based on a normal

 9    relationship.

10                  Q      Are you aware of whether that

11    happened in the case of Ben and Christy?

12                  A      No, I am not aware.

13                  Q      Are you aware of how Christy was

14    caught?

15                  A      No, I am not.

16                  Q      So you mention that the staff

17    person has the power, at least at the outset of

18    everything, because they are the proverbial -- I

19    don't want to call them the jail keeper -- but

20    clearly there is an institutionalized person and

21    even if it's a hospital setting, the staff have a

22    lot of power over that patient; correct?

23                  A      Correct?

24                  Q      So do you think that the patients


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                                                                         Page 216
 1    generally have any healthy fear of staff?

 2                  A      Yes.

 3                  I know patients, when I do substance

 4    abuse assessments, don't want to tell me about

 5    their history because they are afraid it will be

 6    used against them and make them do more treatment.

 7                  Q      And if they have even done

 8    something inside the facility do they have a

 9    healthy fear of saying what they may have done

10    wrong for fear that it could extend their stay at

11    Elgin?

12                  A      I am sure they do.

13                  Q      Have you ever heard the expression

14    charted?

15                  A      I am assuming that refers to

16    information being put in a chart, if something is

17    charted.

18                  Q      Yeah, I am asking you.

19                  A      Yes.

20                  Q      So that's what it means to you;

21    right?

22                  A      Yes.

23                  Q      Do any patients consider being

24    charted as a way of being perhaps reprimanded or


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                                                                         Page 217
 1    punished for something they have done wrong?

 2                  A      I believe I have heard them say

 3    that, yes, where if somebody has done something

 4    wrong it goes in their chart and that's seen as a

 5    consequence.

 6                  Q      And we talked about this situation

 7    where patients may complain about something.

 8    Obviously they're institutionalized.                They have

 9    been adjudicated mentally ill or unfit to stand

10    trial.

11                  And you believe that complaining is

12    something they may have a healthy fear of for fear

13    of having charted -- being charted for, say, being

14    symptomatic, which could also extend their stay at

15    Elgin?

16                  A      Yes.    I believe that they have fear

17    of that.      They have told me that they have a fear

18    of that.

19                  Q      I understand.

20                  It's not supposed to be a punishment;

21    right?

22                  A      Correct.

23                  And I try to encourage them on that.

24                  Q      But from your experience at Elgin a


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                                                                         Page 218
 1    patient who might be revealing something -- could

 2    even be something rather serious that's going

 3    on -- being charted or having something in their

 4    chart has a -- I am going to use the word --

 5    strong potential as it being used as further

 6    evidence of their mental illness; correct?

 7                  A      It can be.

 8                  I try to encourage my patients, as part

 9    of their recovery to -- Actually part of their

10    responsibility is to tell us when symptoms come

11    back.     That shows their maturity versus hiding it.

12    They tend to become symptomatic in the community

13    then.

14                  But I can see them saying any time they

15    say something about illnesses or symptoms that

16    they are afraid somehow something will hold them

17    back.

18                  Q      What about complaining about the

19    way they have been treated by a staff person; is

20    that also something that can end up in their

21    chart, and if they are wrong or they are

22    delusional is a detrimental report on their

23    ability to be released?

24                  A      I am sure it can be.


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                                                                         Page 219
 1                  I can only speak to what I do with those

 2    type of things because even if I have a paranoid

 3    patient, they believe people are trying to hurt

 4    them, my job is to try to get them to be less

 5    paranoid and help process this to the point that I

 6    will actually bring the staff and patient together

 7    to try to talk about things.

 8                  But I can definitely see that they would

 9    be afraid of complaining too much and somehow it

10    could go against them because they have less

11    power.

12                  Q      Right.     So in fact from the

13    patient's view -- not from your view -- From the

14    patient's view revealing something, even something

15    happening between the patient and staff, the

16    charting mechanism might be a deterrent to them

17    reporting that information; correct?

18                  A      Yes.     I can see that happening,

19    yes.

20                  Q      So we have heard from many

21    witnesses -- well, at least one in particular --

22    that Ben Hurt never reported anything, seemed just

23    fine and stable, never said a word that something

24    may have been going on with Christy Lenhardt or


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                                                                         Page 220
 1    showed any signs of stress.             He was a stable

 2    patient.

 3                  But do you think that what we just

 4    discussed, the possibility of finding out about

 5    his sexual relationship with Christy may have

 6    acted as a deterrent to him telling anyone?

 7                  A      Quite possibly.

 8                  Q      He was due to Thiem out July 22 of

 9    2017 and it appears from the evidence that we have

10    and the testimony Ben and Christy have given us

11    that their sexual relationship started as early as

12    November of 2014.

13                  So from November of 2014 to July 22 of

14    2017 Ben Hurt never mentioned to anybody that he

15    was having sex with Christy Lenhardt.

16                  Do you feel with that information that

17    it may have acted as a deterrent because, you

18    know, he could have been civilly committed or he

19    could have had some consequence?

20                  He could have been sent to Chester?

21                  There could have been any number of

22    things that could have happened to him that do you

23    feel that those consequences I just mentioned may

24    have acted as a deterrent to Ben reporting that


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                                                                         Page 221
 1    information?

 2                  A      Yes, it may have.

 3                  Q      I mean, I don't know if you are

 4    aware of this, but do you know that on June 30,

 5    2017 after a room search of Ben's room that -- Do

 6    you know what evidence was uncovered on that day?

 7                  A      I do not.

 8                  Q      You have never talked to anybody

 9    about the investigation that the State Police

10    started on June 30 and what they uncovered?

11                  A      Well, it's fortunate that I was off

12    at that time.        And when I came back I remember

13    running into chief security, and he would say, do

14    I want to know, and I would say, I don't want to

15    know.

16                  Q      Fair enough.

17                  A      I don't want to.

18                  Q      When a patient is complaining of a

19    reporting, do you feel its important for staff to

20    receive the report about some complaint, potential

21    abuse, and take a really neutral stance on whether

22    it's true or not?

23                  A      Yes.

24                  Q      Do you think that staff might ever


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                                                                         Page 222
 1    cover something up that they may have done wrong

 2    using the status of the patient as mental illness

 3    or diagnosis or symptoms that patients have to

 4    cover up their wrong acts pertaining to

 5    complaints?

 6                  A      I'm sure it's possible.

 7                  Q      Could it even be accidental?

 8                  A      Yeah.

 9                  You know, I have had patients that have

10    spiritual beliefs that look like they are

11    delusional, but actually it's part of their

12    spiritual religion, so yes.

13                  Q      So even with the best of intentions

14    there is this imbalance between observation and

15    the credibility of a patient and a staff member;

16    right?

17                  A      It's all about perception, yes, and

18    we all have our own.

19                         MS. KOZAR:      I just want to make

20    sure we are being mindful of time.

21                         MR. CECALA:      Do you have a lot of

22    questions, Amanda?

23                         MS. KOZAR:      No.

24                         MR. CECALA:      Okay.     We are clearly


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                                                                         Page 223
 1    going to make it well within the time.

 2                         MS. KOZAR:      Okay.

 3                         MR. CECALA:      Okay.     We are nearly

 4    done.

 5                         MS. KOZAR:      Oh, okay, great.

 6                         MR. CECALA:      I have some more

 7    questions about the interrogatories but clearly we

 8    will make it well before 5:00 o'clock.

 9                         MS. KOZAR:      Okay.     Great.

10                         MR. CECALA:      So I am showing you

11    what is Exhibit No. 5.

12                               ( Exhibit 5 marked.)

13    BY MR. CECALA:

14                  Q      Have you ever seen this

15    investigative report?

16                  A      No, I have not.

17                  Q      This is an OIG report.          I will show

18    you Page 2.       It's dated February 11, 2015.

19                  Have you ever seen this?

20                  A      Yes, I know what this is.

21                  Q      Have you seen this report?

22                  A      I have not seen the report, no.

23                  Q      You are aware of what it's

24    regarding; right?


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                                                                         Page 224
 1                  A      Yes.

 2                  Q      So what is it?

 3                  A      A patient, when he was transferred

 4    to another unit, sent a letter, and the letter

 5    ended up coming back around to us around three,

 6    four months later, and of course the letter

 7    indicated that this information was in it.

 8                  This patient was I believe on M or N

 9    Unit.     So when it was investigated he refused to

10    even respond and said it didn't happen.

11                  Now, this patient here has significant

12    sexual trauma abuse from his past, plus some of

13    his trauma has created identity orientation issues

14    for him, and when he gets sick he makes statements

15    along these lines.

16                  So yes, he clearly afterwards was saying

17    that didn't happen.          Nothing like that ever

18    happened.

19                  So yes, I do remember this allegation.

20                  Q      So the allegation here was made on

21    January 14, 2015 and the patient -- It doesn't

22    have a date.       Doesn't say that it came in the form

23    of a letter.

24                  And it says that you, Social Worker


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                                                                         Page 225
 1    Beck, told Patient X to, Suck my dick.

 2                  Now, it doesn't imply that it was sexual

 3    in nature at all.           It could have been, you know,

 4    two guys talking derogatory.             It doesn't really

 5    describe any of the circumstances.               Like, you

 6    know, it could be a joke.

 7                  I spent a lot of time on teams in the

 8    military.         It's not something that I find crazy.

 9    It could have been an offhand remark, I guess.

10                  It doesn't really describe it though;

11    does it?

12                  A       What's the question, I am sorry?

13                  Q       There's no circumstances?

14                  It doesn't describe the circumstances at

15    all; right?

16                  A       No.

17                  Q       There is the synopsis:

18                      OIG attempted to interview Mr. X.

19                      However Mr. X refused to be interviewed.

20                  Do you know who Mr. X was?

21                  A       Yes, I do.

22                  Q       Then it says:

23                      Social Worker Beck said Mr. X had been

24                      diagnosed with schizo-affective bipolar


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                                                                         Page 226
 1                      with cannabis and alcohol dependency.

 2                  Is that information you gave to OIG?

 3                  A      They usually do ask for diagnosis,

 4    yes.

 5                  Q      OIG asked you to give his diagnosis

 6    to them?

 7                  A      Right.

 8                  Q      When you say usually, how do you

 9    know it's usually?

10                  A      My recollection is they usually ask

11    for diagnosis when taking report information.

12                  Q      Isn't that something that would

13    ordinarily be protected by both HIPAA and the

14    Mental Health Act?

15                  A      Not through OIG it's not.

16                  Q      So OIG is allowed to factor in the

17    diagnosis of mental illness in receiving a report?

18                  A      You would have to ask them.            I have

19    never been trained in their department.

20                  Q      Well, it's written on the page?

21                  A      Yeah.

22                  Q      It clearly is part of their

23    synopsis?

24                  A      Uh huh.


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                                                                         Page 227
 1                  Q      So as part of the evaluation, they

 2    mention it.       It would seem to be it's part of the

 3    report to get them to their findings.

 4                  Does that seem true to you?

 5                  A      I am sorry, does what seem true to

 6    me?

 7                  Q      That the diagnosis is part of the

 8    synopsis where they are leading themselves to some

 9    finding; right?

10                  A      Well, it's part of the statement.

11    If it's delusional, it's part of the statement,

12    yeah -- part of the evidence for the statement,

13    yes.

14                  Q      I am not at delusional yet.            I am

15    just at the diagnosis.

16                  A      Okay, yeah.

17                  Q      So the diagnosis is in there, where

18    they are writing up what happened; right?

19                  A      Yes.

20                  Q      So it didn't happen that he is

21    schizo-affective bipolar with cannabis and alcohol

22    dependent when he met you.

23                  That was how he was diagnosed to be

24    NGRI; right?


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                                                                         Page 228
 1                  A      That's the diagnosis he carried

 2    while in our unit, yes.

 3                  Q      Right.     So the day that this would

 4    have happened that's not a diagnosis that you

 5    made; right?

 6                  A      Well, the doctor makes that

 7    diagnosis primarily, yes.

 8                  Q      And you are saying that you recall

 9    that the OIG investigator, looks like Jeanette

10    Hielsberg, asked you what his diagnosis was?

11                  A      Usually we get asked about what

12    their diagnosis is.

13                  Usually cannabis and alcohol dependency

14    wouldn't be relevant to this investigation for

15    this investigation unless I thought he was using.

16                  Q      Right.

17                  Then it says:

18                      Social Worker Beck normally meets with

19                      each individual in his office multiple

20                      times each month.

21                         So did you tell them that?

22                  A      Yes.

23                  Q      So that would be something that

24    would confirm that that's valid that he reported


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                                                                         Page 229
 1    that information; correct?

 2                  A      Yes.

 3                  Q      Then it says:

 4                      Social Worker Beck added that Mr. Blank

 5                      had been sexually assaulted while a

 6                      child and has had delusions of a male

 7                      following him ever since.

 8                  Do you remember telling him that?

 9                  A      Yes -- Well, I don't remember

10    telling him that, but I remember that was one of

11    his ongoing delusions.

12                  Q      Do you disagree with that

13    information?

14                  A      I don't disagree.         That information

15    was added by me.

16                  Q      Why did you add that information?

17                  A      Because he was starting to work --

18    He was starting to have dreams at this time about

19    the abuse and he was having a hard time realizing

20    if it was reality or not.

21                  A lot of my patients, their delusions or

22    sycosis are often related to a trauma incident, so

23    a lot of those topics kind of repeat themselves

24    over and over again.


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                                                                         Page 230
 1                  Q      Then it says:

 2                      In addition, Mr. X had encountered

 3                      issues with other individuals on the

 4                      unit regarding sexual issues.

 5                  A      Yes.     He is struggling with sexual

 6    orientation issues and how he was dressing then;

 7    correct.

 8                  Q      So we are at the bottom of this

 9    synopsis paragraph, where it says:

10                      Social Worker Beck denied that he ever

11                      asked Mr. X or any other individual to

12                      ever suck his dick.

13                  So that would be, you are denying this

14    happened.

15                  And then the findings are obviously:

16                      The allegation of sexual abuse against

17                      Social Worker Andrew Beck is unfounded.

18                  Now, he didn't even show up --

19                  A      Right.

20                  Q      -- for his interview; right?

21                  A      He refused his interview.

22                  Q      Right.

23                  A      They did take me off the unit for

24    three days until that was investigated.


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                                                                         Page 231
 1                  Q      Right.

 2                  A      Just for his safety.

 3                  Q      Right.

 4                  And this was a mere mention that had you

 5    come off the unit for three days, OIG comes down

 6    to interview him, he doesn't show up.

 7                  And I guess my question is, what this

 8    really boils down to is it's your word against

 9    his; isn't it?

10                  A      In this situation it was to some

11    extent.     He did refuse to talk about it with them,

12    and yes.

13                  But it does come down to that because I

14    was willing to talk about it and he wasn't.

15                         MR. KRETCHMAR:       This is Randy.

16                              EXAMINATION

17    BY MR. KRETCHMAR:

18                  Q      Drew, this is the second time

19    when -- just now, when you described this

20    incident, I heard you use the expression, When the

21    patient gets sick.

22                  There was an earlier time during the

23    deposition and I neglected or didn't think to

24    bring it up.


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                                                                          Page 232
 1                  I just want to clarify, when you say the

 2    patient gets sick, you don't mean like he has a

 3    bad cold or the flu or anything; right, like that?

 4                  You mean, he is symptomatic of

 5    delusions?

 6                  A       When a patient's symptoms come back

 7    we usually refer to them as getting sick because a

 8    lot of my patients get very stable and have no

 9    symptoms.         So we often use with them getting sick

10    versus --

11                  It's referring to first person

12    terminology.        We don't like to say, You are a

13    schizophrenic.

14                  We like to say, Sometimes when you get

15    sick, these are the symptoms.

16                  So we are trying to help people

17    integrate back into society without a label.                   So

18    that's how I am using the word sick.

19                  Q       You don't have to use a label

20    schizophrenic or any state of identity in order to

21    say you are getting delusional or you are getting

22    psychotic or, you know, whatever the emotional

23    attachment to the term might be.

24                  You are getting a little crazy.              Hey,


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                                                                         Page 233
 1    you are unreasonable.           There's all kinds of ways

 2    of saying it.

 3                  But I heard you use the expression, You

 4    are sick, twice, and I just wanted to clarify,

 5    that's not like a physical illness; right?

 6                  A      We are not saying it's like a

 7    medical illness with that, even though it's

 8    treated with medication, yes.

 9                  We are not saying it's a bacterial

10    infection like that.          We are just referring to

11    symptoms.

12                         MR. KRETCHMAR:       Okay.     Thanks.

13                              EXAMINATION

14    BY MR. CECALA:

15                  Q      My last question about this report.

16                  You don't know as you sit here today

17    what weight the OIG gave to the information about

18    the diagnosis, the past history of sexual abuse,

19    the issues pertaining to sexual issues with other

20    patients or your observation of that?

21                  You don't know what weight OIG gave to

22    that information; do you?

23                  A      I do not.

24                  Q      You don't know whether OIG gave any


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                                                                         Page 234
 1    weight to the fact that he didn't show up or not;

 2    do you?

 3                  A      I do not.

 4                  Q      And so my earlier question is, it

 5    kind of boils down to your word against his;

 6    right?

 7                  A      I don't know how they determine

 8    these cases.       I have been -- I have never been

 9    trained as an OIG, so if that's what's presented.

10                  Q      Well, he wrote something that said,

11    Mr. Beck told me, Suck my dick.

12                  And you said -- You denied that you ever

13    said that; right?

14                  A      That's correct.

15                  Q      And the complaint was unfounded;

16    right?

17                  A      Yes.

18                  Q      So you are aware that patients made

19    complaints and when -- at least in this situation,

20    it's a staff person against a mentally ill

21    person's word, and he lost; right?

22                  A      Well, I don't know if he lost.             You

23    know, it wasn't founded.            This is about patient

24    safety, not winning or losing.


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                                                                         Page 235
 1                  Q      Sure.

 2                  Don't you think that the entire

 3    situation regarding Ben Hurt was about patient

 4    safety?

 5                  A      It should have been -- or it was,

 6    yeah.

 7                  Q      It was?

 8                  A      Yeah.

 9                  Q      Okay.    I am going to go back really

10    quickly.      I have one last question on the police

11    transcript.        I just want to make sure I don't

12    forget.     This is going to be the last part.                I

13    want to make sure I didn't forget anything.

14                  On Page 44 you had lengthy discussion

15    about line of sight and things like that with the

16    police.

17                  And Line 3 the officer says:

18                      Okay.     Can they close the door as long

19                      as the window -- line of sight?

20                  And your answer?        Could you read the

21    three lines of your answer there?

22                  A      Yes.

23                      Well, they never should.          I don't know

24                      if there's a policy but you never should


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                                                                         Page 236
 1                      be in a room with the door closed with a

 2                      patient, no.

 3                  Q      So you don't go into your patient

 4    meetings with the door closed; do you?

 5                  A      No.

 6                  If we're talking meetings in my office?

 7                  Q      Yes.

 8                  A      A meeting, yes, the meetings in my

 9    office.

10                  This is regarding going into rooms,

11    patient rooms.

12                  Q      Okay.

13                  A      We don't go into patient rooms

14    unless there is another staff with line of sight

15    with us.

16                  But yes, in our office we have to have

17    the doors unlocked and windows have to be open so

18    they can be seen inside.

19                  Q      So there is a difference between

20    the patient room and the social worker office;

21    right?

22                  A      Yes.

23                  Q      So line of sight applies to both

24    though; doesn't it?


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                                                                         Page 237
 1                  A      Yes.

 2                  Q      So you are never allowed in a

 3    patient's room, period, full stop?

 4                  A      You could be if there was a staff

 5    in the hallway looking at you.

 6                  Q      Uh huh.

 7                  A      And you were in the room, so they

 8    could see you and they could see staff.

 9                  Q      Okay.    So a patient's room, you can

10    be in there if there is another staff there with

11    you.

12                  But based on this answer, you should

13    never close the door one on one, patient and staff

14    person, in the room alone; right?

15                  A      Not in the patient's room, no.

16                  Q      Okay.    And then as it pertains to a

17    social worker office, patient and social worker

18    can be in the office with the door closed but

19    unlocked; correct?

20                  A      That's correct.

21                  And for confidentiality reasons the door

22    is closed.

23                  Q      Okay.    And the -- But the door

24    should never be locked; correct?


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                                                                         Page 238
 1                  A      That's correct, when you have a

 2    patient in there; correct.

 3                  Q      And there should always be a line

 4    of sight through the social worker office window

 5    to observe the patient and the social worker in

 6    the office; right?

 7                  A      Yes.

 8                  Q      Okay.    I just wanted to make sure I

 9    didn't miss that.

10                  So the interrogatories, you said you saw

11    these.     You signed them.

12                  In Question 1 we asked you to:

13                      Identify all persons with knowledge of

14                      the facts underlying plaintiff's

15                      complaint and all documents that relate

16                      to such knowledge.

17                  And here you answered:

18                      Robert Hamlin.

19                  So Robert was a fellow social worker on

20    K and L Unit to you; right?

21                  A      He was the late social worker

22    supervisor, yes.

23                  Q      Based upon your knowledge when you

24    answered this, what were you thinking of about


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                                                                         Page 239
 1    Robert Hamlin's knowledge relative to the

 2    complaint?

 3                  A      He was the one involved in the

 4    transfer of Mr. Hurt to K Unit.              He was the one

 5    involved with the incentive plan that was involved

 6    with Ms. Lenhardt.         So it was out of his office

 7    and he established all of this.

 8                  Q      We talked about the office locking

 9    incident.

10                  What about the transfer were you

11    thinking that Robert Hamlin would have information

12    related to the complaint?

13                  A      He would be part of the discussion

14    about patients transferring from K to L Unit.

15                  Q      Right.

16                  But what about that was something that

17    you thought was relevant to the complaint?

18                  A      Oh, I just put down information

19    that he would have.           Maybe I misread the question

20    then.

21                  Q      Okay. Fair enough.

22                  A      He was the supervisor of Lenhardt

23    as well.

24                  Q      I am asking now.        This will make us


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                                                                         Page 240
 1    end faster.       There's later questions about what

 2    did they know and when did they know it.

 3                  A      Okay.

 4                  Q      That's all you know about Robert;

 5    right?

 6                  A      Yes.

 7                  Q      Peggy Gimbel, she was the Social

 8    Work Director at the time you were on K and Ben

 9    was your patient?

10                  A      I believe she was the temporarily

11    assigned directer.          She currently now is the

12    director.

13                  Q      So same question for her:

14                  What were you thinking, if you were,

15    about knowledge she may have had relevant to the

16    complaint?

17                  A      She was part of the meeting that I

18    had with her and Bob Hamlin regarding the intern

19    being taken away.

20                  Q      Is there anything else?

21                  A      Not unless she was involved with --

22    as a supervisor was she involved with anything

23    else, but I don't have any knowledge that she is

24    involved.


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                                                                         Page 241
 1                  Q      Okay.

 2                  A      I think I misread this question.

 3                  Q      No.   It's okay because there's

 4    actually a question later.

 5                  There's a later question that I won't

 6    ask you about because I am asking you now.

 7                  A      Okay.

 8                  Q      So the problem is the later

 9    question says, See Question 1.

10                  So this talks about -- Interrogatory 7

11    and 8 talked about the treatment team,

12    administrative staff for oversight relating to

13    supervisory authority, including the timeline and

14    responsibility of those people and identify

15    persons that were part of the plaintiff's forensic

16    and administrative team during the entire time

17    that the plaintiff was at the facility.

18                  So we are not asking you specific

19    knowledge there but we do ask it here,

20    Interrogatory No. 5:

21                      Provide information -- knowledge of the

22                      basis of any denial of facts of the

23                      complaint, as far as the specific

24                      knowledge each person has.


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                                                                          Page 242
 1                  So the complaint has numbered

 2    paragraphs, so if somebody has knowledge of the

 3    denial, they must have some knowledge of the

 4    complaint, enough to know that there is a denial.

 5                  I am skipping over all of this so we can

 6    go faster.        So I just want to find out about these

 7    people that you specifically wrote down --

 8                  A      Okay.

 9                  Q      -- that they have knowledge.             And

10    it relates to the questions as well.

11                  So I am asking you now, to avoid going

12    through each individual question, who are they,

13    what was their job, what were you thinking about

14    what knowledge they may have?

15                  A      Okay.

16                  Q      So Olga was Ben's teacher.

17                  What knowledge do you think she may have

18    had?

19                  A      She spent a lot of individual time

20    with Ben's teacher, so she would have a much

21    better rapport with him.            I think she worked with

22    him on his GED.

23                  Q      But any information about the

24    complaint?


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                                                                         Page 243
 1                  A      No, no.

 2                  Q      Okay.    Joanne Langley, what was her

 3    post?

 4                  A      She was a supervisor over the

 5    director and she was also involved in that email

 6    that I sent regarding interns not being assigned

 7    to Christy Lenhardt.

 8                  Q      And would that be all the knowledge

 9    she would have regarding the complaint?

10                  A      That I am aware of, yes.

11                  Q      Did you speak with her?

12                  A      Regarding?

13                  Q      About the complaint?

14                  A      Oh, about this complaint?

15                  Q      Yes.

16                  A      No.

17                  Q      And actually the same question for

18    Bob Hamlin:

19                  Have you spoken to him about the

20    complaint?

21                  A      Nope.

22                  Q      Or Peggy Gimbel?

23                  A      Nope.

24                  I had to get permission for this


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                                                                         Page 244
 1    deposition.       It goes past my time.          Only those

 2    type of timekeeping issues.

 3                  Q      I am saying, other than scheduling

 4    your time for your deposition, did you have any

 5    conversations with Bob Hamlin, Peggy Gimbel or

 6    Olga?

 7                  A      No.

 8                  Q      And you already said no to Joanne

 9    Langley?

10                  A      Right.

11                  Q      What about Robert Lee, what were

12    you thinking about the knowledge he might have?

13                  A      He was here for the discharge for

14    him so that was my knowledge with him.

15                  Q      Did you ever speak with him?

16                  A      No.

17                  Q      And then Pat Larson?

18                  A      Psychologist on L Unit during the

19    time Ben was there.           That was my only reason to

20    put that in.

21                  Q      Have you spoken to Pat?

22                  A      No.

23                  Q      And Cara Wueste, what was her post?

24                  A      She was social worker on L Unit


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                                                                         Page 245
 1    during the time Ben was there.

 2                  Q      Why did you include her on this?

 3                  A      Just because she was there at that

 4    time.

 5                  Q      She was where at that time?

 6                  A      On the unit.

 7                  Q      What were you thinking about the

 8    knowledge she might have?

 9                  A      Just that she would have been able

10    to observe more of the interaction between

11    Ms. Lenhardt and Mr. Hurt.

12                  Q      Why do you think that?

13                  A      Because she was a social worker on

14    the unit.

15                  Q      Aren't there other social workers

16    on the unit as well?

17                  A      Those are the two primary social

18    workers on the unit.

19                  Q      So there is no other social worker

20    you felt would have knowledge?

21                  A      Bob Hamlin would be the other

22    social worker.

23                  Q      On L Unit?

24                  A      Correct.     He covered both K and L.


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                                                                         Page 246
 1                  Q      So now the same question, you said

 2    that the named defendants may have knowledge.

 3                  So what knowledge would Dr. Javed have

 4    about the complaint?

 5                  A      She was on the unit for three and a

 6    half years with Mr. Hurt and Ms. Lenhardt so...

 7                  Q      What do you know about her

 8    knowledge?

 9                  A      I don't have any knowledge about

10    her knowledge.        I have had no discussions with her

11    about this.

12                  Q      Okay.    And the same question for

13    Dr. Kareemi:

14                  What knowledge do you know that she has?

15                  A      I don't think she has any knowledge

16    that I have been made aware of.

17                  Q      Did you ever talk to her about

18    this?

19                  A      No, I refused to.

20                  Q      Colleen Delaney, what knowledge are

21    you aware that Colleen has?

22                  A      She was part of the intervention

23    when Ms. Lenhardt had problems with her intern and

24    it was breaking down.


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                                                                         Page 247
 1                  Q      Outside of that you don't think

 2    Colleen Delaney has any other information?

 3                  A      She was a supervisor over L, as

 4    well as K.        Other than that, no.

 5                  Q      Have you ever spoken to Colleen

 6    about this?

 7                  A      No.

 8                  Q      And Diana Hogan, what knowledge

 9    would you think Diana has?

10                  A      I don't think she has none.            At

11    least from my interaction with her there has been

12    none because I have had very little interaction

13    with her.

14                  Q      What interaction was that?

15                  A      I probably had her sign a couple

16    trust fund receipts over the years because we need

17    an administrator to sign stuff.

18                  Q      Did you ever speak with her about

19    the complaint?

20                  A      No.

21                  Q      Now, Interrogatory No. 4 asks:

22                      Provide information with respect to all

23                      persons who defendants and each of them

24                      have communicated with concerning the


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                                                                         Page 248
 1                      complaint or any of the events relating

 2                      to the complaint, both during the time

 3                      period covered by the facts of the

 4                      complaint and at any other time up to

 5                      the date of your answer.

 6                  Your answer was -- I think it was in

 7    August of 2020.

 8                  So you answered here:

 9                  You haven't communicated with anyone

10    regarding the complaint or any events related

11    thereto.

12                  Is that true up to this date?

13                  A      Yes, that's when we were advised by

14    the attorneys.

15                  Q      Right, I am not asking you to tell

16    me what your attorneys told you.

17                  A      Right, no, no discussion.

18                  Q      So you have talked to not a single

19    person from -- From the time period covered in the

20    complaint, which is 2014 to today, you have had

21    not a single conversation about the facts alleged

22    in the complaint?

23                  A      Nope.

24                  Q      With anyone?


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                                                                         Page 249
 1                  A      Nope.

 2                  Q      I don't want you to tell me what

 3    was said, because you already alluded to this, but

 4    we know you talked to your wife?

 5                  A      Right.     Actually she came home and

 6    told me about it.

 7                  Q      Well, that's a conversation.

 8    That's the point.

 9                  A      Yeah.

10                  Q      So that's the only conversation you

11    have had?

12                  A      I can't talk to anybody about it.

13    It's like a big shadow.

14                  Q      I am not asking if you can or can't

15    --

16                  A      No, I have not.

17                  Q      Whether you did.

18                  A      I have not.      I have not.

19                  Q      So in Interrogatory No. 11:

20                      Set forth your past relationship or

21                      interaction with the plaintiff or other

22                      dealings or encounters that have had to

23                      do with the plaintiff.

24                  And here you -- He was your patient in


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                                                                         Page 250
 1    April of 2017 is one of your answers.

 2                  And so it says, Late 2016 and early

 3    2017.

 4                  Were you interacting with Ben during

 5    late 2016 and early 2017 when he wasn't your

 6    patient?

 7                  A      Yes.

 8                  He was in some of the MISA groups that

 9    we brought him to about drug and alcohol use.

10                  Q      He was actually in MISA in 2016

11    before he was transferred to K?

12                  A      No, when he came to K.

13                  Q      Only when he came to K?

14                  A      Right.

15                  Q      So other than MISA groups and the

16    time he was your patient, did you have any other

17    interaction with Ben?

18                  A      Nothing really direct.

19                  I might have had a conversation with him

20    about what movies or what order out was going on

21    or something like that.

22                  Community morning meeting with the

23    patients we talk about sports.              We could have

24    commented during that but nothing of significance.


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                                                                         Page 251
 1                  Q      Well, didn't you have some

 2    interactions that you reported about him not being

 3    on K Unit when he wasn't your patient or observing

 4    him or saying something to him?

 5                  Was it only when he was your patient

 6    that you reported having interaction with Ben?

 7                  A      He made it clear when he got to the

 8    MISA program he didn't want to be there.

 9                  Q      Right.

10                  Was that when he was your patient or

11    before he was your patient?

12                  A      I believe that was before.

13                  Q      And was that directly with you?

14                  A      I believe it was in a group, if I

15    remember correctly.

16                  Q      Do you remember how soon after he

17    was in the MISA program that he reported that?

18                  A      I think it was pretty quickly

19    because he didn't want to do much of the MISA

20    work.

21                  Q      I am wondering here, Interrogatory

22    No. 12:

23                      Describe the detail of events that

24                      specifically led to your first knowledge


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                                                                         Page 252
 1                      or suspicion that the plaintiff was

 2                      engaged in a sexual relationship with

 3                      Christy Lenhardt, including how you came

 4                      by this knowledge or suspicion and all

 5                      persons with whom you shared any

 6                      information or speculation about a

 7                      sexual relationship between the

 8                      plaintiff and Christy Lenhardt.

 9                      Identify and specify the location of

10                      documents, records or other written

11                      information relevant to the events that

12                      led to your first knowledge or suspicion

13                      and describe all information and

14                      identify all documents you prepared to

15                      help report and document this incident.

16                  My first question is:

17                  Do you have any other documents other

18    than the one email you mentioned that you haven't

19    given us yet or identified for us?

20                  A      No.

21                  Q      You have no other documents?

22                  A      No, everything is in the chart.

23                  Q      Okay.    Your answer:

24                      Defendant responds that while he was out


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                                                                         Page 253
 1                      on medical leave beginning May of 2017,

 2                      he heard from EMHC staff of an

 3                      allegation of boundary problems with

 4                      Christy Lenhardt and one of her

 5                      patients.

 6                  So while you were on leave you heard

 7    from someone in May about Christy's boundary

 8    problems.

 9                  Who was that person?

10                  A      It would be my wife.

11                  Q      But I am wondering why you put down

12    May.

13                  You weren't on medical leave in May;

14    were you?

15                  A      That was probably -- That would

16    be -- None of that came out until later on so...

17                  Q      I am sorry, it was why?

18                  A      I think beginning in May is when I

19    left the facility.         It was the 1st of June.

20                  Q      I don't understand.

21                  You didn't go on medical leave until

22    June 1.

23                  A      June 1 but beginning in May of 2017

24    would have been when -- I don't know.                That date


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                                                                         Page 254
 1    doesn't seem right.

 2                  Q      Well, is it pertaining to -- It

 3    says, Beginning in May.

 4                  Clearly you weren't on medical leave in

 5    May?

 6                  A      Right.

 7                  Q      So beginning in May, you heard from

 8    EMHC staff the allegation of boundary problems

 9    with Christy?

10                  A      It would have been June.           That's

11    wrong.

12                  Q      Well, but I am just wondering if

13    there is another staff person in May who told you

14    Christy has boundary problems?

15                  A      No, there wasn't.

16                  Q      So you heard nothing about

17    Christy's boundary problems until after June 2?

18                  A      After the -- I believe when the

19    allegations came through and she was taken off the

20    unit.

21                  Q      She was taken off the unit on June

22    30.

23                  A      So it was after that time.

24                  Q      It was after that time?


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                                                                         Page 255
 1                  A      Yes.

 2                  Q      Between the time she was locked in

 3    the office -- and June 1, I guess, is when you

 4    have would have had your conversation with

 5    Christy -- and June 30, you had no other

 6    communications or anything about Christy Lenhardt?

 7                  A      Yes; correct.

 8                  Q      Or Ben Hurt?

 9                  A      Correct.

10                  Q      Because I just want to be clear

11    about this.        You then said:

12                      Defendant later heard that Lenhardt was

13                      escorted off the EMHC unit where she

14                      worked and that an investigation was

15                      being conducted.

16                  So it seems like the boundary issues

17    does occur, the boundary problem information does

18    occur in May, and then you later heard about the

19    investigation starting June 30.

20                  Is that true?

21                  A      That's not true.

22                  I heard about the boundary issues.               I

23    didn't think that there was anything significant

24    or serious about it.


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                                                                         Page 256
 1                  And later I heard she was walked off the

 2    unit and there was allegations of a sexual

 3    relationship.

 4                  Q      Right.

 5                  So earlier you heard about boundary

 6    problems with Christy; right?

 7                  A      Yes, whenever it was addressed with

 8    staff, yeah.

 9                  Q      So when was that?

10                  A      I don't know because I was at home.

11    I don't know specifically but it was after it

12    happened, after it was --

13                  Q      After what happened?

14                  A      After whatever procedure where she

15    was taken off the unit.

16                  Q      So you are saying that the first

17    sentence which says:

18                      Defendant responds while he was out on

19                      medical leave beginning in May he heard

20                      from the EMHC staff of an allegation of

21                      boundary problems with Christy Lenhardt

22                      and one of her patients.

23                  That that's actually not true and it was

24    after June 30?


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                                                                         Page 257
 1                  A      It was after the medical leave.              I

 2    was done in May.         I think I was thinking that's

 3    what it was.

 4                  But it wasn't until the allegations

 5    until whatever situation happened here in the

 6    facility that I heard about it.

 7                  Q      Right.

 8                  So that's after June 30?

 9                  A      Correct.

10                  Q      So you heard nothing in May and

11    nothing in June from anybody about the Christy

12    Lenhardt's boundary issues?

13                  A      No.

14                  Q      So again, here in Interrogatory No.

15    14, we are asking you about the incident where

16    Christy and Ben were locked in the office.                  That

17    happened on May 31.

18                      Describe all the information and

19                      identify all documents prepared to help

20                      report and document the incident.

21                  Did you prepare any information to

22    document the incident?

23                  A      No, I did not.

24                  Q      Did you do anything to report about


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                                                                         Page 258
 1    the incident?

 2                  A      That was already taken care of by

 3    the Chief of Security, MOD was involved, Bob

 4    Hamlin was involved.

 5                  Q      Right.

 6                  Then you say you were informed during

 7    the morning meeting 8:30 a.m. the next day that

 8    they had been stuck in Hamlin's office.

 9                  You were told that Lenhardt stated that

10    plaintiff was in the office attempting to fix the

11    door lock when the door failed to open.

12                  And I just want to be clear, who told

13    you that?

14                  A      It was brought up in the morning

15    meeting, so whoever reported it.

16                  It could have been a nurse reporting it

17    because they report the last 24-hour shift

18    changes.

19                  Q      Okay.    And when you say the EMHC

20    staff reported the incident occurred on second

21    shift after 4:00 p.m., are you talking about the

22    staff in the morning meeting?

23                  A      Yeah, the nurse comes in the

24    morning and gives report.


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                                                                         Page 259
 1                  Q      You don't recall who that person

 2    was; right?

 3                  A      No idea.

 4                  Q      Just so I am clear here, we asked

 5    you about documents you prepared to report and

 6    document the incident but you did have a

 7    conversation the next day with Christy.

 8                  Did you ever write anything down about

 9    your conversation with Christy on June 1?

10                  A      No.

11                  Q      The last part of the Interrogatory

12    No. 11, when we were talking about your

13    relationship with Ben, and you say you were his

14    social worker in April, 2017 for about a month;

15    right?

16                  A      Correct.

17                  Q      The case was transferred from Bob

18    Hamlin.     And it says:

19                      Until he began medical leave in May of

20                      2017.

21                  Again, it's the second time you

22    mentioned that you started your medical leave in

23    May of 2017; correct?

24                  A      Yeah.


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                                                                         Page 260
 1                  My recollection is that I think my

 2    procedure was supposed to be at the end of May and

 3    they moved it to the first week of June.                 So

 4    that's -- But I ended in -- May was the last month

 5    I was there.

 6                  But I guess since I was there on June 1

 7    it really wasn't the last month I was there.

 8                  Q      All right.      So you didn't begin

 9    medical leave in May; right?

10                  A      Looks like it was June.

11                  Q      A couple more questions and then we

12    are going to wrap up.

13                  Just really quickly, do you socialize

14    with Dr. Javed outside of work social functions?

15                  A      No.

16                  Q      Do you socialize with Dr. Kareemi

17    outside of work social functions?

18                  A      No.

19                  Q      And do you socialize with Colleen

20    Delaney outside of work and social functions at

21    work?

22                  A      No.

23                  Q      And how about Diana Hogan, same

24    question?


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                                                                         Page 261
 1                  A      No.

 2                         MR. CECALA:      Hold on one second.

 3                         MR. KRETCHMAR:       Quick

 4    clarification, Drew.          This is Randy speaking.

 5                                EXAMINATION

 6    BY MR. KRETCHMAR:

 7                  Q      When Joe was asking you about the

 8    reason you listed different people as individuals

 9    who might have some information, he asked you

10    about Bob Hamlin, and you said that Bob was

11    involved in the transfer.

12                  I don't know that I got all of your

13    answer on that and I heard it correctly.

14                  Which transfer were you speaking of?

15                  A      Bob would have been part of the

16    transfer from L to K Unit.

17                  Q      Which was in December of 2016;

18    right?

19                  A      Yes.

20                  Q      Who else was involved in that

21    transfer?

22                  I take it you were not?

23                  A      I was not.

24                  It would have been probably both


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                                                                         Page 262
 1    Dr. Javed and Dr. Kareemi, I am guessing.

 2                  But I wasn't there.         That's usually what

 3    happens.      And administration would also have to

 4    approve it.

 5                  Q      And when you say administration, is

 6    that a surname?

 7                  Who is administration?

 8                  A      At that point then I am guessing

 9    Jeff Pharis but I am not sure.

10                  Q      So it would have been one

11    individual; right?

12                  A      Yes.

13                  Q      Is there --

14                  A      Are you talking about the

15    administration would have been one individual?

16                  Q      Yes.

17                  You said the administration would have

18    been involved, in addition to Kareemi and Javed.

19                  And out of curiosity, is there a reason

20    you would say Administration instead of the

21    person's name?

22                  A      It's possible Jeff could have been

23    on vacation and someone else could have filled in

24    for him.      You know, Dr. Langley might have been


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                                                                         Page 263
 1    responsible for it.

 2                         MR. CECALA:      Just a couple more and

 3    we are going to be done.

 4                               EXAMINATION

 5    BY MR. CECALA:

 6                  Q      I asked you earlier what your

 7    awareness of the evidence that was recovered on

 8    June 30 when Christy left the building and Ben was

 9    put on restriction of rights.

10                  Are you aware of the evidence that was

11    discovered that day?

12                  A      No, I am not.

13                  Q      You have no knowledge of the fact

14    that an audio recording of Ben Hurt and Christy

15    Lenhardt engaged -- where Christy is performing

16    oral sex on Ben Hurt was recovered?

17                  A      No, first time hearing that.

18                  Q      And do you have any information or

19    are you aware that -- Well, Ben Hurt at least

20    alleges for almost two years Christy Lenhardt

21    performed oral sex on him in her social worker

22    office three to four times a week for nearly two

23    years?

24                  A      No.


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                                                                         Page 264
 1                  Q      You never heard that anywhere?

 2                  A      Nope, never heard that.

 3                  Q      Are you aware there was another

 4    audio recording recovered from Ben's room where

 5    Christy Lenhardt admitted to helping

 6                who I believe was UST for pedophilia,

 7    where she actually detailed how she helped him

 8    escape from the facility?

 9                  Do you know that that was on an audio

10    recording?

11                  A      No, I do not.

12                  Q      Did you know she also recounted how

13    she went to visit him in Europe and they --

14    actually to another witness -- that she actually

15    traveled to Europe to visit him while he was an

16    escaped fugitive?

17                  A      No.

18                  Jesus is that the -- No, nevermind.

19                  Q      It's on an audio recording.

20                  A      So it's not just alleged, it

21    actually -- wow.

22                  Q      Christy has admitted to this.             It's

23    documented in Ben's journal.

24                  Are you aware that Ben was keeping a


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                                                                         Page 265
 1    journal --

 2                  A      No.

 3                  Q      -- with a narrative of all of these

 4    details?

 5                  A      No.

 6                  Q      Are you aware that Christy also

 7    admitted in the audio recording to having a sexual

 8    relationship with                            while he was a

 9    patient at Elgin?

10                  A      No.

11                  Q      And as well on the audio recording

12    she admitted to having a sexual relationship with

13                                  while he was a patient at

14    Elgin?

15                  A      No.

16                  Q      You are aware that there is another

17    case that we filed alleging sexual misconduct, at

18    least an attempt to seduce Mark Owens by Christy

19    Lenhardt.

20                  Are you aware of that complaint?

21                  A      I heard about that complaint, yes.

22                  Q      Do you know who Mark Owens is?

23                  A      Yes.

24                  Q      Do you have any information about


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                                                                         Page 266
 1    Mark Owens and Christy Lenhardt having a

 2    relationship in any way?

 3                  A      No, no idea of that.

 4                  Q      Do you have any information as well

 5    about -- Well, I will withdraw that.

 6                  Do you know the subsequent -- After Ben

 7    Hurt Thiemed out on July 22, do you have any

 8    information about what occurred with Ben Hurt for

 9    the years subsequent to his release from Elgin?

10                  A      No.

11                  Q      You know nothing about that?

12                  A      No.

13                  Q      You have never heard that there had

14    been a rumor that he attempted suicide within the

15    first seven months of his release?

16                  A      No, I did not.

17                  Q      Actually he attempted suicide three

18    times in the first seven months.

19                  Did you know that?

20                  A      No, I did not.

21                  Q      Are you aware that Christy Lenhardt

22    attempted suicide in August of 2016?

23                  A      No.

24                  Q      So you testified -- and I think


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                                                                         Page 267
 1    this is consistent with all the witnesses -- that

 2    there is a vigilance about making sure these

 3    things don't happen at Elgin.

 4                  Would you say that's correct?

 5                  A      Yes, it's just -- Yeah.

 6                  Q      And patients are on 30-minute

 7    headcounts, sometimes they are on 15-minute

 8    observations, which in a secure facility like this

 9    would be a clear, very secure and vigilant

10    environment to oversee the patients and what they

11    are doing; right?

12                  A      Yes.

13                  Q      And you testified many times -- not

14    to put words in your mouth -- but do not pass go,

15    just report it; right?

16                  A      Correct, yes.

17                  Q      And there's a security team, STAs

18    and behavioral health experts, all day, everyday,

19    combing these units to make sure the patients are

20    safe; right?

21                  A      Yes.

22                  Q      With all of that in mind, how do

23    you think all of this happened?

24                         MS. KOZAR:      Objection, calls for


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                                                                         Page 268
 1    speculation.

 2                          MR. CECALA:     I think he is entitled

 3    to speculate.

 4                          MS. KOZAR:     He is not.      But he can

 5    go ahead.

 6                          MR. CECALA:     Okay.     I will clarify

 7    the question.

 8    BY MR. CECALA:

 9                  Q       All of the -- what I just described

10    as -- intent scrutiny within a state psychiatric

11    facility, do you believe it would be difficult or

12    impossible for a person to have sex three or four

13    times a week for two years with one of their

14    patients without it somehow being noticed by some

15    person, any person?

16                  A       It's extremely hard to believe for

17    that long a time for something like that.

18                  People get creative.          I know patients

19    that find dead spots in the camera, where they do

20    stuff at.         So I am sure it's possible but it

21    really shouldn't happen in this type of

22    environment.

23                  Q       So now that I have laid that

24    foundation, how do you think it happened?


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                                                                         Page 269
 1                         MS. KOZAR:      Same objection.

 2                         MR. CECALA:      It's got a foundation.

 3                         MS. KOZAR:      I am just noting my

 4    objection.

 5                         THE WITNESS:       If it happened, it

 6    was two people that coordinated it very well, you

 7    know.

 8                  I mean, it's not a foolproof system

 9    here.     We are not a prison.          So we are hospital

10    which I think makes you vulnerable for these types

11    of things.

12    BY MR. CECALA:

13                  Q      So it would be your viewpoint that

14    no one was turning a blind eye to incidents that

15    could have led to this suspicion or problems with

16    Christy and Ben?

17                  A      I don't know how it could have

18    happened without it but it's possible.                 A lot of

19    stuff goes on in a facility like this that we

20    don't know about so ...

21                              EXAMINATION

22    BY MR. KRETCHMAR:

23                  Q      When you say you don't know how it

24    could have happened without it, you mean without


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                                                                         Page 270
 1    somebody turning a blind eye; right?

 2                  A      Without some level of suspicion.

 3                  Like I said, I could be just as

 4    vulnerable.       I am seeing a 50-some year old mom

 5    and I don't think I would have fathomed that she

 6    would have been with someone her kids' age.                   It

 7    just doesn't make sense to me.

 8                              EXAMINATION

 9    BY MR. CECALA:

10                  Q      That is as it pertains to Ben;

11    right?

12                  A      Right.

13                  Q      Apparently it happened over a ten

14    year period with at least two other people that

15    she confessed to; right?

16                  A      That's disgusting.

17                         MR. CECALA:      We agree.

18                  We don't have anything further.

19                         MS. KOZAR:      I have no questions.

20                         MR. CECALA:      We are ordering.

21                         MS. JOHNSTON:       I have no questions,

22    I am ordering.

23                         MS. KOZAR:      Drew, do you want to

24    waive or reserve signature before you go?


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                                                                         Page 271
 1                         THE WITNESS:       What do you

 2    recommend?

 3                         MS. KOZAR:      It doesn't matter.

 4                  If you reserve it, it just means that

 5    you want the opportunity to review the transcript

 6    and make sure there are no like typographical or

 7    spelling errors.

 8                  And if you waive then --

 9                         THE WITNESS:       Because I am

10    exhausted, I am going to waive it.

11                         MS. KOZAR:      Okay.     That's fine.

12                  AND FURTHER DEPONENT SAITH NOT

13

14

15

16

17

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19

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21

22

23

24


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                                                                         Page 272
 1         I, LYN DOERING, a Certified Shorthand Reporter
      within and for the State of Illinois, do hereby certify:
 2
           That previous to the commencement of the examination
 3    of the witness, the witness was duly sworn to testify the
      whole truth concerning the matters herein;
 4
           That the foregoing deposition was reported
 5    stenographically by me, was thereafter reduced to a
      printed transcript by me, and constitutes a true record
 6    of the testimony given and the proceedings had;

 7         That the said deposition was taken before me at the
      time and place specified;
 8
           That the reading and signing by the witness of the
 9    deposition transcript was agreed upon as stated herein;

10         That I am not a relative or employee or attorney or
      counsel, nor a relative or employee of such attorney or
11    counsel for any of the parties hereto, nor interested
      directly or indirectly in the outcome of this action.
12
           IN WITNESS WHEREOF, I do hereunto set my verified
13    digital signature at Chicago, Illinois, this 10th day of
      July, 2022.
14

15
                   ____________________________
16                 Certified Shorthand Reporter
                   State of Illinois
17

18    CSR License No. 084-003037.

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22

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24


           LISA A. KOTRBA & ASSOCIATES, LTD.              (312) 855-1834
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